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                    EXHIBIT 4
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                    FINANCIAL INDUSTRY REGULATORY AUTHORITY
                            OFFICE OF HEARING OFFICERS


 DEPARTMENT OF ENFORCEMENT,

                           Complainant,                        Disciplinary Proceeding
                                                               N o .2014041724601
                  v.
                                                               Hearing Officer-LOM
 SCOTTSDALE CAPITAL ADVISORS
 CORPORATION                                                   AMENDED EXTENDED HEARING
 (CRD No. 118786),                                             PANEL DECISION1

 JOHN J. HURRY                                                 June 20, 2017
 (CRD No. 2146449),

 TIMOTHY B. DIBLASI
 (CRD No. 4623652),

 and

 D. MICHAEL CRUZ
 (CRD No. 2450344),

                           Respondents.




        The Respondent firm violated FINRA Rule 2010 by selling securities without
        registration and without an exemption, in contravention of Section 5 of the
        Securities Act of 1933. The firm’s owner, Respondent John Hurry, also
        violated Rule 2010, because he engaged in activities designed to enable the
        unlawful transactions and evade regulatory scrutiny.

        The Respondent firm and its Chief Compliance Officer, Respondent Timothy
        DiBlasi, violated NASD Rules 3010(a) and (b) and FINRA Rule 2010 by
        failing to establish and maintain a supervisory system, including written



1 The original Extended Hearing Panel Decision has been amended to correct a factual error. The amendment does
not change the substance of the decision.
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       supervisory procedures, reasonably designed to ensure that the firm
       complied with Section 5 of the Securities Act.

       The Respondent film and its President, Respondent Michael Cruz, violated
       NASD Rule 3010(b) and FINRA Rule 2010 by failing to supervise and failing
       to respond appropriately to numerous red flags indicative of unlawful
       unregistered distributions.

       The Respondent film is fined $1.5 million. Hurry is barred in all capacities.
       He would also be fined $100,000, but, in light of the bar, the fine is not
       imposed. DiBlasi is suspended for two years and fined $50,000. Cruz is
       suspended for two years and fined $50,000. In addition, Respondents are
       ordered to pay costs, for which they are jointly and severally liable.

                                        Appearances

For the Complainant: Jeffrey D. Pariser, Esq., Gregory R. Firehock, Esq., Laura Leigh
Blackston, Esq., and Heather L. Freiburger, Esq., Department of Enforcement, Financial Industry
Regulatory Authority.

For the Respondents: Kevin J. Hamisch, Esq., Michael J. Edney, Esq., and Ryan E. Meltzer,
Norton Rose Fulbright US LLP.




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                                             DECISION

I.      INTRODUCTION

        A.      The Respondent Firm

         The Respondent firm, Scottsdale Capital Advisors Corporation (“Scottsdale” or the
“Finn”), is primarily engaged in the business of liquidating penny stocks for its customers
without registration. The sale of securities without registration is unlawful unless an exemption
exists. In selling securities without registration, Scottsdale usually relies on a “safe harbor”
exemption created by the Securities and Exchange Commission (“SEC”), Rule 144. But the
securities at issue here did not qualify for the Rule 144 exemption. Thus, the sales were
unlawful.

                1.      The Firm Relied On The Rule 144 Exemption

        SEC Rule 144 is highly detailed and technical. It both restricts some transactions and
permits others that meet certain conditions. It comes into play where securities have been
acquired from the issuer or an affiliate in an unregistered private transaction. Such securities
typically are marked with a restrictive legend, and the holder may not sell such securities in the
public marketplace unless an exemption applies to the sale.

        In determining whether a sale of securities is exempt from registration under Rule 144, a
broker-dealer must conduct an inquiry that focuses primarily on identifying the individual who is
the beneficial owner of the securities to be sold, analyzing that person’s relationship (if any) to
the issuer of the securities, investigating the circumstances of that person’s acquisition of the
securities, and calculating how long the person has held the securities. Rule 144 imposes
different holding periods on affiliates and non-affiliates of an issuer before they can resell the
issuer’s securities. In some circumstances, the holder can “tack” his holding period to that of his
predecessor in the chain of holders to meet the applicable holding period.

         The purpose of the Rule 144 inquiry is to ensure that the transaction is not a subterfuge
for an issuer or its affiliates to distribute securities to the public while evading the disclosure
requirements that accompany registration. Representations made by the parties interested in
selling the securities must be carefully scrutinized by a broker-dealer firm because of the
incentive to misrepresent the circumstances and conceal the tme beneficial owners.

                2.      The Firm Lacked A Basis For “Tacking” To Achieve The Required
                        Holding Period Under SEC Rule 144

         In the transactions at issue, the purported beneficial owners claimed that neither they nor
their predecessors were affiliates of the issuer. Their lack of affiliate status was critical to their
ability to sell the shares pursuant to SEC Rule 144 because of the shorter holding period and
fewer restrictions on non-affiliates.
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        Even as non-affiliates, however, none of the purported beneficial owners of the shares
that Scottsdale accepted for resale had held the shares long enough to qualify for the Rule 144
safe harbor holding period. Each seller therefore claimed that the applicable Rule 144 holding
period was satisfied by tacking his holding period to the holding period of a prior holder.

        In the transactions at issue, one prior holder claimed that he had forgiven a loan that he
had made to the issuer and had exchanged the right to payment on the loan for stock. One of the
prior holders forgave a promissory note that the issuer had used to pay him for consulting
services. Another prior holder claimed to have extended an oral line of credit to the issuer and
then to have accepted shares in satisfaction of a sum owed on the line of credit. A third prior
holder forgave a portion of a promissory note extending an open-ended line of credit.

         Each of these prior holders received the shares around the same time that he transferred
them. Thus, tire prior holder did not actually hold the shares long enough for his successor to
satisfy the applicable holding period by tacking, creating an impediment to resale.

        To overcome that impediment, the sellers of the securities claimed the benefit of another
tacking provision under Rule 144. Rule 144 provides that where a holder of a security exchanges
that security for another of the same issuer’s securities, without any additional compensation, the
holder may tack the holding period of the first security to the holding period of the second. The
theory is that the exchange of one security for another of the same issuer does not change the
nature of the holder’s capital at risk, so the holding period for the new security can tack back to
the date the old security was acquired. The sellers here characterized their prior holders’
exchanges of notes for stock as exchanges of one security for another. On that basis, the sellers
claimed that they could tack back to the inception of the prior holders’ loans.

        Whether the first instrument in the chain was a security is thus a threshold issue. The
Firm treated the prior holders’ promissory notes and lines of credit as securities and the
conversion of that debt into stock as the exchange of one security of the issuer for another
security of the same issuer. As a result, the Finn concluded that the sellers were permitted to tack
their holding period all the way back to the inception of the prior holders’ loans.

        The Finn erred. The promissory notes and lines of credit were not securities. Rather, they
were ordinary debt liabilities. Accordingly, the purported beneficial owners could not establish
the requisite holding period, and the Rule 144 exemption did not exist.

               3.      The Firm Also Failed To Address Red Flags Signaling Unlawful
                       Distributions

         The transactions at issue involved persons seeking to sell large blocks of thinly traded,
little-known securities acquired in a chain of private transactions originating with the issuer—
generally a red flag that the SEC and FINRA have both said requires a “searching inquiry.” The
sellers acquired the shares from the prior holders and sought to resell the shares almost
immediately. Tire immediate resale of a large block of stock that has never been the subject of
registration disclosures strongly suggests an attempt to distribute securities to the public without


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registration. In addition, there were a large number of discrepancies and suspicious
circumstances indicating that sham transactions, false documents, and nominees were being used
to evade the securities laws and effect unlawful securities sales without registration. These red
flags ought to have been investigated and appropriately resolved before the securities could be
sold.

         Tire Firm, however, blinded itself to the multiple red flags signaling that the transactions
were unlawfi.il public distributions of securities. It did not conduct the required searching inquiry.
It sold the securities without a reasonable basis for a Rule 144 exemption. Because of the
suspicious circumstances known to the Firm, it also was not entitled to the so-called “broker’s
exemption” under Section 4(4) of the Securities Act for ordinary trading.

       B.      Other Respondents

               1.      John Hurry

        Scottsdale is owned indirectly by Respondent John Hurry and his wife, Justine Hurry,
through other entities they own and control. John Hurry also owns the clearing firm that handles
Scottsdale’s business, Alpine Securities Corporation (“Alpine”), and an off-shore foreign
financial institution (“FFI”) located in the Cayman Islands, Cayman Securities Clearing and
Trading SECZ, Ltd. (“CSCT”).

        Hurry set up CSCT in 2013 to act as a conduit through which other FFIs could deposit
penny stocks at Scottsdale for resale in the U.S. securities market. During the relevant period,
December 1, 2013, through June 30, 2014, CSCT deposited billions of shares of penny stocks for
resale by Scottsdale. All the transactions at issue were routed through CSCT to Scottsdale.

               2.      Timothy DiBIasi

        Respondent Timothy DiBIasi became Scottsdale’s chief compliance officer (“CCO”)
shortly before the events at issue, and he remains its CCO. He maintains, however, that his
responsibilities do not extend to the Finn’s Rule 144 business.

               3.      Michael Cruz

         Respondent Michael Cruz was the Firm’s president, but now serves as general counsel to
the collection of Hurry enterprises. During the relevant period, Cmz had final approval authority
over the Rule 144 transactions at issue. In that role, he reviewed the information collected by
others and detennined whether it was sufficient to approve a deposit of stock certificates for
resale. Everyone at the Firm, including Henry Diekmann, who headed the Firm’s Rule 144 team
at the time of the transactions at issue, and who is now the Finn’s president, considered Cruz
responsible for Rule 144 compliance.




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         c.       Parties To The Transactions At Issue

       This case concerns Scottsdale’s sales of stock issued by three little-known companies—
Neuro-Hitech Inc. (“NHPI”), VoipPal.com (“VPLM”), and Orofino Gold Corp. (“ORFG”).
CSCT deposited millions of the three issuers’ shares in certificate form at Scottsdale for resale.
Alpine cleared them, and Scottsdale sold them into the U.S. securities market pursuant to Rule
144 without registration.

        In making the deposits of NHPI, VPLM, and ORFG stock, CSCT acted on behalf of three
other FFIs: (i) Montage Securities (“Montage”), (ii) Titan International Securities (“Titan”), and
(iii) Unicom International Securities (“Unicom”). Montage was located in Panama; Titan and
Unicom were in Belize. The FFIs, in turn, purported to act for the benefit of other entities, which
were represented to be owned by individuals identified in documents as the beneficial owners of
the shares.

II.      PROCEDURAL HISTORY

        FINRA’s Department of Enforcement (“Enforcement”) filed the Complaint on May 15,
2015. After an extension of time, Respondents filed an Answer on June 26, 2015. On December
 11, 2015, Respondents filed a motion for summary disposition that challenged FINRA’s
authority to bring a disciplinary action for misconduct associated with the sale of unregistered
securities. Briefing on the motion was completed on January 29, 2016. The Hearing Officer
issued an Order on February 26, 2016, denying the motion and finding that FINRA has authority
to bring this proceeding.

        The hearing ran a total of 12 days in two sessions. Hie first session in Los Angeles,
California, was held June 13-24, 2016. The second session in Washington, D.C. was held July
 11-12, 2016. Ten witnesses testified at the hearing, including two experts.2 In addition, tire full
transcript of an on-the-record interview (“OTR”) was admitted into evidence, along with more




2 In addition to Hurry, DiBlasi, and Cruz, the following persons testified: Henry Diekmann, the Firm’s current
president; Jay Noiman, a former Scottsdale employee who served as CCO until DiBlasi took on that responsibility;
David Byrne, a FINRA examiner who is a manager of the AML Investigative Unit; Craig D ’Mura, a former
Scottsdale employee who worked for a couple of months at CSCT; Christopher Frankel, the current CEO of Alpine;
Marc Menchel, Respondents’ expert; and Brian Underwood, Enforcement’s rebuttal expert.
References to hearing testimony are in the following format: “Hearing Tr. (last name of witness), page of
transcript.” For example, Hurry’s testimony is cited as “Hearing Tr. (Hurry) 1542-43.”



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than 200 other exhibits.3 On September 9, 2016, Enforcement and Respondents each filed one
post-hearing brief.4

m.       FINDINGS AND CONCLUSIONS

         A.       Jurisdiction

        FINRA has jurisdiction to bring this proceeding against Scottsdale, Hurry, and DiBlasi
because they are currently registered, and the Complaint charges them with misconduct
committed while they were registered. FINRA has jurisdiction as to Cruz although he is no
longer registered, because the Complaint was filed within two years of the time he was registered
and it charges him with misconduct committed while he was registered.5

         B.       Background

        We provide substantial background regarding Respondents and others connected to the
transactions at issue to provide the context needed to understand the transactions, the Firm’s

3 Gregory V. Ruzicka, who worked at CSCT during the relevant period, gave an OTR on May 27, 2015. The OTR
became an exhibit. Complainant’s exhibits are referred to with the prefix “CX” and an identifying number.
Respondents’ exhibits are referred to with the prefix “RX” and an identifying number. Joint exhibits are referred to
with the prefix “JX” and an identifying number. Ruzicka’s OTR is CX-178.
4 References to the post-hearing briefs are as follows: Enf. PH Br. and Resp. PH Br. Respondents attached graphs
and other materials to their post-hearing brief that were not offered or admitted into evidence. Respondents
apparently created the graphs after the hearing based on exhibits that were admitted into the record. However, the
graphs were not subject to any testimony explaining their creation or testing their accuracy. Respondents’ post­
hearing brief also contained references to website articles that were not admitted into the record. No copies of the
articles were attached to the post-hearing brief. Respondents have not asked permission to reopen the record to
admit any of these materials. Respondents simply refer and rely on the non-record materials. The Hearing Panel has
not considered any of the following items (or assertions made in argument based on them) in formulating its
decision:

         •    Huperzine A in Alzheimer’s Disease—website article relating to NHPI (Resp. PH Br. 5, n.9);
         •    Same (Resp. PH Br. 7, n.20);
         •    OTCMarkets.com website on VPLM (Resp. PH Br. 7, n.22);
         •    The Markets OTCQB website article on VPLM (Resp. PH Br. 7, n.23);
         •    Historical price figures derived from data on OTCMarkets.com (Resp. PH Br. 12, n.58);
         •    A purported page from a FINRA Continuing Education Module (Resp. PH Br. 17, n.86; Appendix
              A);
         •    Graphs generated by Respondents purporting to use data in JX-264 and JX-268 (Resp. PH Br. 19,
              n.94; Appendix B);
         •    Graphs generated by Respondents purporting to use data in JX-279 and JX-281 (Resp. PH Br. 25,
              n.129; Appendix C);
         •    Graphs generated by Respondents purporting to use data in JX-308 and JX-310 (Resp. PII Br. 29,
              n.155; Appendix D); and
         •    Statement about trading volume attributable to CSCT’s sales of ORFG (Resp. PIT Br. 29, n. 156;
              statement made without reference to source o f information or record citation).
5 FINRA By-Laws, Art. IV, Section 6; Art. V, Section 4.



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culture, and the Respondents’ failure to take reasonable action in response to obvious red flags in
connection with the transactions at issue. The background also provides information important in
assessing the witnesses’ credibility, and in evaluating the Respondents’ likely future compliance
with the laws and regulations governing Scottsdale’s business.

                  1.         Respondents

                             a.    Scottsdale

                                   i.   The Firm’s Focus On Rule 144 Business

       Scottsdale, which is located in Scottsdale, Arizona, has been a FINRA member since
2002.6 During the relevant period, the Firm had approximately 14 to 20 employees.7

       Scottsdale’s principal business is the deposit and liquidation of penny stocks for its
customers.8 Throughout the proceeding, the penny stocks sold by Scottsdale were also referred to
as “microcap” securities.9 Scottsdale sells most of these securities without registration. The
primary exemption that Scottsdale relies on is Rule 144, so it has a dedicated Rule 144 team to
review deposits of stock certificates for resale, and its procedures are oriented to Rule 144.10
Scottsdale obtains customers by advertising in OTC Markets and through referrals.11

                                   ii. The Finn’s Direct Business With FFIs

       Prior to Hurry’s creation of CSCT in 2013, Scottsdale did business with FFIs directly.
Two of the FFIs involved in this case (Titan and Unicom) had pre-existing direct relationships
with Scottsdale before they started doing business through CSCT.12

6 CX-1, at 3-9.
7 Hearing Tr. (Cruz) 116; Hearing Tr. (Diekmann) 1496.
8 Hearing Tr. (Hurry) 1318; Hearing Tr. (Cruz) 83; Hearing Tr. (Noiman) 1180. DiBlasi acknowledged that during
the relevant period penny stock transactions accounted for most of the Firm’s revenues, and that over 95% of the
transactions that Scottsdale executed for its customers involved penny stocks, most of them unregistered. Hearing
Tr. (DiBlasi) 1923.
9 Microcap securities may be defined as low-priced stock issued by small companies with a market capitalization of
$300 million or less. Microcap securities are generally more volatile and less liquid than the stock of larger
companies. Most important, because many microcap issuers do not file financial reports with the SEC, it may be
difficult for investors to obtain information about the management, products, services, and finances of microcap
issuers, https://www.sec.gov/investor/pubs/microcapstock.htm. The SEC has expressed concern that the lack of
publicly available information about microcap issuers can enable the spread of false information that misleads
investors. Id. Many microcap securities trade in the “over-the-counter” (“OTC”) market instead of a national
exchange such as the New York Stock Exchange or NASDAQ. Id.
10 Hearing Tr. (Cruz) 577, 583; Hearing Tr. (DiBlasi) 1952-54; Hearing Tr. (Diekmann) 818-19, 875-76, 884-86;
Hearing Tr. (Hurry) 1600.
11 Hearing Tr. (Cruz) 116.
12 Hearing Tr. (Cruz) 192; Hearing Tr. (Diekmann) 727, 817-18; Hearing Tr. (Noiman) 1140-52.



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                                   iii. The Finn’s Disciplinary History

       Scottsdale has been disciplined previously for selling unregistered securities and having
inadequate supervisory procedures and written supervisory procedures (“WSPs”) to detect and
prevent the sale of unregistered securities. In October 2011. the Finn settled these and other
charges, agreeing to a censure and a total fine for all the charges of $125,000 (“2011
Settlement”).13

         The Finn has also settled other types of disciplinary charges against it, which are relevant
to the sanctions determinations, hi 2009, it agreed to a censure and a $7,500 fine to settle charges
that it had bought bonds from customers at unfair prices (“2009 AWC”).14 hi August 2012, the
Firm settled charges that it had failed to take appropriate action after being on notice that one of
its representatives had been using his name and CRD number in stock promotion press releases.
The Firm agreed to a censure and a $7,500 fine (“2012 AWC”).15 In 2015, the Finn agreed to a
censure and a fine of $10,000 to settle charges that it had submitted reports to FINRA for the
Order Audit Trail System that were inaccurate, incomplete, or in the wrong fonnat (“2015
AWC”).16

                                  iv. The Firm Had Notice That Sham Transactions And The
                                      Use Of Nominees Were A Risk In Its Rule 144 Business
                                      With FFIs

                                       (a) Four Prior SEC Disciplinary Actions

       We find that prior to the events at issue in this case, the Firm was on notice that its
business was susceptible to sham transactions and the use of nominees to conceal the true
beneficial owners of securities, hi four disciplinary actions involving Scottsdale’s own
employees and customers, the SEC alleged that sham transactions and nominees were used in
unlawful sales in violation of Section 5 of the Securities Act of 1933. Those unlawful sales in
turn were used to facilitate fraud and manipulation.

         In December 2011, two of Scottsdale’s registered representatives were named in an SEC
complaint (“Ruettiger”) involving the supposed assignment of portions of a convertible note to
satisfy the applicable Rule 144 holding period, the use of nominees to conceal the identity of the
true beneficial owners, the use of a “pump-and-dump”17 scheme to manipulate the market for the
stock, and an unlawful distribution of securities without registration. According to the complaint,

13 CX-12.
14 CX-11.
15 CX-13.
16 CX-14.
17 “Pump-and-dump” schemes involve the touting of a company’s stock (typically small, so-called “microcap”
companies) through false and misleading statements to the marketplace, https://www.sec.gov/answers/




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Scottsdale’s registered representatives handled some of the accounts involved in the scheme, and
one of them had an interest in an entity that received and sold some of the securities. The
complaint alleged that a single person had used 16 Panamanian corporations to conceal his
identity and enable him to sell approximately $6 million of stock without registration.18

         In March 2013, the SEC filed a complaint (“Gibraltar / ”) against a number of people and
entities alleging a market manipulation scheme that was facilitated by a Scottsdale customer,
Gibraltar. That complaint alleged that individual defendants had secretly sold shares through
Gibraltar while simultaneously promoting the stocks and encouraging others to buy. It also
alleged that Gibraltar had provided false affidavits and misleading statements that allowed an
individual defendant to secretly sell shares of companies he was promoting.19

        In April 2013, the SEC filed a second complaint against Gibraltar and its owner
(“Gibraltar IF’’), alleging that they had facilitated unlawful sales of securities without registration
through the use of nominees. According to that complaint, Gibraltar liquidated low-price, thinly
traded stocks on behalf of its clients, often during periods of suspicious promotion. Gibraltar
assisted its clients to incorporate international business corporations (“IBCs”) and encouraged
them to use nominee officers and directors so that their identities would remain confidential. The
SEC charged that two persons had opened “fake nominee accounts” at Scottsdale.20

        Gibraltar had been a direct customer of Scottsdale since before the spring of 2010, at least
two years before the SEC filed charges against it.21 It shut down after the filing of the two
Gibraltar complaints, and some of its customers transferred to Titan, one of the FFIs involved in
this case.2223

        In July 2013, the SEC filed an action against ten Argentinians, four of whom had opened
accounts at Scottsdale (“Tavella”). That complaint alleged that the defendants had submitted
false documentation to accompany their securities deposit checklist at Scottsdale, and sold
millions of shares into the public markets without registration in violation of Section 5. The
defendants claimed that they had purchased their shares from former shareholders, but the former
shareholders had already sold their shares years before. Thus, the transactions in which the
defendants claimed that they had acquired the shares were a sham."


18 SEC v. Ruettiger, No. 2:1 l-cv-2011 (D. Nev. filed Dec. 16, 2011), available at https://www.SEC.gov/litigation/
complaints/201 l/comp22198.pdf.
19 Hearing Tr. (Cruz) 195-99; SEC v. Carrillo Huettel, No. 13 Civ. 1735 (S.D.N.Y. filed Mar. 15, 2013), available at
https://www.SEC.gov/litigation/complaints/2013/comp-pr2013-39.pdf.
20 Hearing Tr. (Cruz) 185-192; SEC v. Gibraltar Global Sec., Inc., No. 13 Civ. 2575 (S.D.N.Y. filed Apr. 18, 2013),
available at https://www.sec.gov/litigation/complaints/2013/comp22683.pdf.
21 Hearing Tr. (Diekmann) 1912-13.
22 Hearing Tr. (Diekmann) 727.
23 SEC v. Tavella, No. 13-cv-4609 (S.D.N.Y. filed July 3, 2013), available at https://www.SEC.gov/litigation/
complaints/2013/comp-pr2013- 122.pdf.


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        These regulatory actions should have caused the Finn to take special care when dealing
with FFIs, and to revise its procedures to focus on potential sham transactions and the use of
nominees. The Firm did not. Its main reaction to Ruettiger was to eliminate the branch office
involved in the case. Cmz believed that the misconduct identified in the Gibraltar cases was
“isolated.”24 Scottsdale’s current president, Diekmann, who was the head of the Rule 144 team
when the Tavella complaint was filed, testified that he could not remember if the Firm conducted
any investigation of the four Argentinians named in the Tavella complaint who had Scottsdale
accounts.25 In Diekmann’s view it was “just impossible to know that there was somebody else
behind this.”26 Cmz similarly said, “[I]f s almost impossible to detect these nominees, that
they’re going to be ... misrepresenting the—you know, the true identity of these persons.”27
Although the Firm changed some procedures as a result of Tavella (it would not accept more
than 9.9% of a security at any one time from its customers and it instituted a stock watch list to
monitor trading and promotions), Diekmann could not remember doing anything different to
address the problem of nominees.28

                                    (b) Respondents’ Arguments Minimizing Significance Are
                                        Rejected

         In their post-hearing brief. Respondents argue that the SEC complaints are not relevant
because they were classic pump-and-dump cases, and no charge is made here that the
transactions at issue were part of a pump-and-dump fraud. It is not necessary, however, to prove
that fraud occurred in order to conclude that Respondents failed to perfonn their gatekeeping
duty adequately. The focus here is on Respondents’ failure (i)to recognize as a threshold matter
that the transactions lacked a legal underpinning, and (ii) to respond appropriately to an
accumulation of red flags and suspicious circumstances, either conducting further investigation
to make sure an exemption existed or declining to sell the securities.

       Respondents also claim that references in the prior complaints to nominees were
“peripheral.”29 To the contrary, the use of nominees was critical to facilitating the fraud and
manipulation charged in those cases. We reject Respondents’ attempt to brush aside the SEC
complaints.

      Cruz took a different approach at the hearing to minimizing the significance of the SEC
complaints, which we also reject. He insisted on a benign definition of the tenn “nominee” to
mean only someone designated to act on behalf of another. He declined to view the Ruettiger
complaint as raising a concern about the use of nominees. He said, “I wasn’t sure if this is a

14 Hearing Tr. (Cruz) 219.
25 Hearing Tr. (Diekmann) 732-33.
26 Hearing Tr. (Diekmann) 732.
27 Hearing Tr. (Cruz) 213-14.
28 Hearing Tr. (Diekmann) 733-34.
29 Resp. PH Br. 36-37.



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situation where the—the nominees here that are being listed were purposely hiding their identity.
It could be, but ... that just was not my takeaway when I was looking at this ... Complaint.”30
When asked whether the allegation of “fake nominee entities” gave him pause, Cruz responded,
“I have no idea what fake - 1 mean, if it’s an entity - I mean, if it - I don’t know what they mean
by ‘fake.’”31 Cruz refused to admit that the complaint in Ruettiger put him on notice of the
possibility of nominees hiding the actual true beneficial owner of securities. He testified, “I
would say this is probably not a case that gave me a great concern about the nominee issue, per
se .... There might be a nominee issue in there. I guess I don’t know the context of that.”32

       We find Cmz’s refusal to acknowledge the plain import of the SEC’s allegations in
Ruettiger and the other complaints disingenuous. Even Respondents’ expert agreed that
Scottsdale was on notice that its customers could be nominees for beneficial owners as of the
relevant period in this case.3334

                                      (c) Later Actions Confirm Risk Of Sham Transactions And
                                          Nominees

        The risky nature of Scottsdale’s Rule 144 business with FFIs became undeniable in the
summer of 2014, when the SEC and criminal authorities initiated two new proceedings charging
that certain Scottsdale customers and others had used sham transactions and nominees to sell
penny stocks unlawfully without registration. These proceedings were brought based on
extensive evidence gathered through the use of undercover agents, cooperating witnesses, and
recorded conversations. The allegations appeared well founded, and they finally caused
Scottsdale and CSCT to react.

       The SEC filed a complaint on July 11, 2014 (“Amogear”), charging five individuals with
using nominee accounts in FFI trading to conceal beneficial ownership and facilitate a pump-
and-dump scheme. The SEC alleged that Titan had agreed to assist in the scheme and that
Alpine, the clearing firm, was involved in readying shares for trading in connection with the
scheme, hi reaction to Amogear, Scottsdale froze its FFI trading for a couple of months.3'1

        On September 8, 2014, prosecutors filed an indictment in federal district court in New
York (“Bandfield”) that charged Titan, Unicom, and several individuals with whom Scottsdale
and CSCT did business with securities fraud, tax fraud, and a money-laundering conspiracy.
Those individuals included the following persons, who were also involved in the transactions at
issue here: Cem (“Jimmy”) Can at Unicom; Kelvin Leach and Rolm Knowles at Titan; and
Robert Bandfield and Andrew Godfrey, who purported to represent customers of Montage,

30 Hearing Tr. (Cruz) 191.
31 Hearing Tr. (Cruz) 192.
32 Hearing Tr. (Cruz) 184.
33 Hearing Tr. (Menchel) 2488-89.
34 Hearing Tr. (Diekmann) 705-12; Hearing Tr. (Cruz) 204-08; CX-250.



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Unicom, and Titan and appeared in connection with numerous sub-accounts and sub-sub­
accounts at Scottsdale. According to the indictment, Robert Bandfield claimed in a recorded
conversation that he had created Titan and more than 5000 sham companies. In that
conversation, he explained how reporting requirements could be circumvented and beneficial
ownership concealed by using nominees.35 After the indictment was unsealed and became public,
CSCT’s business substantially diminished.36

                           b.       John Hurry

        Indirectly, through a trust and a holding company, John Hurry and his wife, Justine
Hurry, own Scottsdale.3738From the Firm’s inception in 2002 until December 2012, Respondent
Hurry was a registered representative, among other roles.3S John Hurry again registered with the
Firm in October 2014, and remains registered today.39 Hurry admitted in his Answer to the
Complaint that he has been the Firm’s director since 2002. However, at the hearing, he claimed
that he first became a director of Scottsdale in January 2013. Justine Hurry became its second
director in May 2013.40

        Scottsdale has been highly profitable for Hurry and his wife. According to the Annual
Audited Report Form for Scottsdale during the year beginning July 1, 2013, and ending June 30,
2014, the Firm paid $6,222,550 in directors’ compensation. Since John and Justine Hurry were
the Firm’s only directors, this expense presumably was paid to them.41 The Firm paid other


33 CX-244; CX-226; Heanng Tr. (Cruz) 224-30; Hearing Tr. Piekm ann) 1725-26, 1781.
36 Heanng Tr. (Cruz) 237-38; Hearing Tr. (Hurry) 1529-30.
37 CX-1, at 7-9; CX-5; Heanng Tr. (Cruz) 81-82.
38 CX-15, at 11.
39 CX-15, at 4-5.
40 CX-1, at 3-9 (showing the Firm’s direct owners and directors); CX-17, at 1. In his Answer, Hurry admitted that he
had been a director of Scottsdale since 2002. Answer ^ 16. At the hearing, however, Hurry denied that he had been a
director of Scottsdale before January 2013. He did so despite the fact that his signature appeared over the
designation “sole director” m a December 2012 document authonzing the creation of the Firm’s Management
Committee. At the hearing, he claimed that the designation as sole director was a typographical error and that he was
acting president prior to January 2013, not sole director. CX-3; Hearing Tr. (Huriy) 1306-09. Cruz testified as to the
December 2012 document that Hurry had established the Firm’s Management Committee in his capacity as director
of the Firm. Hearing Tr. (Cruz) 74-76.
The conflict between the Answer and Hurry’s testimony is inexplicable. We find the conflict between Hurry’s
testimony and the Firm’s record of the creation of the Management Committee disturbing, because it reflects a lack
of transparency and accountability. We find the typographical error explanation with regard to something as
important as corporate authority to designate the responsibilities of senior management—particularly in a simple
one-page document—not credible. There is no explanation for the conflict between Hurry’s testimony that he was
not a director of the Firm in December 2012 and Cruz’s testimony that he was. The conflict in the evidence on this
point diminishes Hurry’s credibility.
41 RX-42, at 7, 11. When Cruz officially became Scottsdale’s president in March 2014, it was by unanimous consent
of the Board of Directors, John and Justine Hurry. CX-4.



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compensation of $1,665,574 and professional and consulting fees of $1,138,090. When these
payments and other expenses were subtracted from the Firm's gross profit of $11,569,817, the
Finn reported net income of $1,446,655. Because Scottsdale is an S corporation, this income
flowed through to the shareholders, hi the next year, ending June 30, 2015, although the Finn
reported only $589 in net income, the Firm paid directors’ compensation of $3,255,200.42

        During the relevant period, Respondent Hurry also was the indirect owner of Scottsdale’s
clearing firm, Alpine, which is located in Salt Lake City, Utah. Hurry has been its director since
March 2011,43 and has been registered with Alpine since May 15, 2015.44

        In 2013, Huny established CSCT, the Cayman Islands broker-dealer through which the
securities at issue were deposited at Scottsdale.45 Flurry owns CSCT,46 and, as more fully
discussed below, he made decisions, both large and small, about how it conducted its business.47
Despite the highly specialized nature of CSCT’s business. Hurry hired Gregory Ruzicka—an
out-of-work California real estate attorney who had no prior experience in the securities broker-
dealer industry, much less in the specialized business of liquidating microcap securities—to run
CSCT.48 Ruzicka went down to the Cayman Islands in October 2013 to take on his CSCT
duties.49 Hurry then monitored Ruzicka’s activities almost daily, right down to his cigarette
breaks, and visited the Cayman Islands at least monthly.50

        Although Hurry attempted to conceal the extent of his involvement in CSCT’s business,
he admits that he spoke with the three CSCT customers involved in this case (Montage, Titan,
and Unicom), and that he personally visited two of them, Montage in Panama and Unicom in
Belize.51 He claims that he did not solicit business for CSCT, but, as discussed below, that claim
is not credible.




42 RX-42, at 27. See also the Firm’s FOCUS Reports for 2013-Q4, 2014-Q1, 2014-Q2, 2015-Q3, 2015-Q4, and
2016-Q-l, and the summaiy of them created by Enforcement. CX-6 through CX-10.
43 CX-15, at 3, 11; CX-18.
44 Hearing Tr. (Hurry) 1307.
45 Hearing Tr. (Hurry) 1329; Hearing Tr. (Noiman) 1117-18; CX-29.
46 CX-178, at 40-41.
47 Hearing Tr. (Hurry) 1333-35.

48 Hearing Tr. (Hurry) 1631; CX-178, at 13-24. Ruzicka had limited experience in the early 1980s with intrastate
real estate limited partnership offerings. In that context, he handled post-foreclosure unlawful detainers, relief from
automatic bankruptcy stays, and receiverships on commercial properties. CX-178, at 15-18.
45 CX-178, at 20.
50 Hearing Tr. (Hurry) 1437-40; CX-178, at 138-41, 151-52; CX-132; CX-133.
51 Hearing Tr. (Hurry) 1406-08, 1412-14, 1421-22.



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        That Hurry was in charge was obvious to his employees and to CSCT customers. Ruzicka
referred to him as “the big boss.'’32 As noted below, one of the persons at Scottsdale who
approved CSCT to become a Scottsdale customer did not even consider rejecting CSCT’s
application because he knew that Hurry had brought CSCT to the Firm.5253 Similarly, Ruzicka said
that CSCT never considered using any broker-dealer except Scottsdale because of Hurry. 4 As
Hurry acknowledged, customers also sought direct contact with him because he is “highest on
the totem pole.”55

        Respondent Hurry thus owns and controls all three firms involved in the transactions at
issue in this proceeding—Scottsdale, Alpine, and CSCT. In fact, the three firms were almost a
self-contained system for processing and distributing microcap securities. CSCT did all its
business through Scottsdale,56 and Scottsdale in turn did all its business with Alpine.57 Alpine’s
current CEO described Alpine as a small “boutique” clearing firm with a focus on the kind of
business brought to it by CSCT.58 No independent third party was involved in preparing,
approving, or clearing the deposits of stock certificates by CSCT at Scottsdale for resale.

                           c.       Timothy DiBlasi

         DiBlasi first entered the securities industry in 2002. From December 2002 through March
2012, he was a compliance analyst at First Investors Corporation in New Jersey. DiBlasi has
been associated with Scottsdale since April 2012. In June 2012, he became the Firm’s anti­
money laundering chief officer (“AMLCO”). In October 2013, shortly before the events at issue,
DiBlasi became the Firm’s CCO, and he remains the Finn’s CCO today. Prior to joining the
Firm, DiBlasi had limited experience in microcap securities, and he had not handled the type of
restricted stock deposits that are the bulk of Scottsdale’s business.59




52 CX-240; Hearing Tr. (Diekmann) 1764-65.
53 Hearing Tr. (Noiman) 1079, 1103, 1105-06, 1117-18. See also CX-29, at 10, 25 (forms to establish CSCT as a
Scottsdale customer listed Hurry as referral or source of the business ).
54 CX-178, at 108.
55 Hearing Tr. (Hurry) 1432.

36 Ruzicka testified that CSCT never considered using a firm other than Scottsdale because of Hurry. CX-178, at
108.

3' Hearing Tr. (Cruz) 143, 3(36, 382; Hearing Tr. (Diekmann) 759; Hearing Tr. (D’Mura) 2293. The person Hurry
hired to run CSCT, Gregory Ruzicka, described CSCT as an “adjunct” of Hurry’s operations at Scottsdale. CX-178,
at 34.
38 Hearing Tr. (Frankel) 2342-43. Alpine did do business with other FFIs in addition to CSCT during the relevant
period. Hearing Tr. (Frankel) 2343.
59 Hearing Tr. (DiBlasi) 1919-21; Hearing Tr. (Cruz) 122; CX-19.



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                            d.        Michael Cruz

         Cruz entered the securities business in 1994, when he began working at a San Francisco
investment banking firm on underwritings, asset-backed securities, and private placements. After
approximately six years, he joined FINRA’s predecessor, NASD, starting in its San Francisco
office as a cause examiner and then moving to New York as a cycle examiner. lie then took a job
with Citigroup Smith Barney in their central risk group, reporting to the General Counsel and
CCO. Subsequently, he moved with his family to Arizona and passed the bar there. In Arizona,
he first worked for Wells Fargo in its audit department and then took a similar position at
Countrywide in its bank legal department. He left Countrywide when Bank of America acquired
it, and he began working at Scottsdale in May 2008.60

       Cruz has held Series 7, 24, and 63 licenses. However, since January 29, 2015, he has not
been registered through Scottsdale. He currently is the general counsel for the holding companies
that own Scottsdale and its clearing Finn, Alpine.61

       At the beginning of the relevant period, Cruz was listed on the Finn’s Form BD as legal
counsel and member of the Management Committee.62 Cruz officially became the Firm’s
president by a board resolution dated March 17, 2014. He testified that, at least since December
1, 2013, he had been acting as clefacto president.63 The Finn amended its Form BD on March
31, 2014, to disclose that Cmz was the president, as well as legal counsel.64

        During the relevant period, Cruz approved Rule 144 deposits, including the transactions
at issue.65 Cmz signed the Deposited Securities Checklist (“Checklist”) for the transactions at
issue under the heading “ 144 Compliance Approval.” Between that heading and his signature is
the statement “[Bjased on the information received and reviewed as described in this Deposited
Securities Checklist, SCA IScottsdalel reasonably believes the subject securities are free
trading.”66




60 Hearing Tr. (Cruz) 72-73, 557-59, 661; CX-20.
61 Hearing Tr. (Cruz) 72-73; CX-20.
“ CX-17, at 1.
63 Hearing Tr. (Cruz) 78-79; CX-4. Cruz said that the original plan had been for Justine Hurry to be president of the
Firm. Hearing Tr. (Cruz) 79. Cruz’s testimony that he was the acting president in December is inconsistent with
Hurry’s testimony that he was president at that time. This conflict concerning who was in charge illustrates the
Firm’s lack of appropriate supervisory procedures that clearly delegated authority and created accountability.
64 CX-17, at 7.
65 Hearing Tr. (Diekmann) 693-94.
66 RX-1, at 2, 79, 159; RX-2, at 2, 107; RX-3, at 2.



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        Cruz acted as the conduit between senior management of the Finn and the board of
directors, John and Justine Hurry.67

                  2.       Other Key Figures At Scottsdale

                           a.       Henry Diekinann

        After graduating from college with a degree in history, Diekmann spent approximately a
year as a financial trainee with Morgan Stanley. He then was an insurance salesman for four
months. After that, he was unemployed for about a year-and-a-half before he joined Scottsdale in
March 2010 as an office assistant. In January 2011, he moved to the Firm’s Rule 144 team,
where he spent two years before being promoted to head the team. Although many members of
the team were lawyers, Diekmann is not. He had no experience with low-priced securities or in
clearing unregistered securities for trading before he joined Scottsdale. Fie was trained to review
deposits by Cruz and another person who worked on the Rule 144 team.68

        During the relevant period, Diekmann focused solely on reviewing CSCT deposits. But
he did not have authority to approve a deposit of certificates. Final approval authority rested with
Cruz.69

       Since January 2015, Diekmann has been the Firm’s president.70 As the Film’s current
president, Diekmann now has the authority that once belonged to Cruz. 1

                           b.       Eric Miller

       Eric Miller was a Scottsdale salesman. He called potential customers and assisted in
conducting due diligence on new accounts.72 Miller sometimes referred clients to Ruzicka at
CSCT.73

        Although Miller did not testify at the hearing, there is substantial evidence that he was
involved with Unicorn’s deposits. Miller had a relationship with Unicom because it had been
Scottsdale’s direct customer before moving its business to CSCT, and he continued to have
contact with Unicom even after it started doing business with Scottsdale through CSCT, as
Diekmann admitted.74

67 Hearing Tr. (Cruz) 80-82.
68 Hearing Tr. (Diekmann) 686-90.
69 Hearing Tr. (Diekmann) 694, 886.
0 Hearing Tr. (Diekmann) 685; Hearing Tr. (DiBlasi) 1954.
71 Hearing Tr. (Cruz) 129-30, 583-84; Hearing Tr. piekm ann) 685-86, 694, 908-09.
72 Hearing Tr. (Cruz) 116-17; Hearing Tr. (Noiman) 1075-76; CX-29, at 9.
^ C X - m , at 167-68.
74 Hearing Tr. (Diekmann) 858, 934-35.



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        The fact that Miller continued to have at least some direct contact with Unicom is
significant for the following four reasons:

       First, the evidence regarding Miller casts doubt on the effectiveness of the Finn’s
compliance and supervisory efforts. Diekmann claimed that Miller’s direct contact with Unicom
was prohibited and that Miller was “written up” a number of times for corresponding by email
with Unicom. Diekmann did not identify any written prohibition against direct contact with
Unicom, but he said that the prohibition was something that was a matter of business practice at
the Finn.757689The supposed prohibition is inconsistent with the record, which contains a number of
emails to and from Unicom that include Miller as a sender or recipient. 6 Moreover, in some
Unicom emails, Diekmann is a recipient along with Miller. 7 There is no evidence that
Diekmann protested Miller’s involvement or reprimanded him. If Miller was “written up” a
number of times for contact with Unicom, as Diekmann testified, it apparently had little effect.
Diekmann’s testimony regarding the supposed prohibition was not credible.

        Second, the emails indicate that Miller was a “back door” for Scottsdale in dealing with
Unicom. Although the Unicom deposits supposedly came through CSCT, Miller and others at
Scottsdale corresponded directly with Unicom personnel and directed Unicom as to what needed
to be done.

        For example, Miller engaged in extensive email correspondence with Natalie Bannister at
Unicom in November 2013 about setting up its account with CSCT. Miller instmcted her that the
stock certificates to be deposited at Scottsdale had to be made out in CSCT’s name and sent by
CSCT to Scottsdale. Bannister indicated that she did not like transferring ownership to CSCT,
“especially with it not in writing.” Miller insisted, “These are important details.” He said that the
account at Scottsdale was in CSCT’s name and the “cert[tificate deposit] NEEDS to be in
[CSCT’s] name, that is all there is to it.”7S Thus, it was Scottsdale—not CSCT—that was making
the arrangements and instructing the customer on what had to be done.

         Miller shepherded Unicorn’s due diligence packages through CSCT. In March 2014, he
instmcted Unicom staff and Ruzickato get together on the telephone to discuss which
documents were needed and could be provided for a deposit. 9 Similarly, in May 2014, Miller
engaged in email correspondence directly with Unicorn’s Back Office Manager, Chinique Lewis,
asking her about ORFG, one of the stock deposits at issue in this case. He asked her—not
Ruzicka—how the package was coming along. Then Lewis emailed Miller—not Ruzicka—to
ask if there was “ [a]nything on the [ORFG] as yet?” At that point, Miller emailed her back


75 Hearing Tr. (Diekmann) 1664-65.
76 See CX-216.
77 See CX-119.
78 CX-270.
79 CX-171.



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directing her to call Ruzicka and have him call Miller.so Miller’s last instruction in the
correspondence appears to us to reflect an awareness that Scottsdale should be seen to be dealing
only with and through CSCT, when, in fact, Scottsdale, through Miller, was continuing to guide
the business with Unicorn.

        In April 2014, when Diekmann was unable to obtain the information he needed on a
deposit of stock certificates by Unicom from Ruzicka at CSCT, he emailed Miller a copy of his
request to Ruzicka, saying he had not received a response. And Miller, in turn, forwarded the
email directly to two persons at Unicom, Cem Can and Chinique Lewis, asking them to “please
address this ASAP.” Diekmann denied that he had asked Miller to obtain the information for
him, but the correspondence has no other reasonable explanation. Diekmann’s testimony in this
regard was not credible.808182

       In May 2014, Miller obtained information from Chinique Lewis at Unicom about the
purported beneficial owner of the entity that had deposited VPLM stock through Unicom for sale
by Scottsdale and forwarded that to Diekmann. The email correspondence was included in the
VPLM due diligence package.83

         The degree to which Miller corresponded directly with Unicom and managed the Unicom
deposits raises the question whether there was any need for CSCT at all. As discussed below in
the credibility section, Hurry’s decision to route Scottsdale’s FFI business through CSCT had
little discernible business rationale. His implementation of that decision and staffing of CSCT
with Ruzicka, who was unqualified to run CSCT, coupled with the evidence of Miller’s
continuing role as a “back door” to Scottsdale, demonstrate that CSCT was a facade.

        Third, we interpret certain email correspondence between Miller and a client as
suggesting that the Finn assisted its clients “all the time” to conceal beneficial ownership of
stock. Scottsdale supposedly had a policy not to accept business from Canadian citizens residing
in Canada, but, when a client in the Bahamas asked on behalf of a friend whether a Canadian
citizen residing in Canada could do business with Scottsdale, Miller suggested that the friend set
up a corporation to do the business. Miller called it a “work around.” The client responded, “If
they get a corporation set up US, Panama, Belize or wherever won[’]t your Compliance want to
know who is beneficial owner?” Miller responded, “Yes they will but the account holder is the
corporation. Trust me on this one, we do it all the time.”84


80 CX-311, at 1.
81 Hearing Tr. (Diekmann) 1668-71; CX-221.
82 CX-221; Hearing Tr. (Diekmann) 1665-71. In denying that he intended for Miller to obtain the information from
Unicom that Ruzicka had failed to supply, Diekmann testified that he had no interest whatever in whether he
obtained the information. Hearing Tr. (Diekmann) 1665-71. That statement is not credible. If he had no interest,
there would have been no reason to send the email to Miller.
83 RX-3, at 17.
84 CX-210; Hearing Tr. (Diekmann) 1672-77.



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        We are unconvinced by Diekmann’s benign reading of this correspondence. He testified
that he thought that the client was asking something different, “Won’t your compliance know
that a Canadian resident owns the LLC and, therefore, won’t they reject the deposit or account
opening?”85 Diekmann’s interpretation is a rewriting of the client’s words. It ignores that
Miller’s implicit point was that the corporation would be identified as the account holder, not the
Canadian owner. That is why the Canadian’s deposit would not be rejected. Furthermore,
Diekmann’s interpretation does not reflect the tone of Miller’s comments. When Miller
suggested that the shares could be put in the name of the corporation, he treated that as a magical
solution to the problem, saying “and wa-la! We get it done that way.”86 Finally, if Diekmann’s
interpretation of the question were correct, then Miller never answered the question. Miller never
explained why the Finn would not reject the deposit if it knew that a Canadian resident owned
the LLC.

       Fourth, according to Diekmann, after Miller left the Firm in April 2016, the Finn
discovered that he had set up his work email to be forwarded to his personal email.878This means
that Miller could have engaged in communications with FFIs like Unicom “off the record,”
avoiding oversight. Although Diekmann testified that all of Scottsdale’s emails remained on its
system, and were not removed by Miller, Diekmann provided no basis for knowing whether that
was tme. Diekmann testified that the Fimi had asked Miller to confirm he had not removed any
emails from the Finn’s system but that Miller had not responded.

         The inquiry suggests that the Firm in fact does not know whether Miller removed emails
from the Firm’s system. There was no evidence that the Firm employed any technical analysis of
its systems to find out if emails or other infonnation had been deleted. There also was no
evidence that the Finn made any effort to recover any email correspondence that Miller might
have had with customers using only his personal email. Tlius, it is undisputed that Miller
communicated directly with Unicom, and it is impossible to know the number or substance of all
those communications.

        Given the allegations against Unicom and Cem Can in the Bandfield indictment, the
inability to review Miller’s communications with them is a serious concern. The Finn’s
reaction—simply to ask Miller to confirm he did not remove any emails from the Scottsdale’s
system— is an inadequate response. If Miller took emails from Scottsdale’s system or deleted
them, he would hardly be likely to confess to that wrongdoing. That is particularly so where the
emails were with persons subject to a criminal indictment and might place Miller under
suspicion. The request to a potential wrongdoer to confinn that he committed no wrongdoing is
almost farcical. The inadequacy of the Firm’s response mirrors the inadequacy of its checklist


85 Hearing Tr. (Diekmann) 1673.

86 CX-210, at 5.
87 Hearing Tr. (Diekmann) 1662-63.
88 Hearing Tr. (Diekmann) 1663-64.



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approach to Rule 144 due diligence and contributes to our conclusion that stringent sanctions are
required here.

                            c.       Jay Noiman

        Jay Noiman joined Scottsdale in September 2011 and left at the end of December 2014.89
Prior to October 2013, when DiBlasi became CCO, Noiman was the Firm’s CCO.90 He was on
the Management Committee from approximately January 2013 through January 2014. He served
as vice chairman of the Management Committee and second in command after Cruz. During the
relevant period, Noiman was the trading manager and had responsibility for supervising the
traders and sales staff. He identified DiBlasi as his supervisor.91

        Noiman was responsible for reviewing the blotter for restricted stocks. He focused on
FFIs,92 and he approved the account opening documents for CSCT, which was an FFI. Noiman
never considered not approving the CSCT account. He knew at the time that it was a referral
from Hurry.93

       Noiman also signed documents in the due diligence packages for the transactions in this
case. His signature appears on the Checklist under the heading “Broker Approval.” Between the
heading and Noiman’s signature was the statement that he had carefully reviewed the Checklist
and the supporting documents and that to the best of his knowledge “any resale will be made in
compliance with firm policy and all applicable laws.”94 By that language, the Checklist makes it
appear that Noiman was certifying that he believed that the transaction would comply with the
law.

       Noiman testified, however, that his signature signified only that all the necessary forms
were in the file—a check-the-box function.95 The parties stipulated that Noiman’s signatures on
the documents in the three due diligence packages meant the same thing: he checked that the
documents were filled out but did not substantively approve or review them.96 Thus, Noiman's
signature on the Checklist created only a faipade of compliance and accountability.




89 Hearing Tr. (Noiman) 1041-42.
90 Hearing Tr. (Noiman) 1043.
91 Hearing Tr. (Cruz) 81, 564; Hearing Tr. (Noiman) 1043-44.
92 Hearing Tr. (Noiman) 1045-46, 1049-51.
93 Hearing Tr. (Noiman) 1139-40.
94 RX-1, at 2; RX-2, at 2; RX-3, at 2.
93 Hearing Tr. (Noiman) 1156-68, 1171-73.
96 Hearing Tr. (Noiman) 1172-73.



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         During the relevant period, Noiman, like Miller, had contact with one of the FFIs
involved in this case, Titan.9798Noiman talked with Rohn Knowles of Titan at least monthly and
sometimes weekly and engaged in email correspondence with Knowles.9S Both Titan and
Knowles were defendants in the Bandfteld indictment. As discussed below, Noiman obtained
information directly from Knowles, which he forwarded to Cruz, to resolve a serious potential
problem with a CSCT deposit of VPLM stock. CSCT’s staff was not involved.99 Thus, Noiman
was another “back door” to a CSCT customer, raising once again the question why CSCT even
existed.

                  3.       CSCT And Its Key Figures

                           a.       Gregory V. Ruzicka

        Prior to joining CSCT, Gregory Ruzicka was a real estate attorney in Newport Beach,
California. Fie began his legal career advising exclusively on real estate issues and continued in
the real estate field. He did not advise on the federal securities laws.100 Before beginning work at
CSCT, Ruzicka had no experience with Rule 144 or any of the other exemptions from
registration under the federal securities laws.101 Nor did Ruzicka have any prior experience with
Cayman Islands law, the Bank Secrecy Act, or anti-money laundering rules and regulations.102

        Ruzicka met John Hurry in 2002 when Hurry hired him to do some work on a
commercial real estate issue. From time to time after that, Ruzicka did work for Hurry, but none
of that work involved the securities laws or Hurry’s broker-dealer business.103

         Later, Ruzicka suffered a substantial financial setback that left him out of work and
adrift.104 At this point, Ruzicka asked Hurry to give him a job at a bicycle shop that Hurry
owned. Hurry admitted that he was “kind of taken back a little bit.”105 Hurry proposed instead

97 Prior to the events at issue, Noiman was involved in the customer due diligence on Titan when it was a direct
customer of Scottsdale. On January 18, 2012, Noiman signed a due diligence form as a principal of the Firm
representing that to the best of his knowledge the information provided by Titan was true and correct. Noiman also
signed the form as the person giving compliance approval. CX-242, at 48.
98 Hearing Tr. (Noiman) 1185-87. Ruzicka was under the impression that Titan "had a special pipeline to
Scottsdale.” CX-178, at 110. He spoke of a young woman as being the “private liaison for Titan.” CX-178, at 110.
99 CX-296; CX-294; Flearing Tr. (Noiman) 1187-98. See infra a t__.
100 CX-178, at 12-20.
101 CX-178, at 22-23.
103 CX-178, at 18-19, 22-24.
103 CX-178, at 25-29
104 CX-178, at 14-15, 19-20, 30,38, 54.
105 Hearing Tr. (Hurry) 1631, 1635-36. Hurry told D’Mura that Ruzicka had asked, “Would you be able to help me
out? Is there any position or something? Could I work at your bike shop or your ice cream shop? You know, you
don’t have to pay me a lot, but at this point, I don’t have anything. I have $50 in my pocket.” Hearing Tr. (D’Mura)
2262.


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that Ruzicka go to the Cayman Islands to mn Hurry’s operation there. According to Ruzicka,
Hurry told him that Ruzicka would be running the business and acting as Hurry’s lawyer.106
Ruzicka had been to the Cayman Islands once before to go scuba diving, but he was willing to
relocate because he had been through such a hard time and wanted a “change of scenery.”107108
Hurry told Ruzicka that he had 30 days to read about Rule 144, so Ruzicka read Rule 144, the
Securities Act of 1933, and what he could find on the internet about the Rule 144 exemption.109

        In mid-October 2013, Hurry flew with Ruzicka in Hurry’s private plane to the Cayman
Islands so that Ruzicka could begin work.110 Ruzicka remained with CSCT until mid-October
2014.111123

        Diekmami testified that if CSCT had been his business, Ruzicka would not have been his
choice to run the Cayman Islands broker-dealer. Ruzicka lacked securities experience, and he
seemed disorganized, sending materials to Scottsdale piecemeal and failing to follow
.       .     117
instructions.

        Ruzicka never had a securities license or registered with FINRA. Consequently, FINRA
had no jurisdiction to compel him to testify. Ruzicka testified voluntarily at an OTR, and he
considered testifying voluntarily at the hearing. However, after being contacted by counsel for
Respondents, as discussed below in the credibility section, Ruzicka declined to testify.
Consequently, Ruzicka’s entire OTR was admitted into evidence.

                            b.      Craig D’Mura

        Craig D’Mura graduated from Arizona State University in May 2006 and shortly
afterward began work at Vanguard Group in the retirement participant services department. After
a year and a half, he went to law school at Syracuse University. Although he finished law school,
he never took the bar examination and did not become licensed as an attorney. He returned to
Phoenix and started a broker training program in 2010. However, he did not feel that being a
broker was his “calling.”

        D’Mura was unemployed in summer of 2011. He responded to an advertisement on
Craigslist for an operations position at Scottsdale. In July or August 2011, after an interview with


106 CX-178, at 38-40.
107 CX-178, at 54.
108 CX-178, at 40.
109 CX-178, at 22, 62-63.
110 CX-178, at 37.
111 CX-178, at 231.
112 Hearing Tr. (Diekmann) 759-61, 765.
113 Hearing Tr. (D’Mura) 2246-47.



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Justine Hurry, Scottsdale hired him. Prior to his work at Scottsdale, D’Mura was not even aware
of the microcap securities industry.11415

        After two or three weeks in the operations position, D’Mura joined the Rule 144 team.
His training was ongoing. By summer of 2013, he was handling more complicated deposits and
was able to review files as a principal. However, he did not review deposits by FFIs.113

        In summer of 2013, Hurry began discussing with Scottsdale staff his plan to open a
broker-dealer in the Cayman Islands, and Cruz asked D’Mura if he might be interested in
working there. D’Mura began filling out the paperwork necessary if he took the position in the
Cayman Islands, and in January 2014, he flew with Hurry in Hurry’s private airplane to the
Cayman Islands to visit and consider a position with CSCT.116 D’Mura decided to take the
position, returned to Phoenix for a few days, and then went back to the Cayman Islands on
January 28, 2014. He stayed with CSCT only about six weeks. After concluding that the situation
was intolerable and would never improve, he left on March 14, 2014.117

                           c.       CSCT

                                    i.    Hurry Set Up CSCT

         In early 2013, Hurry set up CSCT in the Cayman Islands.118 He became its director and
intended to have overall management supervision of it and its business.119 Through a chain of
entities, a Hurry family trust owns CSCT, and Hurry and his wife serve as co-trustees of the
trust.120

        Hurry claimed that he set up CSCT because Alpine, his U.S. clearing firm, wanted to be
relieved of IRS tax withholding obligations. According to Hurry, Alpine wanted to do business
only with FFIs that had agreed with the IRS to take on tax withholding obligations, thereby
becoming what is known as a qualified intermediary (“QF’).12112Hurry testified that withholding
obligations are complicated and burdensome. He also testified that there are risks in getting




114 Heanng Tr. (D’Mura) 2247-48.
115 Hearing Tr. (D’Mura) 2248-51.
116 Hearing Tr. (D’Mura) 2252-58.
117 Hearing Tr. (D’Mura) 2266, 2306-09.
118 Heanng Tr. (Huny) 1329, 1333-34.
119 Heanng Tr. (Hurry) 1394-95; CX-160, at 3.
120 CX-21, at 2.
121 Hearing Tr. (Huny) 1373-74, 1552-61; Hearing Tr. (Frankel) 2345-46, 2349-51. Resp. PH Br. 8.
122 Hearing Tr. (Hurry) 1554-57.



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the paperwork wrong and incurring penalties, and that there were tax advantages to generating
                              123
and retaining funds offshore.

         Hurry’s testimony was at a high level of generality, and there was no corroborating
evidence to show the analysis. There was no evidence regarding how Alpine made the decision
that it would only do business with QIs, or who made the decision. There was no evidence other
than Hurry’s testimony to demonstrate that CSCT made business sense. It is unclear how the
expense of establishing and staffing a separate offshore office was less burdensome than
Alpine’s withholding obligations, or why the same goal of eliminating Alpine’s withholding
obligation could not have been achieved less expensively by requiring the Firm’s FFI customers
to obtain QI certification in order to do business with Scottsdale and Alpine. Moreover, since
Hurry ultimately bore the costs regardless of which entity had the obligation, Alpine or CSCT,
we are not persuaded that the claimed reason for creating CSCT made sense.123124

        Nor did the creation of CSCT make sense from the perspective of achieving regulatory
compliance. As Cruz agreed, it is easier to spot problems with direct accounts than through an
FFI like CSCT that operated as an intermediary for sub-accounts and sub-sub-accounts.12'

        Hurry’s intense involvement in CSCT’s operations did not abate after he hired Ruzicka in
October 2013 to run CSCT’s day-to-day operations. Hurry located and rented office space for
CSCT before Ruzicka began work and then continued to closely oversee the details of
establishing and opening the office after Ruzicka arrived. Hurry obtained a floor plan from
Ruzicka, told Ruzicka it was not correct, and asked Ruzicka to take measurements and create a
revision.126 Hurry provided Ruzicka with contact information for shippers to ship furniture Hurry
had found for the office.127 Hurry reviewed the proposed CSCT website design and asked about
the costs.128 Hurry made the final decision on hiring a bookkeeper129130and all the decisions on
entering contracts.12




123 Hearing Tr. (Hurry) 1554-57.
124 Hurrry testified that he had allocated between $4 and $5 million for the project and had invested well over seven
figures in CSCT. Hearing Tr. (Hurry) 1552. When asked what he had taken out of CSCT, he said “Zero.” Hearing
Tr. (Hurry) 1553.
125 Hearing Tr. (Cruz) 220.
126 CX-48; CX-50; CX-52; CX-55; CX-75.
127 CX-52; CX-53.
128 CX-49; CX-84.
129 CX-178, at 43-44.
130 CX-178, at 46.



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        Hurry instructed Ruzicka on fundamental business operations, as well. For example, he
explained to Ruzicka that he should open a separate bank account for customer funds to keep
their funds separate from CSCT’s funds.131

        Hurry decided that CSCT should be in the Special Economic Zone within the Cayman
Islands, and that it should apply to be exempt from regulation by the Cayman Islands Monetary
Authority (“CIMA”). In addition, Hurry instructed Ruzicka to apply to the IRS for QI status.132
Although Ruzicka expressed concerns about the obligations and representations associated with
QI status and was reluctant to make the required representations without further study, Hurry
insisted that Ruzicka do it.133

        Hurry determined the fees and commissions CSCT clients would pay. He instructed
Ruzicka to take whatever Scottsdale charged CSCT and tack on 200 basis points.134 Hurry in turn
obtained a discount from Scottsdale on its charges to CSCT.135 By this means, he kept the cost of
doing business through CSCT roughly the same as doing business directly with Scottsdale.
Otherwise, the rerouting of the FFI business through CSCT would have made no economic sense
for the customers. However, there was no evidence that it made economic sense for Hurry to
keep customer expenses roughly the same as they would have been working directly with
Scottsdale when he was incurring substantial extra expenses setting up and staffing the extra
office in the Cayman Islands.136

        Hurry was intimately involved in setting up CSCT’s technical systems. Hurry made the
arrangements for computer software for CSCT and instructed Ruzicka to download Office 2010
for two users.137 Similarly, Hurry selected computer equipment for CSCT and brought it down to
the Cayman Islands in mid-January 2014 at the same time that he brought D ’Mura to look at
joining CSCT. D’Mura testified that Hurry set up the office network for CSCT.138 When Ruzicka
showed Hurry the information he planned to send to clients. Hurry told him he should make it
look better and instructed him on how to do that. Hurry told Ruzicka to print to PDF and get a
clean file to email customers. He advised Ruzicka that he could do that on his computer.139



131 CX-83.
132 CX-178, at 48-53.
133 CX-105; CX-107; CX-178, at 50-53.
134 CX-178, at 106-09.
135 Hearing Tr. (Cruz) 141-43; Hearing Tr. (D’Mura) 2294-95.
136 Hurry and Diekmann testified that routing the FFI business through CSCT was actually a little less expensive for
customers than dealing with Scottsdale directly. Hearing Tr. (Hurry) 1642-44; Hearing Tr. (Diekmann) 1652-53. If
true, that testimony further undercuts the business justification for CSCT.
137 CX-94; Hearing Tr. (Hurry) 1461.
138 Hearing Tr. (D’Mura) 2263, 2266-68.
139 CX-77; CX-78.



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        Ruzicka, by contrast, was fairly unsophisticated about technology. He was vague on even
identifying the programs that he used at CSCT.140

                                    ii. Hurry Micro-Managed CSCT’s Business

        Although Hurry portrayed Ruzicka as being in charge of CSCT,141 the evidence is
otherwise. Hurry micro-managed CSCT, and he bullied Ruzicka and D’Mura to get them to do
what he wanted them to do. Hurry also closely tracked CSCT’s business with Scottsdale and
with its FFI customers.

       Ruzicka considered himself to be only an intermediary.142 Hurry dictated what should be
done, and Ruzicka complied. Ruzicka said with respect to Hurry, “You don’t discuss; you do as
you are ordered.”143 For example, when Ruzicka protested that he was not comfortable with
signing off on the QI application, Hurry responded, “Stupid, just do it.” Ruzicka said that he
“kind of dropped the subject at that point.”144 Ruzicka signed off, despite his discomfort, because
he knew if he did not “there is a ticket back to LA coming tomorrow.”145

        Similarly, although Ruzicka thought that Unicom engaged in some suspicious trading and
constant pressure from Cem Can at Unicom gave him the “creeps,” Ruzicka did not think he had
authority to terminate the relationship with Unicom. If he had done so without clear authority
from Hurry, he thought that would have been his last day at CSCT.146 D’Mura confirmed that
neither he nor Ruzicka could terminate a client relationship, and, although they hated dealing
with Cem Can at Unicom, they did not consider it an option to turn away the business.147148

       Some of the initial customers of CSCT were pre-existing customers of Scottsdale. When
Ruzicka asked the commonsense question why the pre-existing business was going to flow
through the new entity, Hurry told him to shut up. After that, Ruzicka just did as he was told.14s

       Ruzicka testified in his OTR, and D’Mura testified at the hearing, that Hurry barraged
them with telephone calls while they were working at CSCT. Flurry called Ruzicka almost every
day, sometimes multiple times. Fie called D’Mura less often, probably a couple of times a week.


1,10 CX-77; CX-178, at 24-25.
141 Hearing Tr. (Hurry) 1433, 1436, 1549-50. Hurry claimed that he hired Ruzicka to fulfill an “executive role.”
Hearing Tr. (Hurry) 1648.
142 CX-178, at 46.
143 CX-178, at 51.
144 CX-178, at 51-52.
145 CX-22; CX-178, at 52-53.
146 CX-178, at 177-80, 188-89.
147 Hearing Tr. (D’Mura) 2283-86.
148 CX-178, at 79-80.



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The calls could come at all hours as well.149 Often the calls were followed by demanding, abnipt,
and increasingly impatient emails saying “call me.”150 In one email, Hurry wrote “Your phone is
not working TURN IT ON. I need a call.”151 In another he wrote, “Call me in 60 minutes. DO
YOU NOT UNDERSTAND THAT?”152 hi another the subject line was “pick up your
phone!!!!!!!!”153

        Hurry developed an Excel spreadsheet to track various aspects of CSCT’s business.
Although Hurry characterized it in his testimony as an “empowerment tool” that enabled his
people to track their work for themselves without his having to keep track of their progress,154
that characterization is not consistent with the evidence.

         The spreadsheet tracked daily gross production, number of trades placed, certificate
deposits approved, new certificate deposits received, and number of new accounts. It also tracked
Ruzicka’s start and finish times.155 Ruzicka said that in telephone calls Hurry would even ask
about how many cigarettes he had smoked during the day.156 An email from Hurry corroborated
Ruzicka’s testimony. In the email. Hurry told Ruzicka “Need all the below,” including start time,
finish time, and “number of cig breaks.”157 Hurry acknowledged that the email included an
inquiry about cigarette breaks, but he claimed that he was trying to help Ruzicka get himself
organized. He claimed to know that Ruzicka was only in the office for ten minutes in an hour,
which meant things were not getting done.158

         Hurry wanted the numbers prepared every day, even if he did not ask for the information
every day. Ruzicka and D’Mura prepared themselves for Hurry’s frequent telephone calls and
tried to have talking points and updated information ready to go if Hurry should call.*13*5678139

       Hurry tracked Ruzicka’s and D’Mura’s contacts with CSCT customers, including the
FFIs involved in the transactions at issue. Ruzicka testified that in their frequent telephone calls
Hurry would ask him about whether he had talked to Rohn Knowles at Titan or Cem Can at



149 Hearing Tr. (D’Mura) 2301-02; CX-178, at 67-73.
150 CX-63; CX-68; CX-71; CX-74; CX-118; CX-121; CX-126; CX-127.
151 CX-121.
152 CX-127.
133 CX-118.
154 Hearing Tr. (Huny) 1433-39.
135 CX-131; Hearing Tr. (Hurry) 1433-34.
136 CX-178, at 140-41.
137 CX-133; Hearing Tr. (Hurry) 1438-39.
138 Hearing Tr. (Hurry) 1438-40.
139 CX-178, at 140-41; Hearing Tr. (D’Mura) 2301-04; Hearing Tr. (Hurry) 1436-40.



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Unicom or other particular people from the Bahamas, Panama, or Belize.160 D’Mura testified that
Hurry would ask about customers, not particular deposits, but he and Ruzicka did discuss with
Hurry how they were doing on specific deposits.161 For example, in email correspondence and
telephone conversations, Ruzicka discussed with Hurry the amount of trading in at least two of
the symbols at issue here, NHPI and VPLM.162

       D’Mura decided to leave CSCT and the Cayman Islands, in part, as a result of Hurry’s
constant demands. Hurry had called on a day that Ruzicka was attending a wedding as best man
and D’Mura was working at his rented condominium instead of the office. Hurry expressed
aggravation that neither of them was in the office and spoke of “having a come to Jesus moment”
when he arrived in the Cayman Islands in a few days.163 D’Mura then packed his bag and said
good-bye to Ruzicka, who expressed the wish that he could leave, too. However, Ruzicka said he
had nowhere to go and no alternative. D’Mura left before Hurry arrived; Ruzicka stayed.164

        Eventually, in October 2014, Ruzicka also left CSCT. Its business had dwindled in
reaction to the SEC complaint in Amogear and the Bandfield indictment.165 According to
Ruzicka, in October 2014 Hurry offered him other positions back in the United States, but
Ruzicka concluded that he “did not want to work any long[er] for that man,” referring to Hurry.
Ruzicka said, “I don’t care what he offered, you know. Incremental value of that last dollar just
was not worth it.”166

                                     iii. Hurry Prospected For CSCT Customers

       CSCT did not advertise167 or engage in cold-calling to try to generate business.168 Hurry’s
business plan was for CSCT to develop clients through contacts and referrals,169 but Ruzicka,
who had no prior industry experience, had no network he could cultivate for potential customers.




160 CX-178, at 74-77, 84-85.
161 Hearing Tr. (D’Mura) 2304-05.
162 CX-132.
163 Hearing Tr. (D’Mura) 2308-09. Hurry confirmed that he was frustrated that Ruzicka and D’Mura were not in the
office. Hearing Tr. (Hurry) 1602-03. When people called CSCT and did not get an answer, they called Alpine trying
to find Hurry. Hearing Tr. (Hurry) 1622-23.
164 Hearing Tr. (D’Mura) 2306-10.
165 Hearing Tr. (Cruz) 237-38.
166 CX-178, at 232.
167 CX-178, at 218. In contrast, even though Scottsdale had been in business for ten years, it advertised for business.
Hearing Tr. (Cruz) 116.
168 Hearing Tr. (D’Mura) 2279-80.
169 CX-160, at 3; Hearing Tr. (Hurry) 1393.



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       Customers simply appeared seeking to establish a business relationship with CSCT. They
were referred to CSCT by Hurry or by someone at Scottsdale or Alpine.170 Ruzicka testified at
his OTR that he had an “express representation” that two of the FFIs involved in this case, Titan
and Unicom, were referred by Hurry.171 Ruzicka did not know how Montage ‘found” CSCT.172173

        At the hearing, Hurry flatly contradicted Ruzicka’s testimony that Hurry had referred
Titan and Unicom to CSCT.1 3 We do not credit Hurry’s testimony because he gave the
testimony only after he knew that Ruzicka would not appear at the hearing to dispute Hurry’s
statement. To the extent that Hurry means that the referral came from someone at Scottsdale, we
do not regard that as proving that Hurry was not the ultimate source of the referral, even if he
made the link to CSCT through Scottsdale. Hurry had a pre-existing relationship with Titan
while it was a direct customer of Scottsdale,174 and he admitted talking to existing Scottsdale
customers about his plan to establish CSCT.1'5 He also admitted, as discussed below, to talking
directly to Titan and other customers even after they became CSCT customers.

        Hurry admits that he had at least one face-to-face meeting with Montage in Panama176
and another face-to-face meeting with Unicom in Belize.177*He flew to Central America in
January 2014 for these meetings, after dropping off D’Mura on his initial visit to CSCT. He did
not take Ruzicka with him.1 8

         At the hearing, Hurry claimed not to recall discussing business with either Montage or
Unicom during these visits.179 Hurry claimed that he went to Montage because Ruzicka had
asked him to evaluate a back-office system Montage was using to see if it would be suitable for
CSCT. Hurry did not identify the nature of the system. He said that in the end they determined
that it was not suitable for CSCT. He did not explain why it was unsuitable.180

      We do not find Hurry’s testimony with respect to his visit with Montage credible.
Ruzicka was not technologically sophisticated and was too subordinate to suggest such a thing to


170 CX-178, at 104, 167-68.
171 CX-178, at 203-04.
172 CX-178, at 203.
173 Hearing Tr. (Hurry) 1410, 1416.

174 Hurry was listed as the registered representative and financial consultant for Titan when it was a direct customer
of Scottsdale. Hearing Tr. (Hurry) 1413-14, 1610-12; CX-242, at 44, 48.
175 Hearing Tr. (Hurry) 1401-06.
176 Hearing Tr. (Hurry) 1412-13, 1612-13.
177 Hearing Tr. (Hurry) 1406, 1422, 1613-14.

1,8 Hearing Tr. (D’Mura) 2300-01; Hearing Tr. (Hurry) 1617-19.
179 Hearing Tr. (Hurry) 1406, 1618-19.
180 Hearing Tr. (Hurry) 1612-13, 1617-19.



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Hurry. Furthermore, D’Mura testified that he remembered no discussion of evaluating a back
office system. Hurry’s testimony was vague and lacked specificity, and, again, Hurry gave his
testimony only after it was clear that Ruzicka would not appear at the hearing. Hurry knew he
would not be contradicted.

         Hurry counseled Ruzicka to do business with Montage and, in particular, to do business
with a person who was not identified in Montage documents as being connected with it. Ruzicka
testified in his OTR that he was unclear about the role of a Montage contact with whom Hurry
spoke from time to time. When Ruzicka asked Hurry about the contact, Hurry said to him “Hey,
that’s fine, you can interface with that guy. He’s part of the operation.”181182 This evidence shows
that Hurry knew more about Montage than Ruzicka did, and that Hurry was instructing Ruzicka
with regard to customer dealings.

        Hurry claimed at the hearing that he only went to Belize to meet with Cem Can at
Unicom (both named defendants in the Bandfield indictment) because Ruzicka asked him to do
so. According to Hurry, Ruzicka was trying to open the account and Can had requested a
meeting with Hurry. Hurry said it is not uncommon for people to want to meet the owner of a
business.183 However, in somewhat inconsistent testimony, Hurry testified that he did not recall
discussing business during his visit with Unicom.184

       Hurry’s hearing testimony was impeached by his OTR. In his OTR, Hurry testified that
Cem Can had asked him whether it would be better to do business with Scottsdale or CSCT.
Hurry told him that it might be quicker to go directly to Scottsdale, but there could be “holdups”
because of potential withholding there. On the other hand, because CSCT was a QI, Hurry told
Can the “holdup” would be eliminated.185

        There was additional evidence that Hurry discussed business with Unicom, hi late
January 2014, Chinique Lewis of Unicom sent an email to Eric Miller, Diekmann, and Ruzicka
asking for Hurry to join a call on the processes and procedures to be used in connection with
Unicorn’s business with CSCT and Scottsdale. She said from “our personal face to face
conversation with Mr. Hurry, I am certain he will not mind getting on a call.”186

       With respect to the request to involve him on a call with Unicom, Hurry testified that it
was no more than the common desire to deal with the person at the head of an organization.187


181 Hearing Tr. (D’Mura) 2300-01.
182 CX-178, at 123-24.
183 Hearing Tr. (Hurry) 1613-14.
184 Hearing Tr. (Hurry) 1406.
185 Hearing Tr. (Hurry) 1407-10, 1421-22.
186 CX-119.
187 Hearing Tr. (Hurry) 1432



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We find his explanation unconvincing. He traveled to a potential CSCT client without taking
Ruzicka, the designated head of CSCT, discussed that client doing business with CSCT, and was
viewed by the client as an important participant in the client’s business dealings with CSCT.

            Although he denied it, Hurry provided other leads and referrals to Ruzicka, too. hi an
email dated November 17, 2013, for example. Hurry wrote to Ruzicka, “Referrals and Leads call
me on them.” In the email, Hurry provided a couple of names and telephone numbers. One of
those named was an “Andrew Fanner.”lss On November 20, 2013, Ruzicka wrote Hurry that he
had tried to call “Andy” at the number Hurry had given him but the call did not go through. That
same day Hurry provided another telephone number. Hurry maintained he had identified the
people in the email to Ruzicka not as prospects or potential customers but because they knew
FFIs.1819190

       Hurry revealed that, in fact, he was guiding Ruzicka’s customer dealings, when he
volunteered that Ruzicka did not in the end talk to the people Hurry had identified in the email.
Hurry said that he had afterward found out that they had some “issues” and had told Ruzicka,
“Don’t bother.”191

        D’Mura testified that while he was at CSCT Hurry and Ruzicka met with another
potential customer, Caledonian Securities. CSCT received over 50 Caledonian deposits
afterward.192

        Despite this evidence that Hurry was critical to developing CSCT’s business, Hurry
portrayed himself as offering only slight help to Ruzicka. He claimed that all he did was to
recommend to Ruzicka that he get a book of international financial institutions and prospect for
customers using that.193 This testimony is not credible. Since Ruzicka and D’Mura engaged in no
cold calling, they had no use for a book to help them prospect for customers.194 Furthennore,
such an approach to business promotion—cold calling people out of a book—was not likely to
be successful. Flurry would certainly have known that, and he would not have been satisfied with




188 CX-51.
189 CX-62.
190 Hearing Tr. 1401-04; CX-51.
191 Hearing Tr. (Hurry) 1404.
192 Hearing Tr. (D’Mura) 2295-97. D’Mura testified that he received the initial documents from Caledonian in the
last week before he left Scottsdale and laid them out on a table to review, so he was well aware of the volume
submitted to CSCT. The Caledonian-related deposits were not passed on to Scottsdale before he left CSCT. Hearing
Tr. (D ’Mura) 2317.
193 Hearing Tr. (Hurry) 1403-04.
194 Hearing Tr. (D’Mura) 2279.



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that approach to marketing CSCT. He wanted CSCT to be successful and worked hard to make it
    195
so.

                                   iv. Hurry Tried To Conceal His Involvement With CSCT

        Both Ruzicka and D’Mura had the impression that secrecy was important to Hurry.
Ruzicka said that Hurry “flat told me, ‘I’m going to Caymans, because that way I don’t have to
give anything to anybody.’”1951961978D’Mura testified that when he first flew down to the Caymans
with Hurry, Hurry spent time discussing with him the privacy laws of the Cayman Islands. Hurry
noted that some of them were criminal, not just civil.19' In so doing, Hurry stressed the serious
consequences if a person failed to comply.

        Hurry denied any particular interest in secrecy. Hurry’s denial is not credible. We find
that he was intensely concerned with secrecy and concealing his involvement with CSCT’s
customers and business. His concern was manifested in the following ways.

                                       (a) Use Of Email Address That Hid His Identity

        Hurry used an email address that hid his identity. When Ruzicka started working at
CSCT, he used as his work email address gr@csct.ky. The address identified him by his initials,
the firm by its initials, and the Cayman Islands location by the last two letters. Ruzicka set up a
similar email address for Hurry, using Hurry’s first initial and last name: jhurry@csct.ky.199201

        Hurry had an extreme reaction to his email address. Ruzicka said that Hurry “just
crucified me.” Hurry told Ruzicka that the address was too long, and instructed Ruzicka to
change the individual identifier to x.:o° Thus, during the relevant period Hurry’s email address at
CSCT was x@csct.ky, which did not identify Hurry.

         At the hearing, Hurry repeated the same explanation for changing his email address. He
                                                   9Q1
testified that he wanted an address that was short."

        We find Hurry’s explanation to be false. He volunteered elsewhere in his testimony that
                                              9Q2
his main email address is JHurry@hurry.com." " Thus, Hurry’s main email address is constructed
in the same way that Ruzicka initially constructed Hurry’s address at CSCT. If that construction

195 Hearing Tr. (Hurry) 1417-18; CX-178, at 74-75, 135-42.
196 CX-178, at 36.
197 Hearing Tr. (D’Mura) 2259.
198 Hearing Tr. (Hurry) 1361-62, 1364-65.
199 CX-178, at 146-47.
200 CX-178, at 146-47.
201 Hearing Tr. (Hurry) 1459.
202 Hearing Tr. (Hurry) 1426.



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was not too long for Hurry’s main email address, then it was not too long for his CSCT address.
Furthermore, we find that the choice of x instead of an identifier such as JH was designed to
conceal Hurry’s involvement in CSCT business and perhaps give him the possibility of denying
that it was his address. Finally, the extreme nature of his reaction to the initial email address—
making Ruzicka feel almost “crucified”—strongly suggests that Hurry was concerned with
something more important than having a short email address.

                                     (b) Assertion Of Attorney-Client Privilege

        Hurry insisted on asserting the attorney-client privilege even where it was not
appropriate. Hurry almost always marked his emails with Ruzicka as attorney-client privileged.
He did so even when his emails simply asked Ruzicka to call him and when his emails concerned
only floor plans and office furniture and the like, which emails neither sought nor received nor
reflected any legal advice.203 In contrast, Ruzicka rarely marked his emails to Hurry as
privileged,204205even though Hurry instructed Ruzicka that he should mark all his email
correspondence with Hurry as attorney-client privileged.

        Hurry claimed at the hearing that he marked his emails privileged because Ruzicka
advised him to use the privilege designation.206207That claim is not credible in light of Ruzicka’s
practice of not marking his emails with Hurry as privileged. Nor is Hurry’s claim consistent with
the written record that it was Hurry who instructed Ruzicka to use the privilege designation, not
the other way around. We find that Hurry wanted all his correspondence with Ruzicka marked
privileged because he believed that he might be able to shield that correspondence from future
regulatory scnitiny or litigation discovery. Similarly, in his hearing testimony, Hurry sometimes
used the phrase “on advice of counsel” in his answer, as though it were a talisman against more
                         •   •207•
probing inquiry or criticism.

                                     (c) Avoiding Written Record

       Hurry tried to avoid creating a written record. Ruzicka wrote in an email to Diekmann
that Hurry had directed him to take a particular deposit, specifying the symbol, SVLE. Diekmann
forwarded the email to Hurry and DiBlasi. When Hurry saw the email, he ‘bore” into Ruzicka




203 CX-48; CX-49; CX-50; CX-51; CX-52; CX-55; CX-58; CX-62; CX-63; CX-71; CX-75; CX-77; CX-78; CX-79;
CX-83; CX-84; CX-92; CX-94; CX-107; CX-129; CX-151.
204 CX-53; CX-62; CX-75; CX-77; CX-79; CX-84; CX-151.

205 CX-53 and CX-84.
206 Hearing Tr. (Hurry) 1485.
207 Hearing Tr. (Hurry) 1333-35.



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“like you wouldn’t believe.”208 Hurry told Ruzicka something to the effect of “Never put in
writing that I am directly involved in business decisions.”209

        Ruzicka said that Hurry did not want any permanent record of his communications.210 For
that reason he communicated with Ruzicka primarily through FaceTime, the iPhone tool for
video communications. Hurry called Ruzicka frequently, sometimes as many as four times in a
day. He called early in the morning and as late as 9:30 p.m.; he called on weekends as well as
business days. Ruzicka viewed the video calls as invasive, but Hurry told him that he used
FaceTime because it was free.211 Notably, emails are similarly “free” communications once you
have paid the internet provider, and Hurry would have incurred no additional expense if he had
communicated with Ruzicka by email.

       Hurry disputed Ruzicka’s testimony that he did not want a written record of his
communications with CSCT.212 However, D’Mura confirmed that Hurry did not want a written
record of his involvement in CSCT business. D’Mura testified that Hurry expressed to him and
Ruzicka both specifically and generally not to send him documents.213

                                 (d) Use Of FaceTime To Conceal Contacts With Customers

        Hurry also communicated with CSCT customers (including all three FFIs involved in this
case) using FaceTime, thereby concealing his contacts with them. Hurry would call Ruzicka at
CSCT and ask Ruzicka to call a customer on CSCT’s landline. Then Ruzicka would hold his
iPhone next to the landline telephone so that Hurry and the customer could talk Ruzicka did not
participate in the calls, although he had to be present to hold the telephones together. This
manner of conducting the telephone conversation would avoid a record that Hurry had talked to
the customer. To the extent there was any record, it would appear that Hurry had only called
CSCT. Ruzicka testified at his OTR that this happened roughly a dozen times and that Hurry had
conversations in this manner with Rohn Knowles and Kelvin Leach at Titan, Cem Can at
Unicom, and an individual at Montage.214

       In hearing testimony, D’Mura similarly described a FaceTime conference call with
Caledonian. Caledonian was on the speaker phone in the CSCT office and Hurry was on the
iPhone. Ruzicka would hold the telephones next to each other. D’Mura remembered at least one



208 CX-178, at 155-61.
209 CX-178, at 161.
210 CX-178, at 70.
211 CX-178, at 67-71.
212 Hearing Tr. (Hurry) 1540.
213 Hearing Tr. (D’Mura) 2300.
214 CX-178, at 118-27.



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other time that such a FaceTime conference happened.215216D’Mura believed that it was Hurry’s
idea to conduct the calls this way.

        Hurry does not deny that he conducted telephone calls with CSCT customers in this
manner. However, he gives the practice an innocent explanation. He claims that he used the
iPhone app because it cost less and because he found it difficult to do a conference call on his
cell phone. He claimed that Ruzicka was a participant in the call, disputing Ruzicka’s OTR
testimony after he knew that Ruzicka would not appear at the hearing.217

        We find Hurry’s explanation not credible. Hurry generally did not conduct his business in
such a frugal manner. He flew back and forth to the Cayman Islands in his own private airplane,
and flew to Panama and Belize from there to meet with Montage and Unicom.218219He funded
expensive offices for CSCT" and provided Ruzicka and D’Mura with housing when they
worked there.220 He instructed Ruzicka to buy Hurry a seven-seat vehicle to use while he was in
the Cayman Islands.221 He liked to tell people how rich he is.222 It is unlikely that the costs
associated with a dozen international telephone calls would trouble him much.

       We also find Hurry’s assertion that he used FaceTime because he was too technologically
challenged to figure out how to do a conference call on his cell phone not credible. Hurry was
technologically sophisticated enough to setup CSCT’s computer network.22324*He instructed
Ruzicka on how to use PDFs and other software, and he created an elaborate Excel
spreadsheet.221 When he was asked whether he was aware that his use of FaceTime to speak with
customers would conceal his involvement in a conversation with the customers. Hurry answered
     .        , .      .               99c
evasively, avoiding a direct yes or no.""

        Hurry testified that he started using FaceTime in February 20 14.226 Coincidentally, his
email traffic with Ruzicka and D’Mura at CSCT dropped to nearly nothing.227 We find a

213 Hearing Tr. (D’Mura) 2297-98.
216 Hearing Tr. (D’Mura) 2302-03.
217 Hearing Tr. (Hurry) 1540-42.

218 Hearing Tr. (D’Mura) 2252-58, 2300-01; Hearing Tr. (Hurry) 1412-13, 1613-14, 1617-19.
219 CX-178, at 35.
220 Hearing Tr. (Hurry) 1447, 1649-51; Hearing Tr. (D’Mura) 2265, 2316-17.
221 CX-58.
222 CX-178, at 26, 70.
223 Hearing Tr. (Hurry) 1461; Hearing Tr. (D’Mura) 2263, 2266-68; CX-94.
224 Hearing Tr. (Hurry) 1433-34; CX-178, at 24-25; CX-77; CX-131.
223 Hearing Tr. (Hurry) 1541.
226 Hearing Tr. (Hurry) 1540.
227 Resp. PH Br. 45.



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significant connection between the two events. Hurry’s purposeful use of FaceTime enabled him
to stop creating a trail of emails.

         C.       The Firm’s General Practice For Reviewing Deposits

         Everything that Scottsdale knew about a deposit when the Firm concluded that it could
sell the deposited securities pursuant to the Rule 144 exemption is contained in a due diligence
package for the deposit. Generally, at the top of the package is a two-page Deposited
Securities Checklist (“Checklist”). That is followed by various other documents, including a
Beneficial Ownership Declaration signed by the purported beneficial owner of the shares
deposited for resale by Scottsdale.2282292301

        Scottsdale’s general process for reviewing and approving a deposit of stock certificates
was for a person on the Rule 144 team to assemble the due diligence package, working from the
Checklist. Then, the person who had put together the file (sometimes referred to as the first
reviewer) would go to Cruz and talk with him about it. Depending on the complexity of the
deposit, the talk could take 15 minutes to an hour. Cruz did not review every page in the file. He
would read through the Checklist and ask questions. He might ask to see particular documents
                                                                             930
and conduct Google searches while sitting together with the initial reviewer."

         The Finn heavily depended upon the representations made in the Beneficial Ownership
Declaration for its conclusion that the purported beneficial owner was not an affiliate of the
issuer and was the person who had the economic interest in the shares on deposit. Diekmann
initially denied that the persons signing as beneficial owners could be lying. He testified that he
saw no reason for them to lie, and he emphasized that the document is very clear about the
information it requests. Only upon being pressed did he eventually agree that if someone were
acting as a nominee for a secret beneficial owner one would expect them to lie.' We find his
testimony on this subject evasive.

        Cruz similarly focused on the fact that the Beneficial Ownership Declaration was the tool
that the Firm used to find out who owned the shares.23223He stressed that the Declaration was
“unequivocal,” and that the parties to the transactions understood the Firm’s expectations when
they made parallel representations regarding the person identified as the beneficial owner."
When asked whether language on Unicorn’s website offering to appoint nominee officers and
directors would be a red flag to him, Cruz responded that it “could have been.” He suggested that
the way he would deal with that red flag would not be to seek independent verification. Rather,

228 Hearing Tr. (Diekmann) 1916-17.
229 R X -l,a t 1-2, 11-12, 78-79, 88-89, 158-59, 169-70; RX-2, at 1-2, 12-13, 106-07,117-18; RX-3, at 1-2, 11-12.
230 Hearing Tr. (Diekmann) 694-96; Hearing Tr. (Cruz) 278.
231 Hearing Tr. (Diekmann) 1895-96.
232 Hearing Tr. (Cruz) 201-03.
233 Hearing Tr. (Cruz) 202.



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he would simply emphasize to the interested persons the importance of disclosure. He said that
the Finn would “reiterate and make sure they understand the purpose of our forms and ... that
they need to - to disclose the underlying beneficial owner.”234

        Cruz testified that during the relevant period, from December 2013 through June 30,
2014, the Firm did not conduct a specific search for nominees.235 Diekmann testified that he
thought the Firm’s general practice would pick up a problem with nominees, but he could not
cite any particular procedures that were geared to do that. He said the “procedures in sum” would
address the nominee problem.236*Cniz conftnned, however, that the term “nominee” appears
                                                 237
nowhere in the Firm’s policies and procedures.

        Given the complexity of the analysis required, and the high potential for interested parties
to obfuscate and make misrepresentations, we find the Firm’s general process for final approval
inadequate. A conversation that may last fifteen minutes and not involve review of all the
documents in the file is not enough to analyze the content of the representations and understand
whether the business transactions made sense. We also find that the Finn’s reliance on the
honesty of the interested parties filling out the fonns was unreasonable in light of the high
potential for the use of nominees.

        We are concerned that the Firm’s general process for review and approval was so poor
when the processing of microcap stock certificates for resale to the public was its primary
business. We are further concerned because the transactions at issue here were typical of
Scottsdale’s business. Cruz testified that the Firm’s customers typically were persons who made
loans to issuers and then sold the loans to others who then attempted to profit by exchanging
them for shares. Thus, the Finn’s lack of a good process for review and approval was not a minor
aspect of the Finn’s business."

           D.       Transactions

        The Firm followed a check-tlie-box approach to its Rule 144 reviews, without evaluating
and independently verifying the infonnation it gathered. This approach is apparent from the
following in-depth analysis of the three NHPI deposits. The Firm followed the same approach
with the VPLM and ORFG deposits, which we discuss in less detail.




234
      Hearing Tr. (Cruz) 307-08.
235
      Hearing Tr. (Cruz) 199-202,211-13; Hearing Tr. (Diekmann) 908-10.
236
      Hearing Tr. (Diekmann) 922.
237
      Hearing Tr. (Cruz) 666-67.
238
      Heanng Tr. (Cruz) 352-53.



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                   1.       NHPI (Three Unicom deposits derived from Collins promissory note)

                            a.        Due Diligence Package

                                      i.   Purported Beneficial Owners

        CSCT made three NHPI deposits. They all came from Unicom, which, in turn, purported
to act on behalf of other supposedly independent entities: Sky Walker, Inc. (“Sky Walker”),
Swiss National Securities (“Swiss National”), and Ireland Offshore Securities (“Ireland
Offshore”). The beneficial owner of Sky Walker is identified on the Checklist as Patrick Gentle;
the beneficial owner of Swiss National is identified on a separate Checklist as Talal Fanni
(apparently a misspelling, since the person signed documents as Talal Fouani); and the beneficial
owner of Ireland Offshore is identified on the third Checklist as Jeff Cox.239

        Each purported beneficial owner signed a Beneficial Ownership Declaration representing
that he was not an affiliate of the issuer, that the issuer was not to his knowledge a shell, and that
the securities were free trading, without resale restrictions under Rule 144. The documents were
not witnessed or notarized. No address, telephone number or other contact information was given
for the purported beneficial owner.240

        Scottsdale did nothing to identify the purported beneficial owners more specifically.
While it did a Google search combining the name of the beneficial owner with the words
“securities fraud” and put the first page of the initial index of results in the due diligence
package, it did not search for the person’s name alone, or the person’s name in combination with
the name of the entity through which he acquired the shares, or the person’s name along with the
names of the issuer and issuer’s principals.241

        The purpose of the Google search using the name of the purported beneficial owner with
the words securities fraud is unclear in light of the fact that Diekmann testified that a “hit” on
such a search indicating that a person was engaged in some sort of securities fraud would be
unrelated to beneficial ownership.242 That testimony demonstrates the check-the-box attitude of
the Finn. Diekmann was insensitive to the possibility that if a person was engaged in securities
fraud, then the representations made by that person and others connected to a deposit could be
false.

         As discussed below, the three deposits shared the same origin.




239 RX-1, at 1-2, 11-12, 78-79, 88-89, 158-59, 169-70.
2,10 RX-1, at 11-12, 88-89, 169-70.
241 RX-1, at 67, 152, 223. The Firm misspelled Fouani’s name when it did the Google search, illustrating its careless
approach to conducting due diligence. RX-1, at 67.
242 Flearing Tr. (Diekmann) 927.



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                               ii. Prior Holder T ransaction

        The Checklists for the Sky Walker, Swiss National, and Ireland Offshore deposits state
that the issuer, NHPL, gave a $10,000 promissory note dated May 1, 2012, to someone named
Thomas Collins. Each NHPI depositor purports to tack back its holding period to that date and
that note.243

        A copy of the May 2012 promissory note is included with the Sky Walker and Ireland
Offshore deposits. The note was due and payable no later than July 1, 2012. It provided that if
NHPI did not pay the note by the due date, Collins would have the right to convert the debt into
common shares. No address or contact information is given for the company or for Collins.
Although the note provided that Collins would have a right of conversion upon the company’s
default, it contained no provision for either party to give notice to the other in the event of a
default. The signatures for NHPI and Collins were not witnessed or notarized.244

       According to the attorney opinion in the due diligence package, the May 2012 note was
the company’s promise to pay Collins a fee for services.245 The unaudited financial statements in
the due diligence package similarly indicated that the note was for consulting services.246

        With respect to Collins’ identity and possible connection to the issuer, the due diligence
package contains a statement signed by Collins declaring that he had never been an affiliate of
the issuer. Again, the statement is not witnessed or notarized, and no contact infonnation is
provided.247

        The issuer did provide the stock transfer agent with an address for Collins when it
instructed the transfer agent to issue new unrestricted shares to him, as reflected in the
instructions to the transfer agent, which are in the due diligence package. Collins had a Texas
address.248249Also in the due diligence package is the transfer agent’s list of shareholders, which
showed that all active shareholders of NHPI had U.S. addresses."49

        Scottsdale did not run a Google search on Collins using the address contained in the due
diligence package. Nor did it search to see whether Collins had any links to the other persons on
the NHPI shareholder list. Rather, it ran a Google search linking Collins’ name to the words
“securities fraud.” Apparently, a person named Thomas Collins had been involved in a securities
fraud, but the Firm obtained an SEC litigation release indicating that that person had died prior to

243 RX-1, at 1, 78, 158.
244 RX-1, at 106, 183.
245 RX-1, at 22, 101, 178.
246 RX-1, at 40, 122, 198.
247 RX-1, at 25.
248 RX-1, at 31.
249 RX-1, at 37.



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1997. The Finn never determined the identity of the particular Thomas Collins involved in the
NHPI deposits.250

                                   iii. Acquisition Of Shares By Depositors

         Collins gave Sky Walker, Swiss National, and Ireland Offshore each a separate $50,000
note dated September 1, 2013. The notes were to be paid in full by November 7, 2013. The notes
specified that in the event of a default the entire sum would become due." Each note was
ostensibly secured by a Stock Pledge Agreement pledging 20 million shares of NHPI,252 which,
at the time, Collins did not own. These notes, like the note between Collins and NHPI, contain
no address or contact information for any party and no provision for either party to give notice to
the other in the event of a default. They are neither witnessed nor notarized.253

        The next items in the chronology are three Note Satisfaction Agreements dated
September 16, 2013. These three identical Agreements indicate that Collins had already
defaulted on the $50,000 note, although the due date was not until November 7, 2013. Each
depositor declared a desire to take title to the NFIPI shares described in the pledge agreement.254
Hie Securities Deposit Pre-Review Request Unicom submitted for Swiss National likewise gives
September 16, 2013, as the date of acquisition, referring to the Note Satisfaction Agreement, 255
as does the Deposited Securities Request Form submitted for Ireland Offshore.256

        On November 15, 2013, more than a year after the due date for the May 2012 note, the
issuer and Collins purportedly entered into a note conversion agreement whereby Collins agreed
to forgive 90% of the note in return for 90 million shares of NHPI. The Note Conversion
Agreement included in the due diligence package, like the May 2012 promissory note, contains
no address or contact information for the company or for Collins and is not witnessed or
notarized. The Note Conversion Agreement does not explain why the conversion occurred so*231467



250 RX-1, at 57-58.
231RX-1, at 32, 112,190.
232 RX-1, at 113-16, 191-94.
233 RX-1, at 32, 112, 190.
234 RX-1, at 33, 117, 195.
233 RX-1, at 13.
236 RX-1, at 161. Other documents give conflicting, later dates as the acquisition date. Some documents represent
that the three depositors acquired the securities on November 25,2013, pursuant to a Stock Purchase Agreement.
RX-1, at 11, 19, 88, 98, 169. However, the due diligence package for NHPI contains no Stock Purchase Agreement.
Another document says that the acquisition date was November 15, 2013, the same date that Collins entered into the
Note Conversion Agreement and the shares were issued to him. RX-1, at 81. The Firm did not resolve the
discrepancy between the September acquisition date and the November acquisition dates before selling the
securities.
237 RX-1, at 1, 78, 158.



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long after the default or how the remaining unpaid 10% of the May 2012 promissory note was to
be treated.258*

       NHPI issued the 90 million shares to Collins on November 15, 2013, the same day as the
note conversion agreement. 259
                   •




        Although the exact date that Collins assigned the shares to the three beneficial owners is
not clear, it was at most a few days after NHPI issued the shares to Collins. Thus, the transaction
between the issuer and Collins, the issuance of the stock, and the transactions between Collins
and the three purported beneficial owner entities all happened almost simultaneously.

        Although the transactions happened almost simultaneously, the value given to the shares
differed substantially. There is no evidence of a corporate event or other explanation for the
variance, hi return for forgiving a debt of $9,000, Collins obtained 90 million shares, but each
beneficial owner entity forgave a debt of $50,000 for its 20 million shares. No money actually
changed hands in these transactions.

                                      iv. Issuer Filings

         Although NHPI had once been a reporting company with the SEC, it stopped being a
reporting company in 2009. After that it made less frequent and less regular filings on OTC
Markets.260 On November 20, 2013, a few days after the NHPI shares were issued and around
the time that Sky Walker, Swiss National, and Ireland Offshore acquired the shares, the issuer
filed an annual report for the year ending December 31, 2012.261 hi the November 20, 2013
report, NHPI mainly discussed its pharmaceutical business and then stated in a single sentence
that it had entered into the oil and gas business. It declared that further disclosure related to the
oil and gas business was in an Interim Information and Disclosure Statement for the period
ended November 20, 2013.262

       In the annual report filed on November 20, 2013, notes to unaudited financial statements
declared that NHPI had given Collins a promissory note for unspecified consulting services.263
Scottsdale relied upon this disclosure to verify the existence of the May 1, 2012 promissory note,
which was critical to the ability of the beneficial owners to sell the securities without registration.


238 RX-1, at 26-28, 106-09, 184-86.
239 RX-1, at 29.
260 Hearing Tr. (Byrne) 2069-75; CX-255; CX-256; CX-260; CX-261; RX-1, at 130.
261 CX-256. Diekmann testified that it appeared that the company had had a gap in its reporting prior to its
November 2013 filing. Hearing Tr. (Diekmann) 939. However, he did not believe that such a gap would be
suspicious, even if it were as long as two-and-a-half years. Hearing Tr. (Diekmann) 1011-13.
262 CX-256, at 4. One page from the Interim Information and Disclosure Statement was in the due diligence package
for the NHPI deposits. But that page did not contain the disclosure relating to the oil and gas business. RX-1 at 39.
263 RX-1, at 40.



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The only evidence that the note existed, however, was created about the same time as the
transactions leading up to the sale of securities into the public markets.

        In order to determine that NHPI was not a shell, Scottsdale relied on the representation by
the president of NHPI that it was not a shell.261 It also relied on descriptions of the company’s
assets and liabilities in unaudited financial statements contained in the annual report filed in
November 2013 and in a quarterly report filed about the same time to cover the period ending
June 30, 2012. However, those descriptions were vague; they showed mostly unspecific cash
assets, not physical assets. In the annual report, for example, the company reported that it had
less than $28,000 in a checking account, accounts receivable over $600,000, unspecified
inventory over $70,000, and investment assets over $750,000. The financial statements also
show that the issuer had incurred some expenses. The financial statements do not provide,
however, any indication of the nature of the expenses or the business activities that supposedly
gave rise to them. The issuer disclosed no verifiable facts.264265

         The company’s public filings created a significant discrepancy between the disclosure in
those filings and the NHPI deposits. The interim financial report for the period ending November
20, 2013, states that 981,408,909 shares were outstanding, of which 970,326,182 were
restricted.266 That means that only around 11 million shares were free-trading shares. But the
three depositors deposited 60 million for resale to the public. There is no evidence that the Firm
investigated this discrepancy.

                               v. Attorney Opinion Letter

        Tire Firm relied upon an attorney opinion letter stating that the shares could be issued as
free trading shares and sold pursuant to Rule 144. However, that opinion made plain that the
attorney relied on certifications by the principal officers of NHPI. The attorney assumed that all
signatures were genuine and the facts set forth in the certificates were correct.26 Tire attorney
relied on the company’s filings for his conclusion that the company was actively marketing its
pharmaceutical products and exploring one or more strategic alliances and licensing
arrangements.268 Similarly, the attorney relied on company filings as showing that NHPI was
actively pursuing the acquisition of mineral rights leases.269 The attorney did not independently
verify the facts in his opinion letter.




264 RX-1, at 24.
265 RX-1, at 38-40.
266 RX-1, at 43.
267 RX-1, at 20.
268 RX-1, at 21.
269 RX-1, at 21.



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                                   vi. Scottsdale Approval And Sales

        During the first week of February 2014, Noiman and Cruz approved the first NHPI
deposit, Sky Walker, for resale by Scottsdale. At the time, the 20 million shares were given an
estimated value of $268,000. Noiman and Cruz approved the Swiss National NHPI deposit on
April 9, 2014, which was given a value of $98,000.270271 They approved the Ireland Offshore NHPI
deposit at the end of April 2014 with a given value of $82,000.2'2

       Sales of NHPI shares began on February 26, 2014, and continued through May 7, 2014.
Periodically, Scottsdale would wire out the proceeds of the sales of NHPI and other securities in
the CSCT account.273 As with all transactions conducted with CSCT and its customers, after
Scottsdale wired the proceeds of the sales to CSCT’s bank account, Scottsdale did not know
where the funds flowed after that.2742756Thus, it did not know who received the economic benefit.

                                   vii. Promotional Activity

        In December 2013, not long after the series of transactions by which the purported
beneficial owners acquired their shares of NHPI, there was promotional activity regarding NHPI,
as reflected in the due diligence file for the NHPI deposits. Diekmann testified that he would
have looked at the promotional activity but he did not recall doing so. He asserted that
promotional activity was not necessarily a red flag, but that he might try to see if there was a link
to the customer. He acknowledged, however, that it would be difficult to know if a customer was
behind the promotion if a nominee were being used.277278

       hi February and March 2014, there also was promotional activity regarding NHPI.2 6 hi a
February 19, 2014 email, Ruzicka wrote to Diekmann that Unicom was particularly eager to
trade NHPI. Diekmann did not remember the email, and did not think it particularly remarkable.
He said that no customer wants “to miss an opportunity to trade.”277 Scottsdale sold NHPI shares
deposited by CSCT during February and March 2014, when the promotional activity was
ongoing. 278
      ■




270 RX-1, at 78-79 (Sky Walker).
271 RX-1, at 1-2.
272 RX-1, at 158-59.
273 JX-268.
274 Hearing Tr. (Cruz) 661-62.
275 Hearing Tr. (Diekmann) 1014-16; RX-1, at 132-33; CX-262, at 6.
276 CX-262, at 2-5; CX-263.
277 Hearing Tr. (Diekmann) 1016-18.
278 JX-268.



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                         b.      Red Flags Signifying A Scheme To Evade The Securities Laws

        Even aside from the fact that the May 2012 promissory note was not a security, as
discussed below, the circumstances of the three NHPI deposits raised a number of red flags
signaling that the transactions were likely sham transactions using nominees to conceal the
identity of the persons actually benefiting from the sale of securities. Some, but not all, of the red
flags are listed below.

        First, Collins and NHPI entered the agreement to convert the note he held from the
company to shares—and NHPI issued the shares—almost simultaneously with his execution of
three separate agreements to transfer a portion of those shares to Sky Walker, Swiss National,
and Ireland Offshore. The almost simultaneous transactions are compelling evidence that the
parties were not truly independent. The suspect nature of the transactions is heightened by the
identical terms of the notes to Sky Walker, Swiss National, and Ireland Offshore.

         Respondents attempted to rebut any suspicion arising from the timing and identical terms
of the Sky Walker, Swiss National, and Ireland Offshore transactions. Diekmann testified that he
assumed that one person had put together the loan transactions for Collins, and that was why the
three entities had agreed with Collins to the same loan terms. He acknowledged that he did not
know who that person might be, but he did not think it was a red flag that Sky Walker, Swiss
National, and Ireland Offshore agreed to the same terms or that the same documents were used
for the three loan transactions.279 We find that Diekmann’s unverified hypothesis did not excuse
the failure to investigate this red flag.

        Second, Collins entered into the agreement with the three depositors, along with the
agreement pledging NHPI shares as security, before he actually had any shares. However, he
represented in the pledge agreement that he held title to them already. It should have been a
concern that Collins apparently misrepresented his ownership. It also is suspicious that the
depositors would loan him $50,000 each without verifying that he owned the shares. It is even
more suspicious that Collins would take on a $150,000 obligation without knowing whether he
could obtain the shares. The facts support the conclusion that Collins entered into the agreement
with the depositors because he (or whoever was pretending to be Collins) was affiliated with the
issuer and knew that the shares could be obtained. Further investigation was required before
proceeding to sell the securities.

         Third, the documents relating to the NHPI transactions in 2012 lack important elements
that would permit verification. For example, the 2012 Collins-NHPI promissory note bears no
physical address, telephone number, or other contact information for Collins or NHPI. Similarly,
the documents relating to the loan notes Collins gave the three depositors do not include any
contact information for Collins or for the depositors. The lack of contact information is odd
because there is no provision for where and how payment should be made. It is almost as though
there is no expectation of payment.

279 Hearing Tr. (Diekmann) 1699-1700.



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         Fourth, the obviously impossible September date declaring Collins in default on the notes
held by the depositors—even before the notes became due on November 7, 2013—should have
been investigated. The fact that the identical mistake was made in three separate documents
supposedly involving independent parties is suspicious. If the parties were independent, one
would have expected someone to notice the mistake. That is particularly so where the error was
not a transposition of numbers but, rather, an incorrect month. The error would have been easier
to spot.

         Diekmann testified that the September 16, 2013 date on the note satisfaction agreement
had to be a typographical error. “In all likelihood,” he said, “that’s supposed to read November
 16, 2013.”2S0 When asked about the fact that the same error appears in all three note satisfaction
agreements signed by Sky Walker, Swiss National, and Ireland Offshore, Diekmann said that
was not surprising. He noted that the agreements were all executed the same day, and
hypothesized that someone must have done a search and replace function to change the words
without noticing the mistake.2802812834Cruz similarly explained the date as a typographical error. He
testified that even though the same mistake occurred in connection with the documentation for
three purportedly separate transactions it gave him no pause.2S2

        Between hearing days, Respondents obtained a copy of the relevant stock certificate,
which was then introduced into evidence. It showed a transfer date of November 21, 2013. They
argue that this proves that the September date was a typographical error.2S3

       Respondents miss the point. Nothing in the due diligence package shows that the Finn
noticed or investigated the discrepancy before selling the securities. Furthermore, if the
September date was a typographical error generated by a search and replace function in
documents governing supposedly independent transactions, that only increases the appearance of
coordination among the parties to those transactions.

        Fifth, Diekmann admitted that there was no evidence contemporaneous with the May
2012 note to show that the note existed." The only evidence that the 2012 promissory note from
NHPI to Collins existed was created after Collins purported to convert the note to NHPI shares.
Rather than confirming the existence of the note, the timing of the late filing suggests the
fabrication of false evidence to support the tacking period necessary for the exemption.

        Sixth, it is peculiar that Collins did not enforce his right to conversion of the shares at the
time if NHPI defaulted in July 2012 on the $10,000 promissory note. There is no explanation
why he would have waited more than a year—until November 2013—to do so.

280 Hearing Tr. (Diekmann) 949, 1835-37.
281 Hearing Tr. (Diekmann) 949-52, 956.
282 Hearing Tr. (Cruz) 365-66, 390-98.
283 RX-115; Resp. PH Br. 15.
284 Hearing Tr. (Diekmann) 939.



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        Seventh, there were signs that NHPI was a shell. The change from being in the
pharmaceutical business to entering the oil and gas business, without any explanation for why,
when, and how it had done so, was not consistent with a real business plan. The Finn collected
no information regarding the change in business, and the attorney opinion letter, which relied on
representations by the interested parties and assumed the asserted facts to be true, was not a
sufficient basis for concluding that NHPI was not a shell.

        Respondents maintained that the oil and gas business was added to NHPI’s
pharmaceutical business as a “supplement” to its business line.285 We reject this characterization.
These were radically different businesses that involved different expertise and different business
models.

        Eighth, the transactions have an air of fantasy. Collins supposedly took the $10,000 note
in exchange for unspecified consulting services—no money changed hands. And then he took
shares in return for forgiving the note—no money changed hands. When Collins supposedly
borrowed $50,000 each from Sky Walker, Swiss National, and Ireland Offshore, nothing in the
documents provided how, when, or where he would receive the money. There is no evidence that
any money changed hands then either. Collins merely entered into a promissory note with each
purported lender in which he pledged to give them stock if he defaulted; and then he defaulted.
No money changed hands when Sky Walker, Swiss National, and Ireland Offshore took the
pledged shares.286

        Ninth, there is little evidence to support the value given to the NHPI securities. Within
the span of a few months the value of NHPI shares varied substantially without any explanation.
In November 2013, Collins received 90 million shares in return for forgiving $9,000 of his loan
to NHPI. Simultaneously, he realized $150,000 for 60 million of those shares. By early February
2014, the 20 million shares in the Sky Walker deposit were estimated to have a value of
$268,000. There is no evidence of a basis for the increase in value. Then, in April 2014 the value
of the shares held by Swiss National and Ireland Offshore declined to less than $100,000—again,
without explanation. This is particularly suspicious in light of the promotional activity that
occurred in February and March 2014.




285 Resp. PH Br. 16 and n.80.
286 Diekmann testified that the only evidence the Firm had that the September 1, 2013 notes between Collins and the
three depositors existed was the notes themselves. He never asked for documentation showing that $50,000 actually
was transferred from Sky Walker to Collins. He was satisfied that the document looked like a loan to an individual
and not an effort by a small company to raise capital. Hearing Tr. (Diekmann) 943-45.



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                   2.         VPLM (Montage deposit derived from Kipping oral line of credit)

                              a.    Due Diligence Package

                                    i.   Purported Beneficial Owner

        There was evidence in the record about two VPLM deposits by CSCT. The one included
in the allegations of the Complaint was through Montage for the further benefit of VHB
International. The Checklist identifies Victor Bretel as the president of VHB International. The
deposit was for 9.3 million shares.287289

                                    ii. Prior Holder Transaction

       In the Montage deposit, the prior holder in the VPLM chain was an entity called
Locksmith Financial. The Checklist noted that Locksmith Financial was affiliated with Richard
Kipping, who was the former president of VPLM. The Checklist stated, however, that Kipping
was no longer an affiliate of the issuer because he had resigned more than two years earlier."

        In concluding that Kipping was not an affiliate, the Checklist relied on an attorney
opinion dated September 6, 2013, stating that Kipping had resigned more than two years
before.2S9 As discussed below, that attorney opinion was insufficient to support the conclusion
that Kipping was no longer an affiliate of VPLM. Cmz testified at the hearing that the Finn also
relied on a December 16, 2013 letter signed by VPLM’s Chairman, Thomas Sawyer, which
made a representation that Locksmith was not an affiliate of the issuer.290 The Sawyer letter
declared that the parties to the sale of securities from Locksmith to VHB International (discussed
below) were not affiliates of the issuer.291

        The Checklist for the VPLM deposit indicated that the depositor had satisfied the Rule
144 holding period by tacking back to a “verbal [oral] line of credit” whereby the prior holder,
Locksmith, had loaned the issuer, VPLM, $58,636.24. The Checklist stated that the last advance
on the line of credit was made July 6, 2012.292

        An August 15, 2013 written agreement purported to document and formalize the oral line
of credit. According to the 2013 document. Locksmith agreed in 2012 to advance funds as loans




287 RX-2, at 1.
288 RX-2, at 1, 268.
289 RX-2, at 1, 19-21.
290 Hearing Tr. (Cruz) 441.
291 RX-2, at 23-24.




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against a revolving line of credit and had received the right to demand payment in full or in part
at any time. 293
          •




        On the same day, August 15, 2013, a debt settlement agreement was executed between
the issuer and Locksmith. In that document, the issuer indicated that it wanted to settle the
amount it owed Locksmith by giving stock to Locksmith. The parties agreed to settle the
company’s $58,636.24 debt as of July 31, 2012.293294

       Although VPLM did not issue the shares to Locksmith until September 20 13,295 the
Beneficial Ownership Declaration later signed by Bretel treated the date on which Locksmith
acquired the shares as August 1, 20 12.2962978The depositor thus relied on tacking his holding period
to Locksmith’s oral line of credit.

                                  iii. Acquisition Of Shares By Depositor

        On August 23, 2013, Locksmith entered into a stock purchase agreement with VHB
International. It was roughly a week after Locksmith had memorialized the purported oral line of
credit and before the shares were actually issued. The aggregate purchase price for the stock was
$240,000.' 9' There is no evidence explaining why Locksmith was able to sell the shares for more
than four times the value placed on the shares when Locksmith and the issuer entered into the
debt settlement agreement only days before.29S Die buyer, VHB International, purported to
acquire the shares for investment and not with a view to resale or distribution.299

        Although Victor Bretel was identified as the beneficial owner of VHB International,
Andrew Godfrey signed the Stock Purchase Agreement.300 The Finn made an inquiry, and
Montage responded that Godfrey “handles day to day operations due to Mr. Victor Bretel’s
travel schedule.” Montage represented that Bretel remained the beneficial owner of VHB
International.301 Diekmann testified that the response was, as far as he was concerned,
sufficient.302




293 RX-2, at 26-27.
294 RX-2, at 28.
295 RX-2, at 12.
296 RX-2, at 13.
297 RX-2, at 33.
298 RX-2, at 32.
299 RX-2, at 35.
300 RX-2, at 37.
301 RX-2, at 38.
302 Hearing Tr. (Diekmann) 1744-45.



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                                   iv. Issuer Filings

        The Finn relied on public filings for proof of the existence of the oral line of credit. The
Firm characterized the oral line of credit as “generally disclosed” in the issuer’s annual report for
September 30, 2012.303 The annual report for the period ending September 30, 2013, which was
only published on November 6, 2013— after the oral line of credit had been memorialized in
writing—attached a grid showing that the issuer had settled many of its debts and payments for
professional services by issuing VPLM stock. According to the grid, on August 15, 2013, VPLM
issued a little over 29.3 million shares to Locksmith Financial as a debt settlement.304305

        The grid actually raised more red flags. It showed that the company regularly followed a
practice of compensating affiliates and others with stock. During the period from October 12,
2011, through August 15, 2013, VPLM issued shares to Locksmith three times and shares to
Locksmith’s owner, the former president of VPLM, Richard Kipping twice. Tlius, during the
two-year period, Kipping received, either directly or through Locksmith, roughly 80 million
shares of VPLM. In fact, according to the grid, during the same period the company issued more
than 185 million shares to various persons and entities, including Dennis Chang, the issuer’s
president, Thomas Sawyer, its Chairman and CEO, and Carl Mattera, an authorized signatory for
the issuer.

        Curiously, in May 2013 VHB International received directly from the issuer
approximately 2.4 million shares of VPLM. This was only a few months before it received the 29
million shares from Locksmith Financial.306 That VHB had already received shares directly from
the issuer raised a red flag that it might be an affiliate or might be coordinating its acquisition
and resales of shares with others who were affiliates. There is no evidence that Scottsdale took
note of that red flag.

                                   v. Scottsdale Approval And Sales

        On February 10, 2014, Noiman and Cruz approved the VPLM shares deposited by VHB
International for sale to the public.307 Sales began on February 20, 2014, and continued through
June 5, 2014. Periodically, Scottsdale wired out the proceeds from those and other sales for the
account of CSCT.308




303 RX-2, at 1.
304 RX-2, at 40.
305 RX-2, at 40 (excluding an additional 265 million shares issued to consummate an acquisition of another
company).
306 RX-2, at 40.
307 RX-2, at 2.
308 JX-281.



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                           b.     Red Flags Signifying A Scheme To Evade The Securities Laws

       A number of red flags were raised by this VPLM deposit. Here we discuss two that
required the Finn to conduct further inquiry to establish that an exemption existed.

        First, the Firm knew that Kipping had been an affiliate of the issuer at some point. This
red flag required heightened scrutiny of the transaction. The Finn failed, however, to gather
sufficient evidence to conclude that Kipping was no longer an affiliate.

        There is no copy of a resignation letter in the due diligence package. Scottsdale did not
even have a specific resignation date. It had a vague statement in a legal opinion that Kipping
had resigned from the issuer over two years before. The attorney declared that she had reviewed
documents filed with the SEC and had determined that Locksmith was not an affiliate or control
person of the issuer, but she did not specify the documents she reviewed or explain how she
arrived at her conclusion. She did not say she had seen the resignation letter. The attorney further
stated that Locksmith and Kipping had represented to her that they were not controlled by any of
the officers or directors of the issuer. In making that statement, the attorney was little more than
a conduit for representations by the interested parties.309 Diekmann was unaware of anything that
anyone at Scottsdale did to confirm that Kipping no longer had any duties as president of the
issuer.310

        Cruz vaguely testified that he thought the Firm had some sort of resignation or
acknowledgement of Kipping’s resignation in the file.311 Cruz may have been referring to the
December 16, 2013 letter from VPLM’s Chairman, which represented that none of the parties to
the sale of the securities to VHB International had been an affiliate of the company within 90
days of the sale /12 That bare representation provides no detail whatever. It does not indicate
when Kipping might have resigned as an officer of VPLM or provide any other verifiable fact.
For purposes of ensuring that an issuer is not behind a chain of transactions designed to effect a
public distribution without registration, a representation by a principal of the issuer must be
viewed more skeptically.

        Even more important, from the outset, Scottsdale had affirmative evidence in its due
diligence package indicating that Kipping might be affiliated with the issuer regardless of
whether he had resigned as president. Under Rule 144, if Locksmith and Kipping held 10% or
more of the issuer, they would be affiliates for purposes of the exemption. The grid showed that
Kipping, either directly or through Locksmith, had received 80,318,000 shares of VPLM
between October 2011 and August 2013.313 Tire total outstanding shares of the company at the

309 RX-2, at 19-21.
310 Hearing Tr. (Diekmann) 1719-20.
311 Hearing Tr. (Cruz) 440-41.
312 RX-2, at 23-24.
313 RX-2, at 40.



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time that Scottsdale evaluated the deposit were 730,460,237.314 Thus, Kipping and Locksmith
received at least a 10.996% ownership interest in VPLM and Kipping could have been an
affiliate regardless of whether he was still an officer of the company.

         There were other signs that Kipping could have been an affiliate. In the due diligence file
is the first page of results from a Google search for “Richard Kipping + securities fraud. ” One of
the results dated May 15, 2013, contains a fragment of content apparently referring to VPLM.
That fragment says, “So Richard Kipping still has personal interest in this penny scam.”315
Another entry dated May 7, 2013, also refers to VPLM and says, “The next few days will show
if the stock can keep its unprecedented ... in fraud look at the shareholders Richard kipping
pretty much owns the .. .”316 The Google search page was filed in the package, apparently
without anyone looking at the full stories concerning Kipping or following up on his ownership
of VPLM shares.

        If Scottsdale had conducted further due diligence, it might have discovered that Kipping
was indeed an affiliate of VPLM. During the relevant period, the Board of Directors of VPLM
ordered a review of Kipping mid Locksmith’s debt conversions to VPLM stock. The resulting
“forensic audit” dated June 5, 2014, described Kipping as a director and shareholder of VPLM. It
indicated that, at the time of the August 15, 2013 stock conversion that was the basis for tacking
VHB International’s holding period, Kipping had executive responsibilities at both VPLM and
Locksmith, including check signing privileges at VPLM.

        The accountant who performed the forensic audit opined that many aspects of the August
15, 2013 agreement purporting to memorialize the earlier oral line of credit were problematic.
Many of the items that appeared to him to indicate that the arrangement was not a tme arms-
length transaction were facts known to Scottsdale at the time it approved the sale of VHB
International’s shares based on tacking to the oral line of credit. Among other things, the
accountant noted that the written memorialization was a year after the purported oral line of
credit. He also noted that the stock for debt agreement did not specify any particular terms for the
conversion, and he viewed Locksmith’s right to demand payment in full or part at any time as
onerous.317

       The forensic audit illustrates that an objective analysis of the facts known to Scottsdale
would raise strong doubt that Kipping was independent of VPLM at the time of the August 15,
2013 agreement and stock conversion.

        Second, the grid attached to the November 2013 public filing shows that the issuer had a
pattern of paying for sendees and its business expenses with stock. It issued much of this stock to


314 RX-2, at 1.
315 RX-2, at 95.
316 RX-2, at 95.
317 RX-292, at 6-7.



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company insiders.318 The pattern suggests that the issuer may have substituted the issuance of
stock for compensation to insiders and business partners, leaving them to realize any monetary
benefit by selling the stock to others. The constant flow of new issuer stock looks like a two-step
process for unlawfully distributing securities into the public marketplace without registration.

         This pattern is particularly troubling because all three parties in the chain of holders for
the deposit—Kipping, Locksmith, and VHB International—were on the list of persons and
entities that had converted debt to shares.319 This was a red flag that they and the issuer could be
coordinating. The Firm should have further investigated before concluding that the transaction
was exempt under Rule 144.

                    3.   VPLM (Titan deposit derived from Kipping and Locksmith through
                         the Lees)

                         a.    Due Diligence Package

                               i.   Purported Beneficial Owner

        CSCT deposited another 13 million shares of VPLM for the benefit of Titan and for the
further benefit of Cumbre Company. Hie Checklist identified Patrick Gentle as the ultimate
beneficial owner of Cumbre and the VPLM stock.320

        We discuss the evidence regarding this transaction as evidence of other similar conduct
for purposes of sanctions and as additional evidence that CSCT was no more than a faijade.
Scottsdale continued to deal directly with the FFI and to ignore CSCT.

                               ii. Prior Holder Transactions

        This is the one transaction that was not derived from the conversion of a debt liability
into shares. However, it also traces back to Kipping and Locksmith in a chain of holders.

         The Checklist identified two prior holders, Jung Ju Lee and Soon Deuk (Kang) Lee.321
Jung Ju Lee acquired 1.5 million shares by a Stock Purchase Agreement dated June 12, 2012,
from Richard Kipping. In that Stock Purchase Agreement, Kipping represented that he was not
an affiliate of the issuer and had not been an affiliate at least for the previous 90 days. An
attachment to the Stock Purchase Agreement indicated that Lee paid Kipping SI3,000 for the
shares. A copy of a check written to Locksmith for $13,000 was attached. It appears to be written
by Brooks K-9 Services Ltd., but it bears a notation saying “re VPLM certs.” 322 Nothing in the

318 RX-2, at 40.
319 RX-2, at 40.
320 RX-2, at 106.
321 RX-2, at 106.
322 RX-2, at 126-29.



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due diligence package explains the connection between Brooks K-9 Services and Lee or the
nature of Brooks K-9 Services.

       Jung Ju Lee acquired another 500,000 shares for $5,000 from Locksmith Financial
pursuant to a Stock Purchase Agreement dated October 19, 2012. Locksmith made the same
representation that it was not an affiliate of the issuer. Kipping signed on behalf of Locksmith.
Another check from Brooks K-9 Services Ltd. was attached.323324

        Soon Deuk (Kang) Lee acquired three million shares of VPLM from Locksmith by a
Stock Purchase Agreement dated August 1, 2012, for $20,000. Locksmith represented that it was
not an affiliate of the issuer. Kipping signed on behalf of Locksmith.321

                              iii. Acquisition Of Shares By Depositor

        Cumbre acquired five million shares of VPLM from Soon Deuk (Kang) Lee on January
10, 20 14.325 In a separate document written to Cumbre, Lee confirmed receipt of $60,000 for the
shares.326 On January 13, 2014, in a separate document, Jung Ju Lee similarly confirmed receipt
of $20,000 for 500,000 shares of VPLM.327

                              iv. Scottsdale Approval

        On May 29, 2014, Noiman and Cruz signed the Checklist approving the shares of VPLM
for sale.328

                              v. Blackout Period On Trading VPLM Shares

        On June 5, 2014, Thomas Sawyer, the Chairman of the Board of Directors of VPLM, sent
Titan by email a signed declaration notifying it of a blackout period starting June 6, 2014, on
trading VPLM stock by certain “covered persons.” Covered persons were defined to include
directors, officers, and holders of 10% or more of the company’s outstanding shares, among
others. Richard Kipping (and his assigns) and Locksmith were on the list of covered persons. So
was VHB International. The list also included FFIs and broker-dealers. Montage, Titan, Alpine,
and Scottsdale were all on the list.32930Noiman discussed the blackout notice with Titan and
requested a copy.

323 RX-2, at 136-39.
324 RX-2, at 147-49.
325 RX-2, at 160.
326 RX-2, at 155.
327 RX-2, at 145.
328 RX-2, at 107.
329 CX-294.
330 RX-104.



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        On June 6, 2014, a lawyer named David Wise, who had often done work for Scottsdale,
wrote an email to Sawyer claiming to represent unnamed clients on the covered-person list and
threatening to sue Sawyer and others for “slowing] down or preventing] the transfer of shares
by my clients.” Wise called the blackout notice an attempt to prevent sales of VPLM stock in
order to conduct a promotional campaign to raise the share price. He characterized Sawyer’s
actions as “clearly illegal” and said he would be calling the SEC.331

        On June 6, 2014, Wise sent a copy of his email to Sawyer to Kelvin Leach at Titan and to
both Noiman and Diekmann at Scottsdale. His cover note to them was breezy: “Hi Guys, See
below. David.” The tenor of the cover note indicates that Scottsdale and Titan were working
closely together to address the problem of the blackout notice.

        On June 9, 2014, Titan forwarded the blackout notice to Noiman, and Noiman
immediately forwarded it to Cruz.332 That same day, Noiman also forwarded the Wise email to
Cruz.333 The Firm stopped selling VPLM shares held by VHB International in order to
investigate.334

         On June 11, 2014, Titan received what appears to be an unsigned clarifying
memorandum from Sawyer stating that the broker-dealers and FFIs such as Scottsdale and Titan
were only on the list because they had been known to trade VPLM stock for covered persons.
The memorandum declared that the broker-dealers and FFIs were still free to trade on behalf of
non-covered persons. Titan forwarded the clarification that same day to Noiman and
Diekmann,335 and Noiman forwarded it to Cruz.33637The clarifying memorandum did not take
Kipping (and his assigns), Locksmith, or VHB International off the list of covered persons. Nor
did it explain why they were listed as covered persons. When Noiman forwarded the clarification
to Cmz on June 11, 2014, he wrote that “Titan received the attached after David Wise’s VPLM
notice. „337
   ■ ■




        On June 24, 2014, a lawyer claiming to represent VPLM wrote to Noiman as Scottsdale’s
“Compliance Officer.” Scottsdale had requested the transfer of two stock certificates, and the
lawyer stated that the stock certificates appeared to be owned by covered persons. Kipping (and
his assigns), Locksmith, and VHB International were on the attached list of covered persons.
One of the two stock certificates identified, 2985, related to the VPLM deposit by Titan on

331 Hearing Tr. (Cruz) 578-79. Wise provided an attorney opinion letter on which the Firm relied in connection with
the ORFG stock deposit. RX-3, at 70. Wise also went to the Cayman Islands to assist Ruzicka for a couple of weeks
after D’Mura left. Hearing Tr. (Hurry) 1603-04.
332 CX-294.
333 Hearing Tr. (Noiman) 1265-67; RX-104.
334 Hearing Tr. (Cruz) 442-43; IX-281.
335 CX-295.
336 CX-296.
337 CX-296.



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behalf of Cumbre.338 Tlie other, 2228, may relate to a VPLM deposit not part of the record in this
case. 'Hie certificate number for the deposit by VHB International is 2 525.339*

       Notably, although the Titan deposit on behalf of the Lees nominally came through CSCT,
Ruzicka was not included on any of the correspondence about the blackout period. 310 The
correspondence reveals that Scottsdale, through Noiman, was continuing to manage FFI deposits
without regard to CSCT. CSCT was performing no real function in connection with the VPLM
deposit.341

                           b.       Red Flags Signifying A Scheme To Evade The Securities Laws

        Given what Scottsdale already had in its file on VPLM, it should not have approved the
VPLM shares deposited by Cumbre for resale without obtaining better evidence that Kipping
was not an affiliate of the issuer. The Lee transactions closely followed the VHB International
transaction and revealed a pattern—Kipping was continually acquiring and selling large blocks
of VPLM shares. When coupled with the information from the grid showing that VPLM
followed a practice of issuing stock to insiders in settlement of its debts, the circumstances raised
a strong suspicion that the issuer or an affiliate was unlawfully distributing securities without
registration in a two-step process designed to obscure what was actually happening and who was
benefiting from the sales of stock.

                  4.      ORFG (Unicom deposit derived from Forward line of credit)

                          a.       Due Diligence Package

                                   i.   Purported Beneficial Owner

        In connection with the deposit of approximately 13.2 million shares of ORFG, CSCT
acted for Unicom, and Unicom acted for an entity called Media Central, which named Geovanni
Moh as the beneficial owner.342 Media Central was identified as a Belize corporation, and Moh



338 RX-2, at 106-09.
339 RX-2, at 3.
31,0 When Ruzicka was shown the blackout notice at his OTR, he expressed shock. He testified that he had never seen
it, and that if he had he would not have processed the VPLM deposit for resale. He would have expected Scottsdale
to treat it as a problem or red flag. CX-178 at 257-60.
341 In the middle of explaining what he did in connection with investigating the VPLM blackout, Cruz made a half­
hearted assertion that CSCT was involved, saying, “I asked or I briefed with CSCT to—to get an explanation if
they—if they could.” Hearing Tr. (Cruz) 442-43. We do not find that testimony credible. There is no corroborating
evidence of any kind, and his testimony about CSCT, in contrast to his detailed testimony about Wise, was vague.
Cruz did not say he had a conversation with Ruzicka—who was the only person at CSCT. Rather Cruz referred to
CSCT in the abstract. Nor did Cruz say anything about the content of what he “asked” or “briefed” when he
supposedly had contact with CSCT.
342 RX-3, at 1.



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was identified as a citizen of Belize.343 Media Central was originally incorporated on February
14, 2014, under the name Lock Investments Ltd. Only two weeks later, on February 27, 2014,
the name was changed to Media Central.344 Nothing in the due diligence package explains the
reason for the name change or whether there was any change in the identity of the principals of
the company.

                              ii. Prior Holder Transaction

         Media Central claimed that it had satisfied the holding period for a non-affiliate by
tacking to a prior holder’s note as of September 1, 2012.345 The prior holder was a person named
Casey Forward. He purportedly took the issuer’s note in return for an open-ended line of credit
up to the maximum amount of $600,000. The note provided that the issuer would pay on “loans,
advances and debt as of August 31, 2011 ... with interest on the principal balance outstanding
from time to time” up to a principal amount of $600,000.346 The note provided Forward with a
right to convert any portion of the unpaid principal amount of note to restricted common stock.
This right was open-ended and did not specify a particular amount that could be converted or a
particular date when the conversion could take place.34 Furthermore, the note provided that the
holder could transfer in whole or in part any portion of the note without the prior consent of the
company. Any such transfer was at the discretion of the holder.348

        Forward subsequently assigned a $50,000 portion of the note to an entity called Anything
Media in exchange for shares of Anything Media. As described on the first page of the Deposited
Securities List, that transaction was reflected in an Assignment and Modification Agreement
dated January 18, 2014, by which ORFG agreed to modify the terms of the original note.349

                              iii. Acquisition Of Shares By Depositor

        On April 16, 2014, Anything Media sold 15 million shares of ORFG to Media Central for
$75,000 pursuant to a stock purchase agreement. However, at that time, Anything Media did not
own the shares. It acquired shares of ORFG only a few days afterward, on April 22, 2014, when
it converted a $9,000 portion of the note into 15 million shares of ORFG.350 There is nothing in
the due diligence package to explain why Anything Media sold ORFG shares before it actually
owned them. Nor is there anything to explain why the shares could be sold for $75,000 when

343
      RX-3,   at   9, 13.
344
      RX-3,   at   15-16.
345
      RX-3,   at   36-41.
346
      RX-3,   at   36.
347
      RX-3,   at   38.
348
      RX-3,   at   40.
349
      RX-3,   at   1,42-45.
350
      RX-3,   at 1 .




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they only had a value of $9,000 when they were converted a few days later. Cruz testified that he
did not consider these matters red flags that required further inquiry and that the Finn did not
conduct further inquiry based on these matters.351352

                                 iv. Scottsdale Approval And Sales

        On June 5, 2014, Noiman and Cruz signed the Checklist for ORFG approving the sale of
securities. Sales began June 11, 2014, and continued through the end of the relevant period on
June 30, 2014. Periodically, Scottsdale would wire out the proceeds along with the proceeds
from the sales of other securities out of CSCT’s account.353

                                 v. Promotional Activity

       From early May through early July, ORFG was the subject of multiple promotions.354
Cruz testified that the promotions were consistent with the reviewer’s findings on the Checklist.
He said he probably would have looked at a couple of pages of printouts showing the existence
of promotions. The Finn typically would look to see whether the customer had any involvement
and whether the promotions were having any effect on the trading done in the security.355

                           b.    Red Flag Signifying A Scheme To Evade The Securities Laws

         We discuss here only one of the red flags in the ORFG deposit. The initial transaction
underlying the deposit made no business sense. With respect to the original line of credit, no
reasonable company would agree to borrow money on a line of credit that permitted the lender to
convert the debt to stock at any time in any amount at the holder’s discretion. Certainly a
company would not agree that the open-ended conversion option could be assigned to an
unknown third party without the issuer’s prior consent. Under such an agreement the company
would not know whether it was going to be required to pay back some or all of the money it
borrowed on the line of credit or whether it would be required to issue shares. Nor could it know
to whom the conversion option might be assigned. It could not manage its finances or be certain
of its shareholder dynamics and corporate control.

        As the forensic audit of the Kipping-Locksmith loan found with respect to the open-
ended line of credit in that transaction, the onerous terms from the issuer’s perspective were a
sign that the loan was not an arms-length transaction. Unless the Finn investigated and
discovered some sensible explanation, it could not lawfully sell the securities.



351 Hearing Tr. (Cruz) 533-34.
352 RX-3, at 2.
353 JX-310.
354 CX-303, at 17-25.
335 Hearing Tr. (Cruz) 537-38.



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         E.        Credibility

                   1.       Ruzicka

        As noted above, Ruzicka was never registered with FINRA and was never subject to its
jurisdiction. He voluntarily testified at an OTR, and considered testifying voluntarily at the
hearing. Throughout the first week of the hearing, Enforcement reported at the end of each day
on the likelihood of Ruzicka appearing. 356 On Friday of the first week, Enforcement announced
that Ruzicka had agreed to appear the following Monday.357

       However, Ruzicka changed his mind over the weekend and never appeared, tie
apparently changed his mind because of a text that Respondents’ counsel sent to him on the
Saturday after the first week of hearing. That text, although portrayed by counsel afterward as
nothing more than a request to talk, appears to us to have been an attempt to sow distrust
between Ruzicka and Enforcement counsel. It made Ruzicka angry at the way he thought he was
being portrayed by Enforcement at the hearing and unwilling to be “put through hell” by
appearing.358

        Respondents’ counsel telephoned Ruzicka on Saturday but only received an automated
instruction to leave a message or text. Respondents’ counsel then left him a text saying the
following, which included quotations from Enforcement’s opening statement:

         You may want to know how FINRA has been characterizing you during the first
         week of the hearing. For example, you were “hapless,” “malleable,” and “bereft
         of other options.” You may want to know the other side of what FINRA is telling
         you. I would welcome the opportunity to discuss.359

        After receiving the text from Respondent’s counsel, Ruzicka texted Enforcement counsel
saying, in part, “If even veracity, I am done.”360 We interpret Ruzicka’s response to mean he was
offended at the portrayal of him as desperate and easily manipulated, and to mean that he would
not appear at the hearing if that was an accurate picture of Enforcement’s comments about him.

        Enforcement reported at the hearing that it had neither confirmed nor denied to Ruzicka
what Respondents’ counsel told him in the text. Enforcement took the position that it could not
reveal what was said in the proceeding because it was confidential.361


356 Initially, the discussions of Ruzicka’s likely participation were off the record. Later, they were on the record.
Hearing Tr. (remarks of counsel) 748, 840-41, 1032, 1275, 1277.
357 Hearing Tr. (remarks of counsel) 1275, 1277.
358 Hearing Tr. (counsel reading text into record) 1288.
339 Hearing Tr. (counsel reading text into record) 1288.
350 Hearing Tr. (counsel reading text into record) 1287.
361 Hearing Tr. (remarks of counsel) 1299.



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        Enforcement argued that Respondents’ counsel had violated at least the spirit of the
sequestration order in the case; Respondents’ counsel asserted that the sequestration order was
about witness testimony and that counsel’s quotations from Enforcement’s opening statement did
not violate the order. The Hearing Officer declined to rule on the charge of misconduct.

        Based on legal analysis separate from the alleged misconduct of Respondents’ counsel, as
laid out at the hearing on the record, the Elearing Officer admitted the entire transcript of
Ruzicka’s OTR. The Hearing Officer declared that the Hearing Panel would determine the
probative value and weight to give the OTR after it had reviewed the OTR in the context of the
evidence at the hearing, taking into account the circumstances that led to the admission of the
OTR in lieu of live testimony from Ruzicka.362363

        The Hearing Panel now specifically finds that Ruzicka’s testimony at his OTR was
credible. It was consistent with other evidence in the record and corroborated by D’Mura’s
testimony. Wherever Ruzicka’s testimony is cited here, it is cited because we credit it.

         We reject Respondents’ arguments for discounting Ruzicka’s testimony.

       First, Respondents assert that it is unfair to rely upon Ruzicka’s testimony because they
did not have an opportunity to cross-examine him.364 The short answer to that argument is that
Respondents’ counsel was responsible for that lack of opportunity to cross-examine the witness.
Respondents cannot complain about it now.

        Second, Respondents argue that Ruzicka was angry and biased against Hurry, so his OTR
should not be viewed as reliable. 365 After review of the transcript, we conclude that, although
Ruzicka evidently did not like the way Hurry treated him, Ruzicka was truthful as to the facts
and as to Hurry’s intimidating and controlling manner.

        Third, Respondents claim that Ruzicka gave inconsistent information in a prior telephone
call with FINRA staff.366 However, the inconsistency was explained by the fact that Ruzicka still
felt “beholden” to Hurry at the time of the telephone call. By the time of the OTR he did not feel
that way.367




362 Hearing Tr. (remarks of Hearing Officer) 1302.
363 Hearing Tr. (remarks of Hearing Officer) 1302-05. There had always been uncertainty about whether Ruzicka
would give testimony at the hearing. In light of that uncertainty, the parties had earlier briefed the issue of whether
the OTR should be admitted. The Hearing Officer’s ruling was informed by that earlier briefing.
364 Resp. PH Br. 44 and n.253.
365 Resp. PH Br. 44 and n253.
366 Hearing Tr. (remarks of counsel) 1296.
367 Hearing Tr. (remarks of counsel) 1298.



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        Fourth, Respondents claim that Ruzicka gave an affidavit inconsistent with his OTR.
They assert that Ruzicka swore that Montage, Titan, and Unicom came to CSCT through a
referral from Scottsdale. However, Ruzicka signed that affidavit at Hurry’s request while still
working for Hurry. By the time of his OTR, Ruzicka no longer worked for Hurry. For that
reason, we credit his OTR testimony that he was told that Titan and Unicorn came to CSCT
through Hurry. Moreover, the affidavit saying that the three FFIs were referred by Scottsdale is
not inconsistent with Ruzicka’s understanding that ultimately Hurry was behind the referral.
Even if Hurry persuaded the FFIs to do business with Scottsdale through CSCT, it would be
consistent with his desire for secrecy for him to arrange for someone at Scottsdale to make the
necessary introductions.

        Finally, we observe that although Ruzicka’s OTR testimony is valuable, his absence from
the hearing deprived the Extended Hearing Panel of what would have been helpful live testimony
and the opportunity for the Panel to ask him questions. Ruzicka’s absence also encouraged Hurry
to dispute the OTR testimony without fear of being contradicted, as discussed below. The
distmst sown by Respondents’ counsel impeded our adjudicatory process.

                 2.       Hurry

        As indicated above in connection with specific testimony, we repeatedly found that Hurry
was not credible. Many of Hurry’s self-serving explanations were not convincing on their face.
His testimony was often inconsistent with other reliable evidence. Much of what he said also
conflicted with Ruzicka’s OTR testimony, which we find more credible than Hurry’s
uncorroborated assertions.

        Hurry’s ostensible purpose for setting up CSCT—to relieve Alpine of IRS withholding
obligations—was not supported by any evidence that it made business sense. Rather, we
conclude from Cruz’s and Diekmann’s testimony regarding heightened regulatory scrutiny in the
period leading up to the establishment of CSCT, and the filing of the four prior SEC complaints
against Scottsdale customers and employees, that Hurry sought to insulate his business from
regulatory oversight by moving Scottsdale’s FFI business offshore. This conclusion is reinforced
by the fact that Scottsdale personnel continued to manage the FFI business with entities such as
Unicom and Titan (through Miller and Noiman). They needed to do that because Ruzicka was
not qualified to run a broker-dealer, particularly one in the highly specialized business of
liquidating microcap stock pursuant to Rule 144. Moreover, CSCT got its business through
Hurry and Scottsdale. CSCT did not, and indeed could not, operate as an independent entity.
CSCT served no function that Scottsdale could not have performed without it.




368 Hearing Tr. (Hurry) 1565-69, 1638-39; RX-110.



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         Hurry disputed that Ruzicka was not qualified to run CSCT and emphasized how
accomplished Ruzicka was. His testimony in this regard was not credible. It is plain from
Ruzicka’s inquiry about working in Hurry’s bike shop that Ruzicka had no relevant experience
and was desperate.3 0 D’Mura described trying to educate Ruzicka about the securities industry
and the elements for free-trading securities. D’Mura said it was ‘'rough going” and that Ruzicka
“wasn’t picking it up.”369370371 D’Mura said that Ruzicka was anxious, stressed, and not capable of
handling due diligence on microcap deposits by himself.372 Even more important for our
purposes here, D’Mura testified that he had conversations with Hurry about Ruzicka’s
difficulties and how Ruzicka was not “getting it.”373374Thus, contrary to his hearing testimony,
Hurry knew that Ruzicka was not capable of running CSCT.

        Hurry’s assertion that he had little to do with CSCT was disproved. D’Mura testified that
Hurry frequently bombarded him and Ruzicka with telephone calls about CSCT business and
that he and Ruzicka tried to prepare for those calls with updated information about deposits.
D’Mura portrayed Hurry as an intense and constant presence in their lives while they worked at
CSCT, and emails corroborate that testimony. Emails show that Hurry oversaw every detail of
CSCT’s business, and Hurry admitted that he traveled to the Cayman Islands at least once a
month. He so closely oversaw the CSCT operation that he claimed to know that Ruzicka was in
the office only ten minutes out of every hour.

        To the extent that Cruz, Diekmann, D’Mura, and Ruzicka all testified that Ruzicka, not
Hurry, ran the daily operations of CSCT, as Respondents assert in their post-hearing brief,3'4 we
do not view that testimony as contradicting the evidence that Hurry was deeply involved in


369 Hearing Tr. (Hurry) 1574-77. When asked why he did not hire someone who had broker-dealer experience and
who knew about FFIs to run CSCT, Hurry said that he hired Ruzicka to play an “executive role,” someone who was
“an all-around person, somebody who had some entrepreneurial skills, some management skills, proven to be able to
do that.” Hearing Tr. (Hurry) 1648.
370 Hearing Tr. (Hurry) 1631, 1635-36.
371 Hearing Tr. (D’Mura) 2273-77.
373 Hearing Tr. (D’Mura) 2277-78.
373 Hearing Tr. (D’Mura) 2274-77. D’Mura may not have been emphatic about Ruzicka’s difficulties—he testified
that it was against his self-interest to cause Hurry to fire Ruzicka—but D’Mura did raise concerns with Hurry.
Hearing Tr. (D’Mura) 2314-15.
Email correspondence corroborates D ’Mura’s judgment that Ruzicka did not understand the business. For example,
in May 2014, Ruzicka sought Diekmann’s approval to consider a deposit of 11 million shares with an ostensible
value of two million dollars. Diekmann wrote back that the issuer’s shares traded in so little volume—roughly 3,500
per day—that it would take a “bazillion” years to sell the entire deposit. Diekmann said it was inappropriate to set
the value that high and the transaction was the kind that should be avoided. CX-241.
This email correspondence also illustrates that CSCT served no real function independent of Scottsdale. Ruzicka
sought Diekmann’s guidance before even considering the deposit. Ruzicka was not independently vetting deposits
before presenting them to Scottsdale. CX-241, at 2.
374 Resp. PH Br. 45.



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CSCT’s business. Ruzicka was responsible for the day-to-day processing of paper, but Hurry
was responsible for bringing in business, cultivating the clients, and making all important
decisions. Ruzicka, an out-of-work real estate attorney, did not have the background to do more
than process the paper as directed. For Hurry to maintain that he left Ruzicka on his own to
prospect for customers and manage client relationships defies belief.

        Based on D’Mura’s testimony and various emails, Hurry’s contention that he was not
concerned with secrecy was false. D’Mura testified that Hurry emphasized to him the privacy
laws of the Cayman Islands, and D’Mura thought Hurry was very concerned about secrecy.
Hurry’s concern with secrecy was manifested in multiple ways, from his admitted use of
FaceTime to confer with Montage, Titan, Unicom, and other customers, to his obsession with
labeling every email to and from Ruzicka as privileged, to his use of an email address that did
not reveal its connection to him, to his refusal to use emails to discuss business and insistence on
using telephone calls to do that.

        Ruzicka’s testimony only confirms D’Mura’s. Ruzicka testified that Hurry told him that
he was moving the FFI business to the Caymans precisely because he would not have to “give
anything” to anyone. According to Ruzicka, Hurry was fanatical about not creating a record of
his involvement with CSCT.

        As for Hurry’s efforts to develop business for CSCT, Hurry admitted having telephone
calls with principals of Montage, Titan, and Unicom, and he admitted personally visiting
Montage in Panama and Unicom in Belize. Although he claimed that he discussed a back-office
system with Montage at Ruzicka’s request, his testimony was vague and unspecific. There was
no corroboration for Hurry’s assertion, and he only made it when he knew that Ruzicka would
not appear at the hearing to contradict him. Similarly, as to Hurry’s initial assertion that he did
not discuss business with Unicom when he went to Belize, Hurry was, impeached by his own
OTR testimony. In his OTR he testified that he discussed pros and cons of doing business with
Scottsdale directly or going through CSCT. Emails showed that Hurry provided other leads and
referrals to Ruzicka, and D’Mura testified that Hurry was involved in developing Caledonian as
a CSCT customer.

        We further find Hurry not credible when he testified that he could not remember anything
about his meetings with Montage in Panama and Unicom in Belize. Hurry appeared to have
excellent recall of other information and events. He testified in detail about the intricacies of
taxation in the Cayman Islands and how it differed for Canadians and U.S. citizens, as well as the
way the special economic zone in the Caymans operates. He also testified about the Cayman
Islands Monetary Authority, CIMA, and its information sharing agreement with the SEC, noting




375 Hearing Tr. (Hurry) 1554-65, 1647-48.



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that the original agreement was in 2005 and that it was updated in 2012.3'6 He insisted that he
knew the exact days on which Ruzicka and D’Mura began at CSCT.

        We observe that Hurry appeared to be a canny, sophisticated, controlling, and hard-
driving businessman. Hurry’s attempt to portray himself as a distant figure, far removed from
CSCT’s business was not credible. Although he claimed that he likes to empower his people to
run their businesses on their ow n/ 8 that is demonstrably untrue.

                  3.         DiBlasi

         We find DiBlasi’s testimony that he was the CCO—but not in connection with the Firm’s
Rule 144 business—astonishing.379*Almost all of the Finn’s business involved Rule 144 sales.
As explained below in discussing DiBlasi’s violation, DiBlasi was responsible for the WSPs, and
nothing in the WSPs clearly allocated Rule 144 compliance to Cruz. Indeed, during much of the
relevant period, the WSPs assigned the CCO specific responsibilities in connection with Rule
144. DiBlasi’s testimony may accurately reflect what he believes his job responsibilities to be,
but, if so, his designation as CCO was misleading.

                  4.         Cruz

        Cruz's testimony was vague and unreliable. He often said he could not recall whether he
had looked at various materials in conducting his due diligence reviews but that he “could” have
done so.381 Cruz also changed his testimony or made it vaguer as he was testifying if he became
uncomfortable with his original statement. For example, he said that the change in NHPI’s
business from pharmaceuticals to oil and gas was not so important because the company’s
“management team had been stable. It’s not the situation where we had a roaming management
team.” But when asked how he knew that the management team was stable, he could point to
nothing in the due diligence package or elsewhere. He ended by denying that he had said that the
management team had been stable, saying, “I didn’t see any change of - evidence of a change of
management. I didn’t use ‘stable.’” When pressed whether certain items were red flags calling
for a searching inquiry about the issuer, Cruz resorted to general statements such as it “depends




376 Hearing Tr. (Hurry) 1630.
377 Hearing Tr. (Hurry) 1620, 1624.
378 Hearing Tr. (Hurry) 1550.
379 Hearing Tr. (DiBlasi) 1921-23, 1946-47, 1952-53, 1965-66.
380 Hearing Tr. (DiBlasi) 1967-73.
381 Heanng Tr. (Cruz) 279, 284, 292-96, 301-03,308.
382 Heanng Tr. (Cruz) 288.
383 Hearing Tr. (Cruz) 288-91.



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on the facts and the circumstances.”384 He never explained any basis for determining which facts
and circumstances would trigger the duty to conduct a searching inquiry.

                  5.          Diekmann

        We find Diekmann’s testimony vague, evasive, and unreliable. He characterized
documents in ways that on their face the documents did not support, such as the Miller email
indicating that a Canadian citizen could conceal himself by using a corporate entity as the owner
of his Scottsdale account. Diekmann asserted that the Firm’s procedures would root out a
nominee problem but could point to nothing in the procedures that was designed to do that.385 He
was insensitive to suspicious circumstances such as a Google search that turned up information
suggesting that a person was engaged in securities fraud,3S6387or the identical terms and
circumstances of the three supposedly independent NHPI deposits. He contradicted his own
OTR testimony.388 He repeatedly resisted admitting that inconsistencies and suspicious
circumstances could signify that a transaction was a sham until he had to admit what was
obvious.389

         Given Diekmann’s position as the Firm’s current president, we are concerned about his
ability to ensure that the Firm responds appropriately in the fixture to obvious red flags and
suspicious circumstances. This concern bears on the need for stringent sanctions, as discussed
below.

         Illustrative of the issue is Diekmann’s testimony regarding information on Unicorn’s
website. Unicom advertised the use of nominees to give customers an “extra level of
confidentiality” because the customer’s “name will not show up.”390 At his OTR, Diekmann
testified that he had not seen this page of the Unicom website before his OTR, but if he had it
would have caused him concern whether the true beneficial owner was being disclosed.391392At the
hearing he testified differently. He said that he would not be concerned about the information on
Unicorn’s website because he had seen nothing on the website that suggested that Unicom was
offering to affirmatively lie about beneficial ownership. When asked whether Unicom would


384 Hearing Tr. (Cruz) 293.
385 Hearing Tr. (Diekmann) 737-38.
386 Heanng Tr. (Diekmann) 927.
387 Hearing Tr. (Diekmann) 1853-54, 1901-04.
388 Diekmann testified at his OTR that a print-out from the Unicom website caused him concern about whether
Patrick Gentle was the true beneficial owner of stock deposited at Scottsdale in his name. At the hearing, however,
he denied that the information on the Unicom site was a concern. Heanng Tr. (Diekmann) 925-30.
389 Hearing Tr. (Diekmann) 1881-84, 1886-87.
390 Hearing Tr. (Diekmann) 1818-19.
391 Hearing Tr. (Diekmann) 1875-78.
392 Hearing Tr. (Diekmann) 1819.



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have had to offer to lie about the beneficial owner before the website language would concern
him, Diekmann answered “Yes.”393394That is not consistent with his and the Firm’s gatekeeping
function.

        A second example of Diekmann’s insensitivity to suspicious circumstances is his
response to questions concerning an email exchange between one of the Rule 144 staff members
and Titan. The staff member sent an email to Ryan Mendez at Titan saying that Scottsdale had
multiple subaccounts at Scottsdale with Andrew Godfrey as the authorized signer. She requested
a statement from Godfrey that explained the purpose for the multiple entities and provided an
explanation of “any distinguishing features among the separate entities.” She then named the
eight entities.

         Godfrey provided an astoundingly broad and vague response:

          [The eight companies] are holding company’s [sic] that are used to invest in
         development and exploration stage companies that engage in local, regional,
         multinational, global, sporting, manufacturing, wholesale, transportation,
         technology and eco friendly companies, etc., etc. Each investment is placed into a
         holding company based on investment criteria such as location, industry, long or
         short-term investment etc., etc.

Godfrey made no distinction among the companies. He provided no facts that could be verified.
The response was undated and addressed “To Whom It May Concern.” Godfrey provided no
address, telephone number, or other contact information for himself or any of the companies.
The response was forwarded by email from Titan to Scottsdale.395

        Diekmann characterized Godfrey’s response as reasonable.396 We do not find it so. It
lacks specificity and has no indicia of reliability or authenticity.

         Finally, Diekmann displayed a lack of the skepticism, analytic acuity, and ingenuity that
are required to perfonn the broker-dealer’s gatekeeping function in the Rule 144 context. He
testified that the identical documentation for the NHPI transactions did not trouble him because
some unidentified person could have put Collins together with the three parties seeking to sell
the NHPI shares they acquired from him. When asked whether that unidentified person could be
the secret beneficial owner of the three sub-sub-accounts, he said that there was nothing in the
documentation indicating that was so. He further declared that he did not know how you would




393 Hearing Tr. (Diekmann) 1875.
394 CX-247.
395 CX-248.
396 Hearing Tr. (Diekmann) 891.



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investigate whether it was so. He seemed content not to know who the unidentified person was
and to assume that it was a person who had put the three depositors in touch with Collins.397398

        Diekmann said that “there’s always a risk that there could be some puppet master pulling
the s[t]rings.” But he expressed frustration at the thought that the Finn could and should have
done more to ascertain whether a puppet master was at work. As he remarked regarding the
Argentinian nominees in the Tavella case, “It’s just impossible to know that there was somebody
else behind this.”399

       For purposes of assessing the Finn’s ability to avoid violations in the future and crafting
remedial sanctions, his remarks cause us concern. Diekmann said that what happened with NHPI
happens all the time.400

                 6.       Experts

                          a.         Marc Menchel

        We give little weight to the testimony of Respondents’ expert, Marc Menchel. Although
he opined that Scottsdale’s procedures were reasonable and consistent with industry custom and
practice, his experience related to Rule 144 was both a long time ago and in a much different
context than Scottsdale’s business. Menchel ran a Rule 144 desk at a large broker-dealer more
than 30 years ago. That desk did not concentrate the way Scottsdale does on large blocks
(100,000 shares or more) of microcap stocks.401

        Furthermore, Menchel did not opine on the sufficiency of Scottsdale’s due diligence in
the context of the specific transactions at issue. He did not review the exhibits or the
investigative testimony. While he did look at all the relevant due diligence packages, he did not
review them with the idea of “second guessing” the Film’s handling of the deposits. He merely
looked to see whether the due diligence packages contained the sorts of items that one would
expect them to contain.402 Essentially, Respondents’ expert, like Respondents, took a check-the-
box look at the due diligence packages.

       Finally, Menchel’s opinion seemed influenced by his admittedly idiosyncratic view that
Regulatory Notice 09-05 goes beyond Rule 144, and his claim that many of the red flags listed in
the Regulatory Notice are not really red flags for purposes of Rule 144.403 Menchel’s opinion

397 Hearing Tr. (Diekmann) 1901-03.
398 Hearing Tr. (Diekmann) 720.
399 Hearing Tr. (Diekmann) 732.
400 Hearing Tr. (Diekmann) 1901, 1903.
101 Hearing Tr. (Menchel) 2459-61.
402 Hearing Tr. (Menchel) 2478-80, 2496-98, 2529-33, 2554-65, 2572-73, 2575.
‘,03 Hearing Tr. (Menchel) 2503-07, 2515-24.



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similarly seemed influenced by his view that FINRA has no authority to charge a broker-dealer
firm with a Rule 2010 violation for a Securities Act violation, a view that he admits has no
decisional support.404 Menchel’s opinion regarding FINRA’s authority is contrary to the Hearing
Officer’s prior determination in the Order dated February 26, 2016, that FINRA has jurisdiction
to bring this case. We decline to accept Menchel’s view for the reasons stated in that Order,
which we do not repeat here.405

                          b.         Brian Underwood

        We find the opinion of Enforcement’s expert, Brian Underwood, more reliable, more
persuasive, and entitled to greater weight than Menchel’s. His experience with Rule 144 was
more extensive and more recent. Until retiring in 2008, Underwood served as the Chief
Compliance Officer of two major broker-dealers for a combined period of ahnost 20 years. The
broker-dealers traded microcap securities on a fairly frequent basis and their Rule 144 desks
reported to Underwood through one of his direct reports.406 He also served on two NASD
working groups in the 1990s that reviewed roughly 300 sets of policies and procedures as part of
an effort to develop a model set of procedures.407408Underwood has maintained a consulting
practice since he retired, and in that capacity he has more recently seen between 20 and 25 entire
policies and procedures of different firms.40S

        Underwood also reviewed more of the materials relating to the particulars of this case,
including the pleadings, the parties’ memoranda, the exhibits, and the OTRs conducted in
connection with the investigation.409 He, unlike Menchel, evaluated the substance of Scottsdale’s
due diligence and whether it was consistent with industry custom and practice.410

       Underwood expressed the following opinions, among others, which we find consistent
with our own views and supportive of our conclusions:

        (i)      In its WSPs, the Finn did not adequately address the risk of nominees being used
                 to conceal the identity of the beneficial owners of the shares—it did not even
                 mention the risk.411




404 Hearing Tr. (Menchel) 2593-99.
405 See also KCD Financial Inc., Exchange Act Release No. 80340, slip op. at 5-6 & nn.8-13 (SEC Mar. 29, 2017).
406 Hearing Tr. (Underwood) 2609, 2615-21.
407 Hearing Tr. (Underwood) 2711-12.
408 Hearing Tr. (Underwood) 2712-13.
409 Hearing Tr. (Underwood) 2619-20.
410 Hearing Tr. (Underwood) 2651-57, 2665-67, 2669-71, 2673-78, 2685-89, 2691-94.
411 Hearing Tr. (Underwood) 2682-83.



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          (ii)    The Firm’s practice of placing all FFIs on its red flag list was counterproductive
                  because it did nothing to narrow the focus to the kinds of anomalies that required
                  a searching inquiry.412

          (iii)   The Finn’s general practice of accepting the registered agent’s address without
                  requiring the physical address of the entities and persons purporting to own the
                  shares was inconsistent with industry custom and practice.413

          (iv)    Even though the Finn gathered large volumes of paper in connection with the
                  transactions, it failed to analyze the infoimation, did not identify issues raised by
                  the files, and did not conduct the type of searching inquiry necessary to resolve
                  those issues.414415As Underwood testified, a searching inquiry “means asking
                  questions. It means not just assuming an answer that is possible to explain the
                  transaction when there are other answers that might not properly explain or satisfy
                  the question. It means asking and inquiring and doing it independently ....5,415

          (v)     Underwood made plain that a broker-dealer cannot go forward with a Rule 144
                  transaction simply because it finds it too difficult to detennine the identity of the
                  beneficial owner. The broker-dealer must have reliable evidence of the identity of
                  the purported beneficial owner. Otherwise it cannot proceed with the
                  transaction.416417

        Underwood also explained that it would be typical in the industry to use other resources
in addition to the internet to verify representations by the interested parties and make sure that
those parties were not actually participating in an unregistered distribution of securities. With
respect to whether the issuer is a shell, for example, it is not enough to obtain a representation
from the issuer’s principal as to its non-shell status. Underwood said that it would be common in
the industry to obtain what is known as a “Bradstreet report.” That report “can be quite
enlightening in terms both of [the issuer’s] operations, revenues, assets, who the key officers and
directors are, shareholders—a great deal of information that is not necessarily available simply
      •            ■       *417
by going on the internet.’

        Underwood concluded that a firm engaged in Rule 144 sales would also have more
detailed written procedures that “would describe who did what, when, and how.”418 He said that


1112Hearing Tr. (Underwood) 2685-86, 2752-55.
413 Hearing Tr. (Underwood) 2679-80.
414 Hearing Tr. (Underwood) 2689.
415 Hearing Tr. (Underwood) 2694.
416 Hearing Tr. (Underwood) 2734.
417 Hearing Tr. (Underwood) 2661.
418 Hearing Tr. (Underwood) 2677-78.



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a firm would “anticipate questions that would be investigated with respect to issuers, with
respect to sellers, with respect to the transfers of securities.”419 Furthermore, they would analyze
the information collected and would “independently satisfy themselves to clear any red flags that
arose. And that did not happen in any of these instances in my opinion.”420 He declared that the
Firm did not meet the industry custom and practice for the conduct of this type of business.421

         F.        Law And Regulations Relating to Section 5

                   1.        It Is Unlawful To Sell Securities Without Registration, Unless An
                             Exemption Exists

         It is unlawful for a firm to sell securities without an effective registration statement in
place unless an exemption applies. Sections 5(a) and 5(c) of the Securities Act prohibit the “sale”
and “offer for sale” of securities in interstate commerce unless a registration statement has been
filed or is in effect, or an exemption from registration applies.422423The prohibition applies to “any
person,” 123 and the Securities Act defines “person” broadly to include both individuals and
entities such as corporations and partnerships.424 The prohibition also applies to any person who
“directly or indirectly” sells or offers to sell securities.425 Thus, Section 5 may be violated by a
person who does not pass title to the securities but who is involved in the process of offering the
securities for sale.426

        The registration requirements are not merely technical—they are the “heart” of the
Securities Act.427 They serve to protect investors by promoting full disclosure of information
thought necessary to informed investment decisions.428 As the preamble to the Securities Act

419 Hearing Tr. (Underwood) 2678.
420 Hearing Tr. (Underwood) 2678.
421 Hearing Tr. (Underwood) 2689.
422 15 U.S.C. § 77e(a), § 77e(c). See also Ronalds. Bloomfield, Exchange Act Release No. 71632,2014 SEC LEXIS
698, at *20-21 (Feb. 27, 2014). A violation of Securities Act Section 5 also is a violation of FINRA Rule 2010,
which requires members and associated persons to conduct their business consistent with high standards of
commercial honor and just and equitable principles of trade. Midas Sec., Exchange Act Release No. 66200, 2012
SEC LEXIS 199, at *46 n.63 (Jan. 20, 2012); D ep’t o f Enforcement v. Padilla, No. 2006005786501, 2012 FINRA
Discip. LEXIS 46, at *1 n.2 (NAC Aug. 1, 2012).
423 15 U.S.C. § 77e(a), § 77e(c).
424 15 U.S.C. § 77b(a)(2).
423 15 U.S.C. § 77e(a), § 77e(c).
426 Pinterv. Dahl, 486U.S. 622, 642-47 (1988).
427 ACAPFin. Inc., Exchange Act Release No. 70046, 2013 SEC LEXIS 2156, at *28 (July 26, 2013) (quoting
Pinterv. Dahl, 486 U.S. at 638), ajfd, 783 F.3d 763 (10th Cir. 2015).
428 SEC v. Elliott, 2012 U.S. Dist. LEXIS 82992, at *1 (June 12, 2012); Bloomfield, 2014 SEC LEXIS 698, at *21;
AC4P, 2013 SEC LEXIS 2156, at *28 (quoting Pinter, 486 U.S. at 638); D ep ’t o f Enforcement v. KCD F in, Inc.,
No. 2011025851501, 2016 FINRA Discip. LEXIS 38, at *49 (NAC Aug. 3, 2016), aff'd, KCD Fin. Inc., Exchange
Act Release No. 80340, slip op. at 5-6 &nn.8-13 (SEC Mar. 29, 2017).


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states, the purpose of the Act is “[t]o provide full and fair disclosure of the character of securities
... and to prevent frauds.” 429430

                   2.      Sales Are Not Exempt If They Involve A Distribution By An
                            “Underwriter”

        A sale of securities is not exempt from registration if it involves a distribution of
securities to the public. The Securities Act distinguishes between a distribution—which requires
registration—and ordinary trading, which does not. In general, a distribution involves the sale of
a substantial block of securities that is accompanied by sales solicitations, recommendations and
other promotional activities that may induce investors to make investment decisions without the
benefit of accurate information concerning the issuer, its management, and its plans and
prospects. That is the reason registration is required. In contrast, ordinary trading by an
individual investor who has little or no influence over the issuer is not accompanied by the same
promotional pressures, and, consequently, the same protections are less necessary.130

        The distinction between a distribution and ordinary trading is reflected in Section 4(a)(1)
of the Securities Act, which exempts a securities transaction from registration if it does not
involve “an issuer, underwriter, or dealer.”431 In this case, the tenn “underwriter” is critical. The
term is not limited to financial industry professionals. It encompasses individual investors “if
they act as links in a chain of transactions through which securities move from an issuer to the
public.”43" Section 2(a)(ll) of the Securities Act broadly defines the term to include “any
person” who has purchased from an issuer “with a view to ... the distribution of any security.”433

        Because it is difficult to know whether a person acquired securities “with a view to”
distributing them to the public, the surrounding circumstances and the investor’s actions after
acquiring the securities must be analyzed. For example, when a person acquires securities from
the issuer in a non-public transaction and shortly thereafter resells, the circumstances suggest that
the person acquired the securities with a view to distribution, which would make that person an
underwriter. The transactions function like a two-step indirect distribution and may be a public
offering in disguise.434



429 Securities Act of 1933, Pub. L. No. 22, § 1, 48 Stat. 74, ch. 38.
430 See the Preliminary Note to Rule 144 (“If any person sells a non-exempt security to any other person, the sale
must be registered unless an exemption can be found for the transaction”).
431 See generally Hicks, Resales o f Restricted Securities at § 2.4, 12-13, § 2:10, 22-23, § 2.11, 23-24 (2015 ed.). See
the Preliminary Note to Rule 144 (“Section 4(1) of the Securities Act provides one such exemption for a transaction
‘by a person other than an issuer, underwriter, or dealer.”’).
432 Preliminary Note to Rule 144.
433 15 U.S.C. § 77b(a)(ll). See also SEC v. UcNamee, 481 F.3d451, 455 (7th Cir. 2007).
434 See generally Hicks, Resales o f Restricted Securities at § 4:101,250 (2015 ed.). See the Prelimmary Note to Rule
144.



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                       3.   Broker-Dealer Has The Burden Of Showing A Reasonable Basis For
                            An Exemption

        Once a prima facie case is made out, as it was here,135 a broker-dealer has the burden of
showing that it had a reasonable basis at the time it sold the securities for concluding that an
exemption from registration existed.435436 Exemptions from the registration requirements are
affirmative defenses that must be established by the person claiming the exemption.137438The
Securities Act requires a broker-dealer and its associated persons to act as gatekeepers to prevent
unlawful distributions, and the responsibility rests on them to take all steps reasonable in the
circumstances to assure themselves that an exemption applies before they sell securities without
    •      •  438
registration.

        A broker-dealer’s duty to investigate is not satisfied by simply checking boxes on a
checklist. Rather, a firm must examine the information it receives with a skeptical eye because
the interested parties have an incentive to mislead and deceive a firm in order to facilitate their
sale of securities. A broker-dealer must independently investigate suspicious facts to satisfy itself
that an exemption exists. As the SEC has explained,

          A dealer who offers to sell, or is asked to sell a substantial amount of securities
          must take whatever steps are necessary to be sure that this is a transaction not
          involving an issuer, person in a control relationship with an issuer[,] or an
          underwriter. For this purpose, it is not sufficient for him merely to accept “self­
          serving statements of his sellers and their counsel without reasonably exploring
          the possibility of contrary facts.”439

       Exemptions from registration requirements are construed narrowly.440 Accordingly,
evidence in support of an exemption must be “explicit, exact, and not built on mere conclusory
statements.”441

      It is important to bear in mind that there are two distinct burdens in this case. While it
was Enforcement’s burden to prove the elements of its claims, it was the Firm’s burden before


435 See infra p. 80.
436 Bloomfield, 2014 SEC LEXIS 698, at *23; ACAP, 2013 SEC LEXIS 2156, at *29 (citations omitted); D ep't o f
Enforcement v. Midas Sec., LLC, No. 2005000075703, 2011 FDNTRA Discip. LEXIS 62, at *11 & n.8 (NAC Mar. 3,
2011), ajfd , 2012 SEC LEXIS 199, at *28 & n.36.
437Midas Sec., 2011 FINRA Discip. LEXIS 62, at *28 &n.36, *38.
438 Padilla, 2012 FINRA Discip. LEXIS 46, at *29.
439 Laser Arms Corp., 50 S.E.C. 489, 503 (Feb. 14, 1991) (quoting Distribution by Broker-Dealers o f Unregistered
Securities, Exchange Act Release No. 4445, 1962 SEC LEXIS 74 (Feb. 2, 1962)).
440Midas Sec. ,2011 FINRA Discip. LEXIS at *11 -12 (quoting SEC v. Blazon, 609 F. 2d 960, 968 (9th Cir 1979).
441 Midas Sec., 2011 FINRA Discip. LEXIS at *12 (quoting Robert G. Weeks, Exchange Act Release No. 48684,
2003 SEC LEXIS 2572, at *42 n.34 (Oct. 23, 2003).



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selling the securities to establish a reasonable basis for the existence of an exemption from
registration.

                   4.       Respondents Claim Two Exemptions

        With respect to the transactions at issue, Respondents claim that Rule 144 applied to the
transactions, or, failing that, the so-called “broker's exemption” in Section 4(a)(4) of the
Securities Act for ordinary unsolicited trading.442

                            a.       Securities Act Rule 144

        Tire SEC adopted Rule 144 both to provide a “safe harbor” for certain transactions and to
protect against transactions by non-professionals as a means of circumventing the registration
requirements. Among other things, Rule 144 restricts the resale of securities acquired directly or
indirectly from the issuer or an affiliate in a transaction not involving a public offering. The SEC
defines such securities as “restricted securities,” and requires an owner of restricted securities to
hold them for a length of time before reselling them in another transaction without registration.
The holding period and other conditions for resale differ if the holder of the restricted securities
is an affiliate or non-affiliate.4434Thus, the identity of the person selling the securities and the
nature of any relationship that person might have to the issuer become important to the
exemption analysis.

        Rule 144 defines an affiliate of an issuer as a person who directly or indirectly controls or
is controlled by or is under common control with the issuer. Although Rule 144 does not define
control, it is commonly understood that the definition in SEC Rule 405 of Regulation C applies.
It defines control as “the possession, direct or indirect, of the power to direct or cause the
direction of the management and policies of a person whether through the ownership of voting
securities, by contract, or otherwise.” Control depends on the totality of the circumstances and
does not turn simply on whether a person is an officer of a company or the holder of a certain
                 , 444
amount of stock.

        The identity of the issuer is important, too. The Rule 144 safe harbor is not available for
shell companies. A shell company is defined as an issuer “with no or nominal operations and no
or nominal non-cash assets.”445

        A person who satisfies the applicable conditions of Rule 144 is deemed not to be engaged
in a distribution of the securities and therefore not to be an underwriter for purposes of the


442 Resp. PHBr. at 2-5.
443 17 C.F.R. § 230.144. See generally Hicks, Resales o f Restricted Securities at § 2.4, 12-13, § 2:10, 22-23, § 2.11,
23-24 (2015 ed.).
444 SEC v. Zenergy I n t i Inc., 141 F. Supp. 3d 846, 853-54 (N.D. 111. 2015).
445 Id. at 853.



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Securities Act.446 The burden is on the person claiming an exemption under Rule 144 to prove
that all the applicable conditions have been met.447*

         The provisions of Rule 144(d)(3) relating to tacking are important here because tacking
was the only way that the sellers in the transactions at issue could satisfy the required holding
period. There are two categories of tacking. One category applies where a person who acquires
restricted securities cannot personally meet the applicable holding requirement, but he is able to
tack the holding period of another person to his. Tire other category applies where a person seeks
to tack the period of time he has held restricted securities to the time he held other securities of
,,        •      448
the same issuer.

        Both categories are relevant in this case. First, to establish the requisite holding period,
the purported beneficial owners needed to tack their holding period to that of the prior holders.
Their ability to tack depended on the prior holders not being affiliates of the issuer. Second, in
connection with the transactions charged in the Complaint, the prior holders needed to tack their
acquisition of the securities to the earlier inception of the debt obligation exchanged for the
securities. In order to do that, the debt obligation had to be a security. Rule 144 permits tacking
based on the exchange of a security for another security of the same issuer (as long as no
additional consideration is involved).449

         In this case, Respondents claim that they had sufficient evidence that the sellers of the
securities at issue were not affiliates of the issuers, the issuers were not shell companies, and the
sellers had met the applicable holding period for the securities. We conclude that they did not.

                            b.        Broker’s Exemption Under Section 4(4)

        Respondents argue they were entitled to the so-called broker’s exemption under Section
4(4) of the Securities Act even if the transactions at issue were not exempt under Rule 144.450




446 See generally Hicks, Resales o f Restricted Securities at § 4:1, 86 (2015 ed.).
447 See Rule 144(b).
148 See generally Hicks, Resales o f Restricted Securities at § 4:139, 318 (2015 ed.).
449 See generally Hicks, Resales o f Restricted Securities at § 4:139, 318-19 (2015 ed.). Rule 144(d)(3) contains the
provisions governing tacking. Two provisions are relevant here. Rule 144(d)(3)(iv) provides that securities that are
acquired as a result of a default on a bona fide pledge of the securities shall be deemed to have been acquired when
they were acquired by the pledger. However, if the securities were pledged without recourse they shall be deemed to
have been acquired by the pledgee at the time of the pledge. Rule 144(d)(3)(ii) permits a person to tack the period of
time he has held certain restricted securities to the period of time he has held related securities of the same issuer. It
provides for tacking where the securities to be sold were acquired from the issuer solely in exchange for other
securities of the same issuer.
450Resp. PH Br. 4-5.



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Section 4(4) is intended to exempt ordinary trading transactions that a broker may be asked to
execute.451452

        As discussed above, a person can be an underwriter within the meaning of the Securities
Act if he acquires the securities from an issuer or affiliate of the issuer with a view to
distribution. In order to ensure that the person offering restricted securities for resale is not acting
as an underwriter, it is necessary for a broker to evaluate the circumstances in which that person
acquired restricted securities and offers them for resale. A broker cannot be a mere order taker. It
must make whatever inquiries are necessary under the circumstances to ensure that its customer
is not an underwriter.

        This exemption is not available when the broker “knows or has reasonable ground[s] to
believe” that his customer is an underwriter, since in that event the broker would also violate
Section 5 by participating in a non-exempt transaction.453 As FINRA has stated, “[T]his
exemption is available only if a broker is not aware, after a reasonable inquiry, of circumstances
indicating that the selling customer is participating in a distribution of securities.”454

        Contrary to Respondents’ arguments, we conclude that Respondents were confronted by
abundant evidence that they were likely participating in unlawful distributions of securities. They
cannot claim that they were unaware of facts signifying that possibility or the need to conduct
further inquiry.

                  5.       Both Exemptions Required A “Searching Inquiry” To Ensure That
                           No Underwriter Was Involved

        Neither the Rule 144 exemption nor the broker’s exemption is available if the person
selling the securities is an underwriter within the meaning of the Securities Act. Accordingly,
where there are red flags indicating the possibility that a person may be acting as an underwriter,
both exemptions require that a broker make a “searching inquiry” to satisfy itself that an
exemption applies. Only then can a broker ensure that it does not participate in an unlawful
distribution of unregistered securities.455

        The SEC observed over half a century ago, “[W]here the surrounding circumstances raise
a question as to whether or not the ostensible sellers may be merely intermediaries for
controlling persons or statutory underwriters, then searching inquiry is called for.”456



451 World Trade F in Corp., Exchange Act Release No. 66114, 2012 SEC LEXIS 56, at *26 (Jan. 6, 2012).
452 Bloomfield, 2014 SEC LEXIS 698, at *24-25 &nn.35-36.
453 Bloomfield, 2014 SEC LEXIS 698, at *24; World Trade Financial Corp., 2012 SEC LEXIS 56, at *26 & n.31.
434 CX-197 at 2 (emphasis supplied).
435 CX-197.
436 Bloomfield, 2014 SEC LEXIS 698, at *26-27.



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                      6.   FINRA Guidance On Red Flags Signaling That Underwriter May Be
                           Involved

         In Regulatory Notice 09-05, FINRA published guidance on the specific kinds of facts that
give rise to the duty of conducting a searching inquiry.457 hi that guidance, FINRA made plain
that “[a]ll firms must have procedures reasonably designed to avoid becoming participants in the
potential unregistered distribution of securities.”458 It further explained, “Before selling securities
in reliance on an exemption, a firm must take reasonable steps to ensure that the transaction
qualifies for the exemption .. ,.”459

       Regulatory Notice 09-05 identifies a non-exhaustive list of red flags that signal the
“possibility of an illegal, unregistered distribution.”460461These red flags are by no means
comprehensive. They are merely illustrative. The generally recognized red flags in the Notice
include the following: 161

          1. A customer opens a new account and delivers physical certificates that represent a
             large block of thinly traded or low-priced securities.

         2. A customer has a pattern of depositing physical share certificates, immediately selling
            the shares, and then wiring out the proceeds of the resale.

         3. A customer deposits share certificates that are recently issued or represent a large
            percentage of the float for the security.

         4. Share certificates reference a company or customer name that has been changed or
            that does not match the name on the account.

         5. The lack of a restrictive legend on deposited shares seems inconsistent with the date
            the customer acquired them or the nature of the transaction in which they were
            acquired.

         6. There is a sudden spike in investor demand for a thinly traded or low-priced security,
            coupled with a rising price.

         7. The company was a shell company when it issued the shares.

         8. A customer with little or no assets at the firm receives an electronic transfer or journal
            transactions of large amounts of low-priced unlisted securities.

457 CX-197.
458 CX-197, at 2.
459 CX-197, at 2.
460 CX-197, at 1.
461 CX-197, at 3-4.



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         9. The issuer has been through several recent name changes, business combinations or
            recapitalizations, or the company’s officers are also officers of numerous similar
            companies.

         10. The issuer’s SEC filings are not current, are incomplete, or are nonexistent.

         G.       Ethical Violations (First Cause Of Action—Scottsdale And Hurry)

        The First Cause of Action charges that Scottsdale and Hurry violated FINRA Rule 2010
by acting in contravention of Section 5 of the Securities Act. It alleges that during the relevant
period, Scottsdale sold millions of shares of securities without registration and without an
exemption. It further alleges that Hurry was a necessary participant and substantial factor in the
unlawful transactions through his close management and control of all the entities involved in the
process of depositing, approving, and reselling the securities, and through his prospecting for
CSCT customers. The Complaint alleges that Hurry took actions to evade regulatory scrutiny and
enable the Firm to make the unlawful sales.

                   1.       Rule 2010

        FINRA Rule 2010 requires FINRA members and their associated persons to “observe
high standards of commercial honor and just and equitable principles of trade” in the conduct of
their business. The Rule requires members of the securities industry not merely to conform to
legal and regulatory requirements, but to conduct themselves with integrity, fairness, and
honesty.462

        Scienter is not required for a Rule 2010 violation. Rather, the SEC has established a
disjunctive test for a Rule 2010 violation that applies either (i) to intentional or conscious bad
conduct or (ii) to a failure to meet ethical norms, regardless of intention. The SEC has held that
Rule 2010 may be violated if the respondent has acted either in bad faith or unethically.463 hi the
context of a Rule 2010 violation, the SEC has defined bad faith as a dishonest belief or purpose,




162Robert Marcus L a m , Exchange Act Release No. 74269, 2015 SEC LEXIS 558, at *22 n.20 (Feb. 13,2015)
(discussing NASD predecessor to FINRA Rule 2010: “[Tjhis general ethical standard . . . is broader and provides
more flexibility than prescriptive regulations and legal requirements. [FINRA Rule 2010] protects investors and the
securities industry from dishonest practices that are unfair to investors or hinder the functioning of a free and open
market, even though those practices may not be illegal or violate a specific rule or regulation.”) (internal quotations
omitted).
463 Blair Alexander West, Exchange Act Release No. 74030, 2015 SEC LEXIS 102, at *20 (Jan. 9, 2015); Thomas
W. Heath, IU, Exchange Act Release No. 59223, 2009 SEC LEXIS 14, at *13-17 & nn.9-16 (Jam 9, 2009), aff'd,
586 F.3d 122, 130 (2d Cir. 2009), cert denied, 2010 U.S. LEXIS 3029 (Apr. 5, 2010) (discussing NT'SE predecessor
of Rule 2010); Dep't o f Enforcement v. Shvarts, No. CAF980029, 2000 NASD Discip. LEXIS 6, at *11 -18 (NAC
June 2, 2000).



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and unethical conduct as conduct inconsistent with the moral norms or standards of professional
conduct.464

        Because the securities industry is built on trust, any ethical failure damages the industry
generally by casting doubt on the integrity of its participants. An ethical failure also casts doubt
on the ability of the particular miscreant to conform to ethical norms in the future. Enforcement
of FINRA Rule 2010 is therefore fundamental to FINRA’s regulatory mission, which, as
expressed in FINRA’s Sanction Guidelines, “is the building of public confidence in the financial
markets.”465

                  2.      Enforcement Established A P r im a F a c ie Case Of A Section 5
                          Violation

         The elements of a prima facie case for violation of Section 5 are the following: (i)
respondents sold or offered to sell securities; (ii) through use of interstate facilities or the mails
(the jurisdictional means); and (iii) when no registration statement was filed or in effect as to
those securities. Scienter is not an element.466 A Section 5 violation does not require a showing
that the sale actually facilitated a fraud. A sale without registration and without an exemption is
an unlawful distribution of securities regardless of whether it is proven to be connected to a
fraud.

         Enforcement established a prima facie case. It proved that from December 1, 2013,
through June 30, 2014, Scottsdale sold shares of three issuers, NHPI, VPLM, and ORFG, using
the jurisdictional means and without registration.467

      Respondents do not dispute these facts. They argue only that the transactions were
exempt from registration.468

                  3.      The Firm Lacked A Reasonable Basis For An Exemption

        Scottsdale failed to have a reasonable basis for an exemption at the time that it sold the
securities in the transactions at issue.




464 EdwardS. Brokaw, Exchange Act Release No. 70883, 2013 SEC LEXIS 3583, at *33 (Nov. 15, 2013). See also
Simpson v. Bear, Steams & Co., No. C07950030, 1997 NASD Discip. LEXIS 13, at *27 n.9 (NAC Jan. 29, 1997)
(“Term ‘bad faith’ is not simply bad judgment or negligence, but rather it implies the conscious doing of a wrong
because of dishonest purpose or moral obliquity....”).
465 FINRA Sanction Guidelines at 1 (2016) (Overview), https://www.finra.org/industry/sanction-guidelines.
166Bloomfield, 2014 SEC LEXIS 698, at *22 & n.29. See also SEC v. Cavanagh, 445 F.3d 105, 111 n.13 (2dCir.
2006), SEC v. Calvo, 378 F.3d 1211, 1214-15 (11th Cir. 2004).
467 RX-1; RX-2; RX-3; JX-268; JX-281; JX-310.
468 Resp. PH Br. 2-5.



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        First, in its due diligence the Firm did not even address the question whether the debt
obligation was a security, despite having lawyers on its Rule 144 review team and despite
Respondent Cruz being a lawyer with significant experience in the securities laws. It had no
foundation for the tacking necessary to achieve the required holding period because the
promissory notes and lines of credit on which the tacking was based were not securities.

        Second, the documentation to support the Rule 144 exemption was rife with
discrepancies and suspicious circumstances—all of which raised red flags strongly suggesting
that the chain of transactions leading to deposits at Scottsdale were sham transactions using false
documents and nominees to conceal the identity of the beneficial owners.

        Although the Firm compiled thick due diligence packages for the transactions, it did so
with a “check-the-box” attitude. It did not appropriately evaluate the information in the due
diligence packages, did not investigate the many red flags, and did not independently verify the
information received from the interested parties. The due diligence packages created only the
false appearance of due diligence.

        The Finn's conduct was unethical and did not meet the industry nonns. The persons
involved in the Rule 144 review did not obtain any meaningful information about the individuals
and entities involved in the transactions. Diekmann confessed that he knew nothing about the
purported beneficial owner of one of the deposits other than that the person was a client of
CSCT’s client. Scottsdale knew little more about any of them. It failed to perform its
gatekeeping function. The testimony of Enforcement’s expert only confirms our conclusion that
the Firm failed to conduct itself in a manner consistent with industry norms.

                           a.       The Prior Holders’ Debt Obligations Were Not Securities
                                    Available For Tacking

                                    i. R e v e s Governs Whether Note Is A Security

        Not every note or debt obligation is a security.469470The Supreme Court’s decision in Reves
governs the analysis.4 0 Airy note with a term of more than nine months is presumed to be a
security unless it resembles one of the judicially enumerated instruments that are not securities,
such as a note delivered in connection with consumer finance or a mortgage. In Reves, the Court
set the analytic framework for determining whether a note bears a resemblance to one of the
enumerated instruments or should be held to be a security. Four factors may be considered in
deciding whether a note is a security:

          (i)        whether the seller’s purpose is to raise money for general use of business or to
                     finance substantial investments, and the buyer is motivated by the profit to be



469 Reves v. Ernst & Young, 494 U. S. 56, 65-67 (1990).
470 Id.



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                      generated, in contrast to a note to facilitate a minor purchase or sale or to
                      correct for cash-flow difficulties;

         (ii)        whether the note involves an individual transaction or common trading for
                     speculation or investment;

         (iii)       whether there is a reasonable public expectation that the note would be viewed
                     as security; and

         (iv)        whether another regulatory scheme applies that would reduce risk of the
                     instrument.471

       In another case, the Court later summed up the distinguishing characteristic of a security
as “any instrument that might be sold as an investment.”472473

        As we explain below, we conclude that none of the debt obligations held by the prior
holders were securities. That includes the NHPI note in payment for consulting services, the oral
line of credit to VPLM, and the outstanding balance on the ORFG line of credit. As a result,
when the prior holder accepted stock in satisfaction of the debt, it was not an exchange of
securities that would support tacking.

                                    ii. NHPI

         It is plain that the note written by NHPI to Collins, the prior holder in the chain of
holders, was not a security. We observe at the outset that the note’s term was much shorter than
the nine months required to presume a note to be a security—roughly two months. But it also
fails the test set forth in Reves. NHPI did not enter into the note agreement in order to finance its
general business or to make a substantial investment. Nor was Collins motivated by some profit
to be generated from the note. According to documents in the due diligence package, the note
was no more than a promise to pay Collins $10,000 for consulting services. Furthermore, the
note was issued in a single transaction. A note that “merely reflects a single transaction” and is
“not offered to the public” is not a security.4'3 Nor could there be any public expectation that an
individual note promising to pay for services was a security. The fourth factor, whether another
regulatory scheme applied and diminished the need for treating the instrument as a security, is
inapplicable where no other factor supports labeling the note a security.




471 Id at 65-67. See also Bass v. Janney Montgomery Scott, Inc., 210 F.3d 577, 583-86 (6th Cir. 2000).
472 SEC v. Edwards, 540 U.S. 389, 393 (2004). See also Frankfurt v. Mega Entertainment Group II, 2016 U.S. Dist.
LEXIS 73613, at *11 (N.D. 111. June 7, 2016) (stating that “only those notes that were issued in an investment
context” are securities).
473 NewEarthshell Corp. v. Jobookit Holdings Ltd, 2015 U.S. Dist. LEXIS 27141, at *10-11 (S.D.N.Y. Mar. 5,
2015)



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        As another similar note was aptly described by a federal district court, the note held by
Collins was “akin to an ‘IOU’ for services rendered.” '74

                                   iii. VPLM

        With respect to the issue of whether the oral line of credit extended by Locksmith to
VPLM was a security, the focus at the hearing was on whether there is any distinction between
an oral agreement and a written agreement. Diekmann maintained that there is no difference
between an oral line of credit and a written line of credit for purposes of Rule 144 and tacking.
He understood that in either case the successor holder could tack back to an advance on the line
of credit. He based his understanding on his experience with the treatment of written lines of
credit and discussions with legal counsel—who exactly he could not recall.4'5

         In their post-hearing brief,474547647Respondents relied on a Seventh Circuit Court of Appeals
decision, Canadian Imperial Bank?11 Their reliance is misplaced. The issue in Canadian
Imperial Bank         whether a private plaintiff had sufficiently pleaded the existence of a security
for purposes of establishing subject matter jurisdiction. The plaintiff alleged that a certificate of
deposit from a Bahama bank was a security, but no document was attached that could be
analyzed for purposes of jurisdiction. The Court held that the complaint did not allege sufficient
facts to establish jurisdiction, but it hastened to say that its decision did not mean that only
written instruments can be securities, noting that oral promises of participation in a profit sharing
plan have been held to be investment contracts even where not evidenced in writing.478 The
Court’s remarks regarding oral promises as investment contracts provide no basis for concluding
that the oral credit line here was a security.

        The oral line of credit, unlike an oral promise of participation in a profit sharing plan, was
not represented to be an investment. Nor was it easily tradeable as an investment. There was no
means of being certain of the terms, confident of the effective transfer of rights, or sure that those
rights might later be enforced. Accordingly, the oral line of credit was not a security.

       Moreover, even if written, the line of credit did not meet the Reves test. The line of credit
was a loan to the issuer by a single individual. Such an individual transaction would not be
viewed as a security by the public and would not ordinarily be traded as an investment.




474 SEC v. Garber, 959 F. Supp. 2d 374, 377 (S.D.N.Y. 2013).
475 Hearing Tr. (Diekmann) 1711-17.
476 Resp. PH Br. 22 n. 114.
477 Canadian Imperial Bank o f Commerce Trust Co. v. Fmgland, 615 F. 2d 465 (7th Cir. 1980).
478 Id. at 466-67 & n.5.



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                                     iv. ORFG

        The open-ended line of credit extended by Forward to ORFG for $600,000 was not a
security. As discussed above in connection with the other debt conversion transactions, it did not
meet the Reves test. It was an individual transaction that was not designed to trade as an
investment. Nor would the public view it as a security.479

                            b.       The Firm Ignored Red Flags

        Even if the notes had been securities, the transactions were not entitled to the safe harbor
of Rule 144. Many of the red flags set forth in Regulatory Notice 09-05480 existed in the
transactions at issue. The following red flags are examples:

     •   All the stock deposits in the transactions at issue consisted of large blocks of thinly
         traded, low-priced stocks issued by obscure companies. (Reg. Notice 09-05 Red Flag 1).

     •   CSCT had a pattern of making large deposits of thinly traded microcap stocks, selling the
         securities, and immediately wiring out the proceeds. Respondents knew that CSCT was
         acting on behalf of its FFI customers involved in the transactions and that the FFIs also
         engaged in the same pattern while acting on behalf of other entities and individuals.
         Despite the pattern, Scottsdale did nothing to investigate who actually was receiving the
         funds from the securities sales. Because the only account at Scottsdale was in the name of
         CSCT, Scottsdale could not and did not track where the proceeds ultimately went. It
         could not tell if the proceeds went to the different purported beneficial owners or to other
         persons who were repeatedly engaging in the deposit and immediate resale of securities.
         (Reg. Notice 09-05 Red Flag 2).

     •   The deposited shares were recently issued, which suggested that the issuer or its control
         persons could be initiating a distribution. Nothing in the due diligence packages indicates
         that Scottsdale took any note of that fact. (Reg. Notice 09-05 Red Flag 3).

    •    Although the issuer claimed not to be a shell corporation, there was little evidence of
         ongoing business operations. The Firm mainly relied on a representation by a principal of
         the issuer that the entity was not a shell. (Reg. Notice 09-05 Red Flag 7).

    •    Two of the issuers involved in this case had business histories that suggested shell status.
         Only a few months before the deposit of NHPI securities at Scottsdale, NHPI, a
         pharmaceutical company, announced it was going into the oil and gas business. ORFG,

479 Furthermore, even if the note had been a security, Forward did not transfer the ORFG note for securities of
ORFG. He transferred a portion of the note for securities of a different entity, Anything Media. He also did so in
connection with an agreement by ORFG to modify the terms of the original line o f credit. His exchange involved
securities o f a different issuer and different consideration. Accordingly, Media Central was not entitled to tack back
to Forward’s original note.
480 See supra pp. 78-79.



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          which described itself as an automotive detailing company that used casual part-time
          labor as required, similarly indicated it was considering going into mineral exploration
          and set forth an anticipated payment schedule for three unspecified mining concessions.
          In both cases, the new business venture was radically different from the old line of
          business, the information regarding either line of business was scant, and the company’s
          purported resources did not appear sufficient to engage in the new line of business. (Reg.
          Notice 09-05 Red Flags 7 and 9).

          Finally, we note that it is critical in a Rule 144 transaction to know the identity of the
purported beneficial owners and any relationship they might have to the issuers or affiliates of
the issuers of the shares they seek to sell. Even after collecting voluminous documents, the Finn
 in fact knew nothing about the purported beneficial owners or about the businesses through
which they held the securities except their names. Diekmann, who headed the Rule 144 team at
the time of the transactions at issue, admitted that he knew nothing about the purported beneficial
owner of one of the NHPI deposits other than that the person was a customer of Unicom.481 The
Firm knew little more than that about any of the other purported beneficial owners involved in
the transactions at issue. Diekmann’s testimony is a stark confession that the Firm did not
perform its gatekeeping function and did not adhere to high standards of commercial honor and
just and equitable principles of trade.

                            c.       Respondents’ Arguments Are Unavailing

                                     i.   NHPI

        Respondents’ arguments relating to the NHPI deposits rest on treating the representations
by the interested parties in the documentation for the NHPI deposits as though they were true.
For example, Scottsdale asserts that Collins was not an affiliate of NHPI, and therefore he could
freely sell the stock derived from his note in the fall of 2013 regardless of any tacking to the
inception of the May 2012 note.482483Respondents then reason that Collins’ transactions with Sky
Walker, Ireland Offshore, and Swiss National could not be fake loan transactions, as
Enforcement portrays them, because, as a non-affiliate holder for more than a year, Collins could
simply have sold the shares to the three depositors. Respondents conclude that there could be no
reason to fake the loan transactions. Respondents likewise assert that the beneficial owners of
Sky Walker, Ireland Offshore, and Swiss National were not affiliates of NHPI based on the
representations to that effect by the interested parties.4S3

        In making arguments that depend upon the truth of the representations made by the
interested parties, Respondents only demonstrate their continuing lack of appropriate response to

481 Hearing Tr. (Diekmann) 911-13, 919.
482 In so arguing, the Firm abandons the basis on which the deposit was justified at the time Scottsdale sold the
shares. On its Checklist for the transaction, the Firm relied on tacking back to the inception of the May 2012 note.
RX-1, at 1.
483 Resp. PH B r. 13-15.



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the suspicious circumstances and glaring red flags raised by the NHPI deposits. As the SEC has
noted, a broker-dealer may not rely on representations by interested parties because those
interested parties have an incentive to make misrepresentations.484*

                                   ii. VPLM

        Again, Scottsdale’s arguments largely assume the truth of the representations by the
interested parties. They assert that they reasonably relied on those representations. We reject
Respondents’ position. Red flags signaled that the transaction could be a scheme to evade the
registration requirements while distributing securities to the public. The Firm could not sell the
securities unless it investigated further and obtained better support for an exemption.

        Scottsdale also argues that Enforcement failed to prove that any proceeds of the sales of
YPLM flowed back to the issuer or that there were any links between the issuer and the persons
involved in selling VPLM stock through CSCT and Scottsdale.486 As discussed above, the Firm
misunderstands the law. It was not Enforcement’s burden to prove who was behind the
transactions; rather, it was Respondents’ burden to probe the suspicious circumstances and
establish that the transaction was entitled to the Rule 144 exemption before the Finn sold the
securities.

                                   iii. ORFG

        As with the other transactions, Respondents’ arguments assume the tmth of the
representations in the transaction documents. For instance, they argue that the Firm obtained
satisfactory evidence that the transaction met the requirements of Rule 144 because the Firm
obtained a letter from ORFG’s Chairman and CEO dated May 19, 2014, confirming that Media
Central and its purported owner were not affiliates of the company.

         Given that the underlying transaction—the $600,000 open-ended credit line giving the
holder discretion to convert stock at will—made no sense, it was unreasonable to rely on that
letter as the only evidence that the seller was not an affiliate. If the chain of transactions were
really a series of steps in a distribution for the ultimate benefit of the issuer or those persons
controlling the issuer, then such a representation by the issuer’s Chairman and CEO would be in
service of the unlawful distribution of securities without registration.

                   4.     Hurry’s Violation

        Hie First Cause of Action also charges that Hurry was a necessary participant and
substantial factor in the unlawful transactions, through his close management and control of all
the entities involved in the process of depositing, approving, and reselling the securities, and


‘l8‘l Laser Arms, 1991 SEC LEXIS 257, at *36.
1,85 Resp. PH Br. 21.
486 Resp. PH Br. 22.



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through his prospecting for CSCT customers. It expressly alleges that Hurry purposely
established CSCT as a means of evading regulatory scrutiny and enabling the Firm to make the
unlawfiil sales. Enforcement proved the charges.

                         a.       Hurry Was A Necessary Participant And Substantial Factor

         Section 5 makes it unlawful for a person to offer or sell securities without registration.
Liability, however, is not limited to the person or entity that ultimately passes title to the
security. Courts have developed the “necessary participant/substantial factor” test as a way of
holding other persons involved with the transactions accountable under Section 5 as offerors or
sellers.48748The “necessary participant/substantial factor” test is based on statutory language in
Section 5, which imposes liability on persons who “directly or indirectly” offer or sell securities
in violation of Section 5.

       The “necessary participant/substantial factor” test distinguishes between those persons
who have only a de minimis or insubstantial role in securities sales in violation of Section 5 and
those who should be liable. The test is more than a “but for” test. Even if a person is necessary to
the completion of the transaction, such as a transfer agent might be, that does not necessarily
mean the person was a substantial factor in the violation. Determining whether someone was a
substantial factor in the unlawful sales is a fact issue requiring extensive analysis.489

         It is not clear that the “necessary participant/substantial factor” test is appropriate here.
Hurry is not charged with offering or selling securities in violation of Section 5. He is charged
with an ethical violation under Rule 2010. He does not have to be proven to be an offeror or
seller in order to be proven to have violated Rule 2010.

        The parties briefed Hurry’s liability using the “necessary participant/substantial factor”
test, however, and we use it to assist in determining whether Hurry was sufficiently linked to the
transactions at issue to hold him liable for violating Rule 2010 in connection with them. We also
separately apply the more familiar standard for Rule 2010 violations, which we discuss below.

        Based on the above factual record and analysis, which we do not repeat in detail here, we
conclude that Hurry was a necessary participant and a substantial factor in the transactions. He
was sufficiently linked to the transactions to hold him accountable for his conduct in connection
with them. His role was not de minimis or insubstantial.

         We reject Hurry’s argument that he cannot be linked to the transactions at issue. He
asserts that there is “not a single document relating to the stocks in question with [his] name



‘l87 SECv. CMKMDiamonds, Inc., 729 F.3d 1248, 1255 (9th Cir. 2013).
488 SEC v. Boock, 2011 U.S. Dist. LEXIS 95363, at *47 &n,17 (S.D.N.Y. Aug. 25, 2011).
489 CMKM Diamonds, 129 F.3d at 1255-57; SEC v. Blackburn, 2015 U.S. Dist. LEXIS 178325, *8-9 (E.D. La. Sept.
11,2015).



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anywhere on it.”490 While there was little in the way of a paper trail directly linking Hurry to the
particular transactions at issue, the absence of such a direct link was the result of Hurry’s own
demonstrated obsession with secrecy. He purposely concealed his involvement in CSCT’s
business. It is not surprising that there is not a single document relating to the deposits at issue
with his name on it, because he made sure of it.

        In fact, Hurry was the master puppeteer for all the FFI business that flowed through
CSCT to Scottsdale and, ultimately, to public investors. CSCT existed only because he
established and closely managed it. Given Ruzicka’s lack of experience, qualifications, and
contacts, CSCT could not have survived without Hurry’s active involvement. We reject Hurry’s
assertion that, because Ruzicka had decades of experience as a real estate lawyer who ran his
own law firm, hiring Ruzicka to run CSCT was a reasonable and logical decision.491

        With respect to the particular transactions at issue, there is sufficient evidence of a link
between Hurry and the FFIs that made the deposits. Hurry developed CSCT’s business with the
three FFIs that engaged in those transactions, Montage, Titan, and Unicom, ,4s set forth more
fully above, Hurry admits that he flew to Panama to see Montage and to Belize to see Unicom
and that he discussed with Unicom doing its business through CSCT. He admits to talking to the
principals of Montage, Titan, and Unicom multiple times using FaceTime. He admits to creating
the spreadsheet that tracked CSCT deposits, including those by Montage, Titan, and Unicom.
D’Mura testified that he and Ruzicka talked about deposits with Hurry, and an email shows that
Hurry specifically discussed trading in NHPI and VPLM with Ruzicka. Ruzicka testified that
Hurry told him to deal with a specific contact at Montage. Both Ruzicka and D’Mura said they
disliked dealing with Cem Can at Unicom, but that they knew that they had no authority to
decline his business without Hurry’s consent.

         Hurry’s direct contact with the three FFIs involved in the transactions at issue made him
 a substantial factor in their transactions. He did not take Ruzicka with him when he flew to
 Panama and Belize to talk to Montage and Unicom, and Ruzicka testified in liis OTR that he did
not participate in Hurry’s FaceTime calls with customers. Hurry was the critical link between
CSCT and the three FFIs. Hurry’s importance was reflected in Unicorn’s demand for Hurry to
join a telephone call with Miller, Diekmann, and Ruzicka to discuss the processes and
procedures to be used in connection with Unicorn’s business with Scottsdale through CSCT.
Whenever something beyond paper-pushing was involved. Hurry’s input was necessary. We
reject Hurry’s argument that he merely displayed the normal interest of an owner in the overall
financial perfonnance of his firm.492 His involvement in CSCT’s business was intense and
pervasive.




490 Resp. PH Br. 45.
491 Resp. PH Br. 43-44.
492 Resp. PH Br. 46-47.



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        Hurry further argues that the case law only imposes liability under Section 5 where the
defendant has either sold the unregistered securities himself or has taken concrete steps
necessary to effectuate those sales, such as negotiating transactions, issuing opinion letters, or
directing the issuance of shares. He contends that he engaged in no such activities here.493

        We reject the argument. As noted above, Hurry is not charged with a Section 5 violation,
but, rather, a Rule 2010 violation. Unethical conduct in violation of Rule 2010 is not constrained
by case law defining who is liable as a statutory seller under Section 5. hi any event, substantial
participation is a broad concept without precise bounds. One who conceives of and plans a
scheme, or one who is a substantial motivating factor behind it, can be liable under Section 5.494
To hold otherwise would allow a person to mastermind a Section 5 violation, and, by directing
others to perform the mechanical tasks necessary to effect the sale of securities without
registration, escape liability.

                            b.       Hurry Acted In Bad Faith

         FINRA Rule 2010 is a broad ethical principle that may be violated either by conduct that
fails to meet ethical norms, regardless of intention, or conduct that is undertaken in bad faith. We
find here that, in connection with the business he routed through CSCT, Hurry acted in bad faith
and violated FINRA Rule 2010. We conclude that he was engaged in a scheme to evade the
securities laws, in particular the registration requirements of Section 5.

        Hurry claimed that he established CSCT because Alpine wanted to shed its IRS tax
withholding obligations, but there was no evidence that it made business sense to set up an office
in the Cayman Islands to do that. In fact, the insertion of CSCT into the process of preparing
stock certificates for resale to the public made no business sense because, due to the discounts
Scottsdale extended to CSCT, Hurry’s enterprises as a collective group made no more money
than when Scottsdale was handling the business directly—but CSCT imposed additional costs.

        That Hurry had no legitimate business reason for setting up CSCT is further apparent
from the way the Firm handled the business purportedly routed through CSCT. The Firm,
through Miller and Noiman, continued to deal directly with the FFIs and often handled issues
that arose with the deposits without involving Ruzicka or CSCT. Rather than independently
preparing deposits for submission to Scottsdale, Ruzicka also sought guidance from Diekmann
as to what deposits he should consider.

      Further casting doubt on the legitimacy of Hurry’s reasons for setting up CSCT,
Diekmann testified that an individual in Belize or Panama could have a direct account with


493 Resp. PH Br. 46 and n.261.
494 SECv. Elliott, 2011 U.S. Dist. LEXIS 91946, at *20 (S.D.N.Y. Aug. 17, 2011). See also SECv. Holschuh, 694 F.
2d 130, 139-40 (7th Cir. 1982); SECv. Friendly Power Co., 49 F. Supp. 2d 1363, 1372 (S.D. Fla. 1999) (a person
has indirectly sold a security to the public if he has “employed or directed others to sell ... or has conceived of and
planned the scheme by which the unregistered securities were offered or sold”).



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Scottsdale without going through an FFI like Unicom or CSCT 495 Cruz admitted that it would be
easier to conduct due diligence on a direct customer of the Finn than a customer who came
through an FFI such as CSCT or Unicom.496 hi fact, the creation of CSCT diminished
Scottsdale’s access to information about the purported beneficial owners, and neither Scottsdale
nor Alpine, Hurry’s clearing firm, knew where the proceeds from sales of the securities were
flowing.497 This testimony raises the question of the purpose served by the multiple layers of
entities—if not to conceal the identity of the true beneficial owners of the securities.

        Hurry’s bad faith was amply proven by his elaborate stratagems for concealing his
involvement in CSCT’s business, including his use of the “x” email address at CSCT, his
insistence on using the attorney-client privilege in inappropriate circumstances, and his use of
FaceTime to conceal his contacts with customers. He specifically wrote to Ruzicka in an email
that there should be no written record of Hurry’s involvement, which is powerful evidence of
Hurry’s scheme to avoid regulatory scrutiny. Ruzicka testified in his OTR that Hurry told him he
was going to the Cayman Islands so that he would not have to “give anything to anyone.”

        Hurry’s actions betray an attitude antithetical to the public interest, and his attempt to
evade regulatory scrutiny is inconsistent with his duties as a securities professional. He failed to
adhere to high standards of commercial honor and just and equitable principles of trade, thereby
violating FINRA Rule 2010.

         H.       Supervisory Violations (Second And Third Causes Of Action—DiBlasi And
                  Cruz)

                  1.          NASD Rule 3010 Imposes Supervisory Duties

       NASD Rule 3010(a) mandates that each member firm “shall establish and maintain a
system to supervise” the activities of its associated persons. It further mandates that a firm’s
supervisory system be “reasonably designed to achieve compliance with the applicable securities
laws and regulations, and with applicable NASD Rules.”

        Rule 3010(a)(1) provides that a firm’s supervisory system “shall provide, at a minimum,”
for the “establishment and maintenance of written procedures.” Rule 3010(b) details
requirements for WSPs. Rule 3010(b)(1) requires that a member firm “shall establish, maintain,
and enforce written procedures to supervise the types of business in which it engages.” Those
WSPs must be “reasonably designed to achieve compliance with applicable securities laws and
regulations, and with the applicable Rules of NASD.”

        Rule 3010(b)(3) further requires that the WSPs set forth the titles, registration status,
locations and responsibilities of each of its supervisory personnel, and that assignments be made

'l93 Hearing Tr. (Diekmann) 1675.
496 Hearing Tr. (Cruz) 220.
497 Heanng Tr. (Cruz) 661-62; Hearing Tr. (Frankel) 2349-50.



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covering all relevant areas of the firm’s business and the applicable securities laws and FINRA
Rules. Firms are required to preserve a record of these designations and their effective dates for
at least three years. Under Rule 3010(b)(4), a firm is required to amend its WSPs as changes
occur in its supervisory system.

        Broadly speaking, WSPs are a written set of policies and procedures that describe
concrete steps to supervise a firm’s activities. They identify who is responsible for taking those
steps and set up a system of documentation to allow for review and ensure proper
implementation. Every broker-dealer firm must create, maintain, update, and adhere to those
policies and procedures.I9S Those policies and procedures contribute to the establishment and
maintenance of a supervisory system that is reasonably designed to achieve compliance with the
laws, regulations, and rules applicable to the finn’s business. To achieve accountability and
ensure compliance, the WSPs must be clear and accurate regarding the allocation of supervisory
responsibilities.

                 2.       DiBlasi’s Violation

                          a.      Charge

        The Second Cause of Action charges that Scottsdale and DiBlasi, the Finn’s CCO,
violated NASD Rules 3010(a) and (b) and FINRA Rule 2010. The Complaint alleges that
DiBlasi failed to establish a supervisory system, including WSPs, reasonably designed to ensure
compliance with Section 5. This failure occurred even though DiBlasi knew that the Firm had
been sanctioned once before in settling prior charges of selling unregistered nonexempt
securities. Among other things, the Complaint charges that the Finn's WSPs were deficient
because they did not set forth clear responsibilities for its personnel and did not provide for a
reasonable inquiry into beneficial ownership. The Complaint alleges that the WSPs did not
require that the Firm’s personnel take steps to independently verify the self-serving
representations made by parties interested in the transactions and did not address the possible use
of nominees to obscure the identity of the tme beneficial owners of unregistered securities
deposited at the Finn for resale. Enforcement proved the charge.

                         b.       DiBlasi Had Responsibility For The Firm’s WSPs

       Throughout the relevant period, DiBlasi was the Firm’s CCO; and he is still the Firm’s
CCO. DiBlasi contends, however, that he has never had responsibility for the Firm’s Rule 144
business. He asserts that he does only what he calls “broker-dealer compliance,” and not Rule
144 compliance 498499 Accordingto DiBlasi, the Firm’s former president, Cruz, had responsibility

498 D ep't o f Enforcement v. Ranni, No. 20080117243, 2012 FINRA Discip. LEXIS 6, at *15-16 (OHO Mar. 9,
2012).
499 Hearing Tr. (DiBlasi) 1921-22, 1927, 1952-53, 1976-77. DiBlasi described what he meant by broker-dealer
compliance. He makes sure that the Firm’s filings, such as the Form BD and the Forms U4 and U5, are done. He
maintains records and makes sure correspondence and emails are reviewed. He summed up his work as taking care
of all the “back office” tasks. Hearing Tr. (DiBlasi) 1976-77.



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for Rule 144 procedures and everyone deferred to him.500 DiBlasi agreed that Cruz had a
longstanding practice regarding responsibilities for Rule 144 compliance.501

        We reject DiBlasi’s assertion that he had no responsibility for the Firm’s procedures in
connection with the Firm’s Rule 144 business for two reasons. First, in the circumstances of this
case, the assertion is inconsistent with his designation as the Firm’s Chief Compliance Officer;
and, second, the assertion is inconsistent with the WSPs themselves, as is plain from reading
them.

       First, DiBlasi is the sole person disclosed on the Firm’s Form BD as CCO. There is no
co-CCO.502 That means that DiBlasi has been identified to the Finn’s regulator as the one person
responsible for establishing and maintaining the Firm’s WSPs.

       The Firm’s WSPs were required to cover its Rule 144 business, since the Finn’s business
is almost entirely the liquidation of unregistered microcap stocks. DiBlasi acknowledged in his
testimony that during the relevant period 95% of the transactions Scottsdale did for its customers
involved penny stocks, and penny stocks accounted for most of the Finn’s revenue.503 That
business required heightened attention to compliance issues, as DiBlasi knew. Hie Firm had
previously settled regulatory charges that it had improperly sold unregistered securities without
an applicable exemption.504

        In these circumstances, the designation CCO earned with it responsibility for the WSPs
relating to the Firm's Rule 144 business. DiBlasi’s abdication of responsibility as to that business
is fundamentally incompatible with what it means to be the Firm’s CCO.

         We reject DiBlasi’s assertion that Enforcement is trying to hold him liable by virtue of
his title alone.505 Rule 3010 requires the designation and disclosure of a person responsible for
establishing and maintaining a firm’s procedures. By definition under the Rule, the person
disclosed as the CCO has responsibility for the Firm’s WSPs. The Rule further sets a standard
for the design of those procedures, which must be reasonably designed to achieve compliance
with the laws and regulations applicable to the firm’s business. The designation and disclosure of
a firm’s CCO is more than a meaningless title. It is one of the building blocks of a supervisory
system reasonably designed to achieve compliance, and the CCO designation carries with it




500 Hearing Tr. p iB lasi) 1944-47, 1952-53, 1965-66.
501 Hearing Tr. (DiBlasi) 1970. According to DiBlasi, his predecessor as CCO had no responsibility for Rule 144
compliance either. Id.
502 Hearing Tr. p iB lasi) 1981.
503 Hearing Tr. p iB lasi) 1923,1946.
3(MHearing Tr. p iB lasi) 1923-24; CX-12.
505 Resp. PH Br. 38 n.220.



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responsibilities. If DiBlasi is not carrying out those responsibilities, then the disclosure on the
Finn’s Form BD is false and misleading.506507

        Second, throughout the relevant period the Finn’s WSPs expressly provided that the
CCO—DiBlasi—had the duty to establish, maintain, and enforce all of the Firm’s WSPs. There
were two sets of WSPs during the relevant period, the May 2013 WSPs that were in effect in
October 2013 when DiBlasi became CCO, and the modified WSPs that became effective in May
2014. The main body of both sets of WSPs expressly assigned to the CCO responsibility to
“[establish, maintain and update, as required the firm niles and procedures” and specified that
that responsibility included Appendix A and Appendix B to the WSPs.50/ Appendix A to both
sets of WSPs listed principals and branches.508 Appendix B to both sets of WSPs expressly
assigned to DiBlasi, byname, the responsibility to “[establish, maintain and update, as required,
the firm rules and procedures.”509 Appendix B assigned to Cruz, Diekmann, and others various
operational tasks in conducting Rule 144 due diligence, but it did not assign them responsibility
for the WSPs.510

         DiBlasi conceded that there was no written delegation in the 2013 WSPs that gave
responsibility for Rule 144 policies and procedures to anyone other than the CCO.511 Moreover,
the 2013 WSPs expressly imposed certain specific responsibilities on the CCO in connection
with sales of unregistered securities. The main body of the WSPs included a specific section
dealing with Rule 144 stock that was headed “Rule 144 Restricted and Control Stock Sales.”512513
In that section, the 2013 WSPs stated that the CCO was responsible for establishing procedures
reasonably designed to ensure that a stock certificate was validly issued and owned by the
customer. Importantly, the 2013 WSPs also provided that the CCO should establish


506 The cases cited by Respondents are not relevant here. The cases did not involve the issue of whether a CCO was
responsible for a firm’s WSPs. D ep’t o f Enforcement v. MutualServ. Coip., No. EAF0400630001, 2008 FINRA
Discip. LEXIS 62, at *90-93 (OHO Dec. 16, 2008) (compliance department subordinates who were told to abandon
red flag blotter review did not have supervisory responsibility for that review); D ep't o f Enforcement v. Kemweis,
No. C02980024, 2000 NASD Discip. LEXIS 49, at *67-70 (OHO Feb. 16, 2000) (Director of Compliance held not
to have line responsibility for unsuitable trading by registered representatives).
507 CX-179, at 6 (“The Chief Compliance Officer (‘CCO’) is responsible for the establishment and maintenance [of
Scottsdale’s] policies and procedures.”); CX-180, at 6 (same).
508 CX-179, at 158; CX-180, at 151.
509 Hearing Tr. (DiBlasi) 1930;CX-181, at 2 (DiBlasi assigned to “[establish, maintain and update, as required the
firm rules and procedures, includes Appendices A and B ”); CX-182, at 2 (same). It appears that Appendix B to the
May 2013 WSPs were modified onNovember 13, 2013, to identify DiBlasi by name as responsible for the WSPs.
CX-181, footer bearing date of “11/13/2013.”
510 CX-181, at 8-9; CX-182, at 8-9. For example, Appendix B assigned to Diekmann responsibility for Rule 144
stock deposit due diligence and approval. CX-181, at 9; CX-182, at 9.
511 Hearing Tr. (DiBlasi) 1933,1945, 1955-56.
312 CX-179, at 63-65 (Rule 144 Restricted and Control Stock Sales, 8.18 through 8.18.11).
513 CX-179, at 64 (8.18.2).



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procedures to ensure that the resale of such a security was made in reasonable reliance on an
exemption from registration.514 The 2013 WSPs further provided that the CCO should be notified
and consulted regarding the processing of Rule 144 sales."15 They also specified that the CCO
was responsible for “developing and implementing policies and procedures that provide for the
review, approval and resale of Rule 144 transactions.”5165178

        Nevertheless, DiBlasi argues that he was not responsible for the 2013 WSPs because he
inherited them.51! The fact that the 2013 WSPs already existed when DiBlasi became CCO,
however, does not absolve him of responsibility to examine them, and, if necessary, to amend
them.' As noted above, Rule 3010 contemplates that amendments should be made to WSPs if
there are changes in a firm’s supervisory processes, so that the WSPs accurately reflect what the
firm is doing. Indeed, shortly after DiBlasi became the Firm’s CCO, in November 2013, the Finn
modified Appendix B to identify DiBlasi by name as the person responsible for establishing,
maintaining, and updating the Firm’s WSPs, including Appendices A and B.519*If Cruz had
responsibility for WSPs to the extent that they related to its Rule 144 business, the correction
could and should have been made in November 2013.

        DiBlasi also attempts to explain away aspects of the 2013 WSPs that contradict his
position—such as the specific assignment of Rule 144 compliance tasks to the CCO. He testified
that the 2013 WSPs “didn’t accurately reflect how the division of responsibility was set up
throughout the company. And it needed to be corrected.” " Tire 2013 WSPs, however, clearly
stated that DiBlasi was responsible for the Finn’s policies and procedures and made him
specifically responsible for policies and procedures relating to the Finn’s Rule 144 business. His
disclaimer of responsibility cannot override that plain statement.                             .

        Approximately six months after DiBlasi became CCO, in May 2014, the WSPs were
modified. Even then, however, the WSPs did not clearly reflect the division of responsibility
that DiBlasi described in his testimony. The WSPs did not say that Cmz had responsibility for all
aspects of Rule 144 compliance, including the WSPs relating to Rule 144.

        In place of the CCO, the main body of the modified WSPs designated the “General
Principal” as responsible for developing procedures to ensure that a stock certificate was validly
issued and owned by the customer, and that the resale of such a security was made in reasonable

5,4 Hearing Tr. (DiBlasi) 1940-41; CX-179, at 64 (8.18.2).
515 CX-179, at 64 (8.18.3).
516 CX-179, at 64 (8.18.3).
517 Hearing Tr. (DiBlasi) 1932-33. See Resp. PH Br. 38-39.
518 R am i, 2012 FINRA Discip. LEXIS 6, at *27 & n.93.

319 CX-182, at 2.
320 Hearing Tr. (DiBlasi) 1969.
321 Hearing Tr. (DiBlasi) 1921,1932-33, 1939-42.



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reliance on an exemption.522 Similarly, the modified WSPs instructed that the General Principal
should be consulted in connection with Rule 144 transactions. Under the modified WSPs, the
General Principal was responsible for developing and implementing Rule 144 policies and
procedures.523

        Although the title “General Principal” might appear to refer to a single person, the tenn
General Principal was defined in the modified WSPs as the “Management Committee.”524 Tire
WSPs declared that the Management Committee had been set up to serve in the role of president
of the Firm.525 The Management Committee was defined in yet another location to consist of
four persons—including DiBlasi.526 Accordingly, even under the modified WSPs, as a member
of the Management Committee, DiBlasi still retained some vaguely defined responsibility for
Rule 144 transactions.

        DiBlasi relies on the delegation to the Management Committee in arguing that he had no
responsibility for compliance matters related to the Finn’s Rule 144 business. He maintains that
the specific assignment of responsibility for the WSPs to him by name in Appendix B did not
“overwrite” the provision in the main body of the WSPs referring to the Management
Committee.527

        Given the ambiguity of the delegation of responsibility in the main body of the WSPs—
ostensibly to the General Principal but actually to a committee that included DiBlasi—we think
the clear, explicit assignment of responsibility for the WSPs to DiBlasi by name contained in
Appendix B forecloses DiBlasi’s argument. That conclusion is bolstered by the description in the
main body of the WSPs of the CCO’s duties, which include responsibility for the Firm’s policies
and procedures.

         DiBlasi’s argument also is undermined by the fact that he took actions in connection with
certificate deposits. For example, he signed a foreign account application by Unicom under the
label “Compliance Approval.”528 Furthermore, others at the Firm reached out to him in
connection with issues regarding certificate deposits. For example, Diekmann had concerns
about a deposit because Ruzicka said that the customer was pressing to start trading a stock when

522 CX-180, at 64 (8.18.2).
523 CX-180, at 64 (8.18.3).
524 CX-180, at 7 (Compliance and Supervision 1.1.2).
525 Hearing Tr. (DiBlasi) 1972; CX-180, at 7.
526 Hearing Tr. (DiBlasi) 1933-34, 1939-40, 1942-43. The other members of the Management Committee were Cruz,
Jay Noiman, and Elizabeth Arndt. Hearing Tr. (Noiman) 1065-66; Hearing Tr. (DiBlasi) 1972.
527 Hearing Tr. (DiBlasi) 1974-75.
528 Hearing Tr. (DiBlasi) 1956-57. DiBlasi maintained that his signature meant nothing more than that a foreign
financial institution was involved. Hearing Tr. (DiBlasi) 1957. Whatever it meant, DiBlasi’s signature appeared
under the heading “Compliance Approval,” and it demonstrated that he was involved in some type of compliance
review in connection with the Firm’s penny stock accounts.



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there was zero market for it, so Diekmann forwarded the correspondence to DiBlasi. Diekmann
said that he did so because he thought Ruzicka’s comment called into question whether the
deposit should have been approved by Scottsdale in the first place. He sent the email to DiBlasi
because DiBlasi was the CCO.529

                            c.       The Firm’s WSPs Were Not Reasonably Designed To Ensure
                                     Compliance With Section 5

                                     i.   The WSPs Did Not Accurately Reflect The Way The Firm
                                          Conducted Its Rule 144 Business

        The Firm’s WSPs were not reasonably designed to ensure compliance with Section 5
because they did not accurately reflect the way the Finn conducted its Rule 144 business.
DiBlasi testified that Cruz was the principal responsible for Rule 144 compliance and the
establishment of policies and procedures relating to that business. Cruz testified that DiBlasi
never had any role in the Rule 144 review process.530 Cruz created the procedures for Rule 144
transactions that were in effect during the relevant period, the Firm’s OTC Restricted Stock
Deposit Procedures, dated November 2012.'31532He testified, however, that during the relevant
period DiBlasi had responsibility for updating them.

        Accepting Respondents’ testimony about the allocation of responsibilities, during the
relevant period the WSPs should have clearly said which aspects of the WSPs were Cruz’s
responsibility and which were DiBlasi’s. Neither the 2013 WSPs nor the modified WSPs had any
clear indication of who was responsible for what.

        DiBlasi admitted that the 2013 WSPs did not accurately reflect the way the Firm was
operating its Rule 144 business.533 We further find that the modified WSPs also did not
accurately reflect the way the Firm operated its business.

       DiBlasi’s testimony revealed that the modified WSPs allocated responsibility to a
committee that no longer existed. DiBlasi testified that in January 2014 the Management
Committee disbanded. He said that Justine Hurry took on the Committee’s responsibilities in
February 2014. Then, in March 2014, Cruz officially became president of the Finn and took on

529 Hearing Tr. (Diekmann) 782-87; CX-222a.
530 Hearing Tr. (Cruz) 563-64.
531 Hearing Tr. (Cruz) 582; RX-27.
532 Hearing Tr. (Cruz) 665-66; RX-27.
Confusion over who had responsibility for the WSPs apparently is nothing new at the Firm. Cruz did not remember
who the CCO was at the time he created the Rule 144 procedures, and he did not recall anyone specifically
delegating to him the responsibility for creating the procedures. Hearing Tr. (Cruz) 665-66. When asked who now
has responsibility to update the Rule 144 procedures, Cruz testified, “I believe that responsibility now falls on Henry
Diekmann as president and also as head of the 144 cert team. ” Hearing Tr. (Cruz) 584.
533 Hearing Tr. (Diekmann) 783-86; CX-222a.



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the responsibilities of the Management Committee. The Committee never reconstituted itself
again—and yet in May 2014 the Firm put in place the modified WSPs that supposedly gave Rule
 144 compliance responsibility to the Management Committee.534

        Even if the Management Committee had been functioning in May 2014, we find that the
modified WSPs were misleading regarding the allocation of responsibilities, and, therefore, not
reasonably designed to achieve compliance. They purported to designate a registered principal as
responsible for compliance with Rule 144. Rule 3010 requires that supervisory responsibilities
be delegated to an appropriately registered principal. But, in fact, the WSPs delegated
responsibility for Rule 144 procedures to a group of people, hi so doing, the WSPs obscured who
had responsibility, making it more difficult to hold anyone accountable for compliance oversight
over the bulk of the Firm’s business.

        This failure to clearly indicate who was responsible for Rule 144 compliance is
particularly egregious here. It would have been relatively simple to designate Cruz the
responsible principal, since everyone agreed that he was.

       It is fundamental that a Finn’s WSPs must clearly designate responsibilities to
appropriately registered persons and must accurately reflect the way a member finn conducts its
business. That is why Rule 3010 specifies that supervisory responsibilities be assigned to an
appropriately registered principal. The person responsible for supervising a particular line of
business must have the appropriate background to do it. That is also why a firm’s WSPs must
address the particular business and the particular circumstances of a firm. Only then will the
WSPs be well designed to reasonably ensure compliance.*335

                                    ii. The WSPs Did Not Require A Reasonable Inquiry Into
                                        Beneficial Ownership

         We also find that Scottsdale’s WSPs were not reasonably designed to achieve compliance
with Section 5 because the WSPs failed to require a reasonable inquiry into the identity of the
purported beneficial owners of the stock the Finn was selling. The WSPs do not discuss the
concept of nominees, and the Firm’s principals responsible for approval of stock deposits did not
focus on the potential problem of nominees in conducting their review. The due diligence files
for the transactions at issue demonstrate that the Finn’s general practice for reviewing stock
deposits was inadequate to identify and investigate situations in which nominees might be
concealing the identity of the true beneficial owners of securities. Diekmann testified that he
knew nothing about the purported beneficial owner of Sky Walker but that the person was a


533 Hearing Tr. (DiBlasi) 1973. DiBIasi’s testimony that Justine Hurry briefly served as president of the Firm in
February 2014 is corroborated by the Firm’s Form BD Amendment dated February 13, 2014, which lists Justine
Hurry as president, as well as a director, of the Finn. CX-17, at 3. That document identifies Cruz as legal counsel
since May 2008. CX-17, at 3.
335 See NASD Notice to Members 99-45 (June 1999), http://www.finra.org/sites/default/files/NoticeDocument/
p004311.pdf.



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customer of Unicom. The lack of focus on the potential use of nominees to conceal the identity
of the true beneficial owners is particularly egregious in light of the four prior SEC actions
charging that nominees had been used to facilitate fraud and manipulation.

        The Firm’s listing of every FFI on its red flag list was not sufficient to address beneficial
ownership or to ensure that an unlawful distribution was not occurring. The WSPs did not
indicate why or what should be done in response to the red flag designation. When asked what
additional scrutiny comes from the red flag designation, Diekmann could not think of any. He
said that the designation “just reflects the heightened risk.”536 To recognize a heightened risk but
provide no guidance for dealing with it is not reasonable. WSPs must provide a “reliable
mechanism” for identifying securities sales that should be investigated or halted. 537

                 3.       Cruz’s Violation

        The Third Cause of Action charges that Cruz failed to adequately and meaningfully
analyze the collected documents and information. Consequently, he and the staff he supervised
failed to respond appropriately to red flags strongly indicating that the transactions were not
entitled to an exemption. He approved the deposits for resale based on a cursory collection and
verification effort. Enforcement proved the charges.

        There is no dispute that Cruz supervised the processing of deposits for resale pursuant to
Rule 144. He drafted the Firm’s procedures for handling restricted stock sold pursuant to Rule
 144 and other forms used to process deposits. For each transaction, he also met with the person
who had put together the due diligence file to support the Rule 144 exemption. After talking with
the person, he gave the final approval that allowed Scottsdale to trade the securities without
registration. He was critical to the transactions, and, even though the WSPs did not identify him
as the responsible person, everyone at the Firm looked to Cruz as the person responsible for Rule
 144 compliance.

        Cruz violated his responsibility in two ways.

        First, Cruz failed to analyze whether the debt obligations that formed the foundation for
tacking were securities. In light of the circumstances, this failure was egregious. Diekmann, who
is not a lawyer, was incapable of recognizing and correcting Cruz’s error. The members of the
Rule 144 team who were lawyers did not have experience with penny stocks before they came to
the Firm and were trained by Cruz and the Firm’s personnel. Everyone depended on Cruz’s
analysis and expertise. As an experienced securities lawyer, Cruz should have recognized the
problem. But he failed to meaningfully analyze the information in the due diligence packages.

       Second, Cruz failed to react appropriately to myriad red flags. As set forth above in
connection with each transaction, the stock deposits were rife with discrepancies and suspicious

536 Hearing Tr. (Diekmann) 990.
537Midas Sec., 2012 SEC LEXIS 199, at *51.



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circumstances that constituted red flags. However, Cruz and his staff did not make the required
“searching inquiry” or obtain independent verification.

         Cruz’s failure is egregious because he knew that the Firm was acting as a gatekeeper,538
and that broker-dealer firms play a critical role in helping to prevent illegal unregistered resales
of restricted securities into the public markets. "39 He also acknowledged that at the time of the
events at issue he was aware of the red flags in Regulatory Notice 09-05.540 It is well established
that the “duty of supervision includes the responsibility to investigate ‘red flags’ that suggest that
misconduct may be occurring and to act upon the results.”541

         Cruz argues, however, that he was an effective supervisor. He notes that he created the
Rule 144 manual, the due diligence questiomiaire, and beneficial ownership declaration, and that
the Finn dedicated one-third of its staff to perfonning due diligence reviews on stock deposits.
He states that he inserted himself into the review process as a second set of eyes and additional
resource when Scottsdale began accepting stock deposits from customers of sub-FFIs. He also
asserts that the due diligence packages at issue contained all the required paperwork and that
there is no instance of an issue being brought to Cruz’s attention and him ignoring it. Finally, he
maintains that the “rigor” of the stock deposit reviews under his leadership is demonstrated by
the fact that Scottsdale frequently rejected stock deposits.542

        All of this is beside the point. Cruz is charged with failing to respond appropriately to
specific red flags identified in connection with the transactions at issue. The mere creation of
paperwork does not qualify as effective supervision. As FINRA noted in conjunction with
Regulatory Notice 09-05, in Rule 144 transactions, representations made by the interested parties
have to be evaluated with a skeptical eye. Independent verification may be required. Instead,
Cruz guided the staff through a check-the-box exercise.

       Even when Cruz acknowledged that something might be a red flag, he indicated that his
response would not be to obtain independent verification. Rather, his response would be merely
to remind the interested parties of the information that needed to be disclosed. This is a totally
inadequate response to a red flag.

        Cruz’s testimony regarding language on Unicorn’s website illustrates the problem. The
language on the website indicated that Unicom would appoint nominees for its customers so that
their names would not appear as an officer or director of the company on their account at


538 Hearing Tr. (Cruz) 86.
539 Hearing Tr. (Cruz) 89.
540 Hearing Tr. (Cruz) 84-90.

541KCD Fin, Inc., 2016 FINRA Discip. LEXIS 38, at *70 (quotingMichael T. Studer, 57 S.E.C. 1011, 1023-24
(2004), a ff’d’ 260 F. App’x 342 (2d Cir. 2008)). See also Ronald Pellegrino, Exchange Act Release No. 59125,
2008 SEC LEXIS 2843, at *33 (Dec. 19, 2008).
542 Resp. PH Br. 40-41.



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Unicom. Cruz said he did not recall seeing that language at the time he reviewed Unicorn’s
deposits, but he agreed that if he had it “could have been” a red flag. In response to that red flag,
however, he did not say that he would have sought independent verification of the identity of
Unicorn’s customers. Rather, he indicated that Scottsdale would merely emphasize to the
interested parties that “they needed to - to disclose the underlying beneficial owner.”543 In other
words, he would continue to rely on the representations of the interested parties.

        Cruz argues that he supervised more actively than did respondents in other disciplinary
proceedings in which supervisory violations were found.544 Even if that were true (which we are
not persuaded it is), the fact that other supervisors in other eases did even less than Cruz to
respond to red flags is no excuse. The standard for reasonable supervision is not merely
something marginally better than bad. Moreover, whether supervision is reasonable depends on
the particular circumstances of each case.545

         Cruz also argues that Enforcement is improperly second-guessing Cruz’s exercise of
reasoned business judgment, and that Enforcement has failed to provide affirmative evidence
that his judgments were incorrect.546 This argument is erroneous in two regards.

        First, the argument ignores the record. The transactions at issue were rife with red flags
that could not be ignored, but Cruz did ignore them.

        Second, the argument confuses the burden on the Finn when it determined that an
exemption existed with the burden of proof in litigation. Cruz, acting on behalf of the Firm, had
the burden of developing a reasonable basis for believing that an exemption existed before the
securities could be sold without registration. Enforcement proved that he and the Firm did not
have a reasonable basis for believing that an exemption existed, but nevertheless Cruz approved
the sale of the securities at issue without registration. That is all that Enforcement had to prove
for the supervisory violation.

        In sum, Cruz did not make sure that the transactions met the legal requirements for an
exchange of securities, and he was oblivious to numerous red flags strongly suggesting that the
transactions at issue were sham transactions using nominees to effect unlawftil distributions of
securities without registration. He violated his supervisory duties.

IV.      SANCTIONS

        In considering the appropriate sanction for a violation, adjudicators in FINRA
disciplinary proceedings look to FINRA’s Sanction Guidelines (“Guidelines”). Hie Guidelines

543 Hearing Tr. (Cruz) 307-08.
5,14 Resp. PH Br. 41 n.236.
345 E.g., D ep't o f Enforcement v. Wedbush Sec., Inc., No. 20070094044, 2014 FENRADiscip. LEXIS 40, at *27-28
(NAC Dec. 11,2014).
546 Resp. PH Br. 41.



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contain recommendations for sanctions for many specific violations, depending on the
circumstances. They also contain overarching Principal Considerations and General Principles,
both of which are applicable in all cases.547

       Tire Guidelines are intended to be applied with attention to the regulatory mission of
FINRA—to protect investors and strengthen market integrity.548 The Guidelines caution that
sanctions must be significant enough to prevent and discourage future misconduct by a
respondent and to deter others from similar misconduct. Sanctions also should encourage
improved business practices.549

       Applying the Guidelines, we first discuss below the appropriate sanctions for the Firm,
DiBlasi, and Cruz. We separately discuss the sanction for Flurry.

         A.        Scottsdale

         As authorized by the Guidelines, we aggregate all the Firm’s violations.550 The violations
are inextricably intertwined and are the result of a systemic failure at the Firm—the Finn’s
failure to have procedures in place that would reasonably ensure compliance and the Firm’s
failure to respond appropriately to red flags led to the Firm’s failure to have a reasonable basis
for an exemption before selling the securities. Furthermore, as discussed below, the Panel
believes stringent sanctions are warranted here, and separately sanctioning the Firm for the
different violations, even at the high end of the range of recommended sanctions, would not
adequately remediate the Firm’s misconduct. We view the Finn’s systemic failure to perfonn its
gatekeeping function better addressed as a whole, rather than in piecemeal fashion.

         The Firm violated FINRA Rule 2010 because, in connection with the transactions at
issue, it did not have a reasonable basis for an exemption. Selling securities without registration
and without an exemption violated Section 5. Tire Guidelines contain specific recommendations
for this type of violation. The Guidelines recommend a fine of $2,500 to $73,000, but in
egregious cases the fine may be higher. In egregious cases, a firm may also be suspended with
respect to any or all activities or functions for up to 30 business days or until procedural
deficiencies are remedied.551

       The Firm, through DiBlasi, failed to have in place WSPs reasonably designed to achieve
compliance with Section 5. For deficient WSPs, the Guidelines recommend a fine ranging from
$1,000 to $37,000. They also suggest that adjudicators consider suspending a firm with respect



547 FINRA Sanction Guidelines (2016) (“Guidelines”), http://www.finra.org/industry/sanction-guidelines.
548 Guidelines at 1, Overview.
349 Guidelines at 2, General Principle No. 1.
350 Guidelines at 4, General Principle No. 4.
551 Guidelines at 24.



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to any or all relevant activities or functions for up to 30 business days or until the supervisory
                                                                 552
procedures are amended to conform to the rule requirements.

         The Finn, through Cruz, failed to supervise its Rule 144 process appropriately. The Firm,
through Cruz, failed to adequately and meaningfully analyze the information collected and thus
failed to respond appropriately to red flags that the transactions were unlawful distributions. For
a failure to supervise, the Guidelines recommend a Tine of $5,000 to $73,000. In egregious cases,
they suggest that adjudicators consider suspending a Finn with respect to any or all relevant
activities or functions for up to 30 business days. An even longer suspension may be imposed, up
to two years, or the firm may be expelled, where the case involves systemic supervision
failures.*553

         We find the Film’s violations to be egregious. We also find that there are a large number
of aggravating factors that increase the need for stringent sanctions. There are no mitigating
factors.

                   1.      Aggravating Factors

                           a.       Specific Principal Considerations Related To Section 5
                                    Violations

        One of the specific Principal Considerations in a case involving a Section 5 violation is
whether the respondent attempted to comply with an exemption.554 We conclude here that the
Finn did not tmly attempt to comply. Rather, it created the appearance of compliance. Although
the Firm created thick due diligence packages, it did not meaningfully evaluate the infonnation
in those packages. If it had, it would have known it could not sell the securities without further
investigation and the development of a reasonable basis for an exemption. We further find it
aggravating that the Finn expended its resources on creating the appearance of compliance,
rather than true compliance, because such conduct is deceptive and displays a lack of regard for
the applicable law and regulatory requirements. This aggravating factor applies not only to the
Firm but to Cruz, on whom everyone at the Firm depended for Rule 144 compliance.

        Another specific Principal Consideration is the share volume and dollar amount of the
transactions involved. 555 The transactions at issue involved millions of shares and resulted in




332 Guidelines at 103.
333 Guidelines at 102.
334 Guidelines at 24.
333 Guidelines at 24. See also Guidelines at 7, General Principal Consideration 18.



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proceeds of more than $1.75 million.556 The amounts involved are substantial and constitute an
aggravating factor.

        A third specific Principal Consideration is whether the respondent implemented
reasonable procedures to ensure that it did not participate in an unregistered distribution.55758The
Firm’s procedures were not reasonable. To the contrary, they seemed designed to obscure who
was responsible for Rule 144 compliance and they failed to require specific, reliable evidence to
support the application of an exemption. Nor did the Firm implement good practices.
Scottsdale’s staff uncritically relied on the self-serving representations of the interested parties.
When they did notice a discrepancy, the staff assumed an innocent explanation or accepted a
plainly unreliable representation from the interested parties, rather than pursuing the “searching
inquiry” that was required. This aggravating factor applies to DiBlasi, as the CCO, and to Cruz,
as the person ultimately responsible for Rule 144 compliance, as well as the Firm.

        A fourth specific Principal Consideration is whether the respondent disregarded red flags
suggesting the presence of an unregistered distribution. As discussed above, the Finn
repeatedly failed to identify and disregarded numerous red flags indicating that the transactions
were unlawful distributions of securities. The multiplicity of red flags is another aggravating
factor. This aggravating factor applies to Cruz as well as the Finn.

                           b.       Specific Principal Considerations Related To Deficient WSPs

        One of the specific Principal Considerations relating to deficient WSPs is whether those
deficiencies allowed violative conduct to occur or to escape detection. We find here that the
WSPs allowed violations to occur. The failure to provide guidance on dealing with discrepancies
and suspicious circumstances allowed those involved with Rule 144 review to proceed in a rote
fashion, without analyzing the information they collected. This aggravating factor applies to both
the Firm and DiBlasi.

        Another specific Principal Consideration is whether the deficiencies made it difficult to
determine the individuals responsible for specific areas of supervision or compliance. We find
that the failure to clearly and accurately delineate responsibility lessened transparency and
accountability, making regulatory oversight more difficult. It is particularly aggravating that the
person designated CCO should disclaim responsibility for the vast majority of the Firm’s
business. This aggravating factor applies to both the Finn and DiBlasi.




556 JX-268 (NHPI-Related Activity in CSCT Account: Total Net Proceeds of $264,711.70); JX-281 (VPLM-Related
Activity in CSCT Account: Total Net Proceeds of $1,408,173.39); IX-310 (ORFG-Related Activity in CSCT
Account: Total Net Proceeds of $91,408.43).
   Guidelines at 24. See also Guidelines at 6, General Principal Consideration 5.
558 Guidelines at 24.



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                            c.       Specific Principal Considerations Related To Failure To
                                     Supervise

        One of the specific Principal Considerations in connection with a failure to supervise is
whether the respondent ignored red flags warning of the need for additional supervisory scrutiny.
Another is the nature, extent, size, and character of the underlying misconduct. Both of these are
aggravating factors in this case. The Firm, through Cruz, ignored multiple red flags that the
transactions required additional scrutiny. The transactions were substantial and were typical of
the bulk of the Finn’s business. Hie supervisory failure was in fact built into the Finn’s standard
practice for processing Rule 144 stock deposits, which is an aggravating factor. These
aggravating factors apply to both the Finn and Cniz.

                           d.        General Principal Considerations

        Several general Principal Considerations are relevant to this case.559 Principal
Consideration 1 is a respondent’s relevant disciplinary history.560 Scottsdale has a disciplinary
history, and some of that history involves misconduct like the misconduct here. As noted above,
in the 2011 AWC the Firm settled charges that it had sold unregistered securities and that it had
inadequate supervisory procedures and WSPs to detect and prevent the sale of unregistered
securities. The Firm resolved other charges in the 2009, 2012, and 2015 AWCs. Finally,
although the Finn was not charged in connection with the four SEC cases, Ruettiger, Gibraltar I,
Gibraltar II, and Tavella, those cases did involve alleged misconduct through accounts at the
Firm. These cases put the Firm on notice of the risk of sham transactions and the use of
nominees to conceal beneficial ownership and facilitate unlawful distributions of securities. They
heightened the need for the Firm to be alert to red flags, hi light of this history, it is aggravating
that Scottsdale performed its gatekeeping function so poorly.

       Principal Consideration 2 concerns whether a respondent has accepted responsibility for
and acknowledged the misconduct prior to detection and intervention. The Finn here has not. It
maintains that its procedures are “market-leading” and create an “unfriendly environment” for
stock manipulation.561*The facts do not support that characterization.

       Furthermore, in light of the fact that the transactions at issue involved persons who have
been indicted for engaging in securities fraud and other crimes, it is particularly aggravating that
the Finn’s current president, Diekmann, testified that if any of the three deposits at issue were
presented to him today—NHPf VPLM, or ORFG—he would approve it. He expressed no
qualms." * This means that the person in charge of approving stock deposits as satisfying the
Rule 144 exemption is likely to commit the same violations again.


559 Guidelines at 6-7.
560 Guidelines at 6, General Principal Consideration 1.
561 Resp. PH Br. 37-38.
362 Hearing Tr. (Diekmann) 1799-80.



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       Adding to our concerns in this regard, Cruz echoed Diekinann. Cruz said that, despite the
evidence presented to him during his testimony relating to the five certificate deposits charged in
the Complaint (three NHPI, one VPLM, and one ORFG), he believed that the Rule 144
exemption applied and the transactions complied with Section 5.563

         Principal Consideration 8 is whether a respondent engaged in numerous acts or a pattern
of misconduct.564 Principal Consideration 16 is whether the misconduct is aberrant behavior. "65
Scottsdale engaged in a pattern of misconduct and it was not aberrant behavior. Indeed, the Firm
institutionalized its misconduct, by papering its files with documents that it did not meaningfully
analyze. It is aggravating that the misconduct is actually the standard way the Finn conducts all
its business. Moreover, Cruz testified that the pattern of deposits based on buying loan notes and
exchanging them for stock was a typical transaction for the Finn. Because it was typical he saw
nothing suspicious in it. These aspects of the misconduct are aggravating as to both the Firm and
Cruz.

         Principal Consideration 13 is whether the misconduct was the result of an intentional act,
recklessness or negligence. 566 The Finn's misconduct was not the product of negligence. It acted
intentionally when it created and implemented the procedures for reviewing deposits of stock
certificates for resale that created a false appearance of compliance. This aggravating factor
applies not only to the Firm but to both DiBlasi and Cruz.

        Principal Consideration 18 focuses on the number, size, and character of the
transactions.567 The transactions at issue had many red flags indicating that they were schemes to
evade the securities laws and the scrutiny that comes with registration. Given that character, it is
aggravating that, as a result of Scottsdale’s failure to perform its gatekeeping function, millions
of dollars of securities were sold to the investing public without the safeguards that accompany
registration.

                              e.    General Principles

       The Guidelines instruct adjudicators to take into account certain General Principles
applicable to all sanction determinations.568 One of those General Principles is that disciplinary
sanctions should be designed to deter misconduct, both by the respondent and by others, and
should uphold high standards of business conduct. Adjudicators should impose sanctions that are




563 Hearing Tr. (Cruz) 555.
564 Guidelines at 6, General Principal Consideration 8.
565 Guidelines at 7, General Principal Consideration 16.
,66 Guidelines at 7, General Principal Consideration 13.
567 Guidelines at 7, General Principal Consideration IS.
568 Guidelines at 2-5.



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meaningful and significant enough to accomplish these goals, and the sanctions should reflect the
seriousness of the misconduct at issue. 569

        The Finn’s business is almost entirely the processing of penny stock deposits for resale
into the public marketplace, hi light of that fact, it is aggravating that the Firm had a check-the-
box approach to its review of the deposits, without meaningful analysis of the multitude of red
flags. The confession by Diekmann, the current president of the Firm, that, even after compiling
a thick due diligence book, he knew nothing about the beneficial owner of one of the NHPI
deposits is disturbing. It suggests that the person who now has authority to give final approval to
stock deposits for resale has no understanding of what is required to ensure that the Firm does
not participate in an unlawful distribution of securities without registration. The sanctions here
must be stringent to deal with the seriousness of the misconduct and to show the Firm that it
cannot simply continue with its business in its usual fashion. We believe that only a substantial
sanction will deter the Firm from future misconduct.

        Another General Principle is that disciplinary sanctions should be more severe for
recidivists in order to deter and prevent future misconduct. The imposition of more severe
sanctions emphasizes the need for corrective action.570 As noted above, the Finn has a
disciplinary history. It has been disciplined for selling unregistered securities and for other
violations, hi light of this history, it is appropriate to impose more severe sanctions.

                            f.       Overview

       The mission of FINRA’s regulatory and disciplinary process is to protect investors and
promote market integrity. In fulfilling that mission, adjudicators are not limited to the sanctions
recommended in the Guidelines. Based on the facts and circumstances presented in each case,
adjudicators may impose sanctions that fall outside the ranges recommended and may consider
aggravating and mitigating factors in addition to those listed in the Guidelines.571

                   2.       Potential Mitigating Factor

       Principal Consideration 3, which is applicable to all sanctions determinations, concerns
whether, prior to detection or intervention by a regulator, a firm voluntarily employed corrective
measures to avoid recurrence of misconduct. This might be argued to be a mitigating factor.

        The Firm maintains that it enhanced its procedures after the SEC filed the complaints in
the four cases involving nominees. In particular, it claims that it enhanced its reviews of stock
promotions and notes that it ended all commissioned representatives at the Finn. It asserts that its
requirement of a beneficial ownership declaration is a “market-leading practice” that has been



569 Guidelines at 2, General Principle 1.
570 Guidelines at 2, General Principle 2.
371 Guidelines at 1.



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adopted as a recommended method for determining beneficial ownership. It also points to its use
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                                                                            •       •
of a Red Flag List and a Stock Watch List as enhancements to its reviews.

        We find that whatever changes the Finn made in its procedures were insufficient to be
mitigating. To some degree, they appear to be more of the same. They created the appearance of
compliance without actual compliance. Even with the so-called enhancements, the Firm’s
procedures were woefully lacking. The record is replete with red flags that the Firm and Cniz
ignored.

                  3.        Sanction

       In light of the egregious nature of the Finn’s violation, the Firm’s institutionalization of
the misconduct as its standard way of doing business, and the other aggravating factors set forth
above, we believe that a stringent sanction is appropriate. Only such a sanction will serve the
remedial purposes of the disciplinary process. The Finn must be deterred from similar
misconduct in the future. We impose on Scottsdale a fine of $1.5 million.

         B.       Hurry

       Hurry’s violation of Iris duty to observe high standards of commercial honor and just and
equitable principles of trade was purposeful and egregious. These two qualities lead us to
conclude that Hurry is a threat to investors and the integrity of the markets. Our concern is
compounded by our credibility findings. We found that he repeatedly testified falsely, and that
there was a pattern of doing so when he thought no contradictory evidence would come to light.

        When misconduct is intentional, General Principle 1 provides that adjudicators should
assess sanctions that exceed the recommended range in the Guidelines.572573*Principal
Consideration 13 also focuses on whether a respondent’s misconduct is the result of an
intentional act, recklessness, or negligence.'' 1When a violation is egregious, the Guidelines
often suggest more severe sanctions. In egregious cases in connection with violations of Rule
2010 and Section 5, the specific Guidelines recommend that an individual be suspended for up to
two years or barred.

        Even though he has no disciplinary history, the devious nature of Hurry’s violation
evidences disregard for regulatory requirements, an aggravating factor under General Principle 2
and Principal Consideration 10.575 We have no confidence that if he remained in the securities
industry he would not again devise a way to evade the law and regulatory requirements. For this
reason also, we believe Hurry is a threat to the investing public.


572 Resp. PHBr. 37-38.
373 Guidelines at 2, General Principle 2.
374 Guidelines at 7, General Principal Consideration 13.
575 Guidelines at 2, General Principle 2; Guidelines at 6, General Principal Consideration 10.



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        As discussed in connection with the Finn’s violation and sanction, the scheme enabled
large amounts of stock certificates to be sold in a number of transactions without the protections
of registration and without an exemption. Under Principal Consideration 18, the size of the
transactions is an aggravating factor.

         Finally, we note that Hurry had by far the most to gain financially from setting up CSCT
and enabling shares deposited from offshore customers to be shielded from scrutiny. He and his
wife own all three entities involved in the process: CSCT, Scottsdale, and Alpine. And although
Respondents emphasize that the particular transactions at issue did not generate a huge amount
of money, the microcap securities liquidation business as a whole was highly remunerative for
Hurry and his wife. We earlier noted that, from Scottsdale alone, in 2014 they received
approximately $6.2 million in directors’ fees and $1.45 million in net income. The compensation
for all other employees and for professional and consulting fees for that year totaled less than
half that—approximately $2.7 million. It was to Hurry’s financial advantage to facilitate the
processing of FFI deposits and to minimize regulatory oversight. The misconduct added to his
financial gain and is an aggravating factor under Principal Consideration 17. ' 6

       We bar Hurry from associating with any FINRA member in any capacity and believe it
appropriately remedial to fine him $100,000. hi light of the bar, however, we do not impose the
fine.

         C.       DiBIasi

       The Guidelines provide with respect to an individual who is responsible for deficient
WSPs that in egregious cases he may be suspended in any or all capacities for up to one year.
Tire Guidelines also provide for a fine ranging from $1,000 to $37,000.

        In this case we find more stringent sanctions appropriately remedial. DiBlasi’s violation
was egregious, and there are aggravating factors. The WSPs created the appearance of a set of
procedures designed to achieve compliance, but they did not accurately reflect the way the Finn
actually handled its Rule 144 deposits. They did not even reflect DiBlasi’s true role. Even though
he was purportedly the CCO, he claimed that he had nothing to do with the vast majority of the
Finn’s business. Essentially, he performed back-office functions for the Firm. The result of the
deficiencies in the WSPs was that violations occurred and regulatory efforts to determine the
persons responsible were hindered.

       We suspend DiBIasi from associating with any FINRA member Finn in any capacity for
two years and fine him $50,000.

         D.       Cruz

        The Guidelines provide with respect to an individual supervisor who fails to respond to
red flags that, in egregious cases, an adjudicator should consider suspending the person in any or576

576 Guidelines at 7, General Principal Consideration 17.



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all capacities for up to two years or barring him. A fine of $5,000 to $73,000 also may be
imposed.

         Cruz’s violation was egregious. As a lawyer with considerable background in the
securities laws, he had the background that others did not to scrutinize the due diligence
packages and identify red flags. Furthermore, as the person at the Finn everyone else depended
upon for Rule 144 compliance, he knew that he was critical to the Finn’s performance of its
gatekeeping duty. He was the principal at the Finn who gave final approval to the sales of
deposited securities, signing under a certification that the transactions, to his knowledge, were
lawful. In light of these circumstances and the many aggravating factors identified above, Cruz’s
failure to recognize and appropriately address multiple red flags was inexcusable.

       We suspend Cmz from associating with any FINRA member firm in any capacity for two
years and fine him $50,000.

          E.       Respondents’ Arguments For Lesser Sanctions Rejected

        We reject Respondents’ arguments for lesser sanctions. They assert that the relief
requested by Enforcement cannot be reconciled with the Guidelines because the sanctions are
more stringent than the recommended range."' However, the Guidelines are not absolute. They
are recommendations. As provided in the Overview, adjudicators may impose sanctions outside
the recommended range where the particular facts and circumstances make that appropriate. ' s

        We are concerned that the misconduct here is the Finn’s standard approach to processing
deposits of stock certificates for sale. As long as the Firm continues with that check-the-box
approach, without a meaningful evaluation of the information it collects, it is a risk to public
investors. More stringent sanctions are necessary to emphasize the necessity for corrective action
and to remediate the violation.

        Respondents also compare their case to other cases involving Section 5 and supervisory
violations, asserting that in those other cases the misconduct was worse and the sanctions less.5758579
The appropriateness of sanctions, however, depends on the facts and circumstances of the
particular case and cannot be determined by comparison to sanctions in other cases that involve
different facts and circumstances.580 Furthermore, Respondents’ misconduct was far more
egregious than Respondents acknowledge.




577 Resp. PH Br. 47.
578 Guidelines at 1.
579 Resp. PH Br. 47-49.
580 See, e.g., William Scholander, Exchange Act Release No. 77492, 2016 SEC LEXIS 1209, at *42 & n.65 (Mar.
31,2016).



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        With respect to disciplinary history, Respondents argue that the individual Respondents
have no disciplinary history.581 It is well established that the absence of a disciplinary history is
not mitigating as to sanctions. A wrongdoer should not be rewarded for acting in accord with his
duties as a securities professional.582

        In sum, we find that the sanctions we impose here are necessary, appropriate and
remedial. They serve the twin goals of protecting public investors and contributing to market
integrity.583

V.       CONCLUSION

       The Firm, Scottsdale Capital Advisors, violated FINRA Rule 2010. Accordingly, it is
ordered to pay a fine o f $1.5 million. John J. Hurry violated FINRA Rule 2010. For his
misconduct he is barred from association with any FINRA member in any capacity. He would be
fined $100,000, but, in light o f the bar, the fine is not imposed. Timothy B. DiBlasi violated
NASD Rules 3010(a) and (b) and FINRA Rule 2010. For his misconduct, he is suspended for
two years from association with any FINRA member in any capacity and fined $50,000. D.
Michael Cruz violated NASD Rule 3010(b) and FINRA Rule 2010. For his misconduct, he is
suspended for two years from association with any FINRA member in any capacity and fined
$50,000.

        Respondents are also ordered to pay costs in the amount of $22,124.29, which includes a
$750 administrative fee and $21,374.29 for the cost of the transcript. If this decision becomes
FINRA’s final disciplinary action, Hurry’s bar will take immediate effect. DiBlasi’s and Cruz’s
suspension will begin with the opening of business on August 21, 2017. The fines and assessed
costs shall be due on a date set by FINRA, but not sooner thhn 30 days after this amended
decision becomes FINRA’s final disciplinary action in this proceeding.




                                                              mcinda O. McConathy
                                                              Hearing Officer
                                                              For the Extended Hearing Panel




581 Resp. PH Br. 47.

582 See, e g,, Kenny A. Akindemowo, Exchange Act Release No. 78352, 2016 SEC LEXIS 2522, at *5 & n.5 (July 18,
2016). See also Guidelines at 6 and n.2.

583 The Hearing Panel has considered and rejects without discussion any other arguments made by the Parties that
are inconsistent with this decision.



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